   Appellate Case: 23-1135   Document: 20   Date Filed: 08/21/2023   Page: 1




                                No. 23-1135

                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT


                             DARLENE GRIFFITH,
                                       Plaintiff-Appellant,
                                    v.
 EL PASO COUNTY, COLORADO; BILL ELDER, in his individual and official
capacities; CY GILLESPIE, in his individual capacity; ELIZABETH O’NEAL,
    in his individual capacity; ANDREW MUSTAPICK, in his individual
capacity; DAWNE ELLISS, in her individual capacity; TIFFANY NOE, in her
      individual capacity; BRANDE FORD, in her individual capacity,
                                        Defendants-Appellees.


            On Appeal from the United States District Court
                      for the District of Colorado
                    No. 1:21-cv-00387-CMA-NRN
                The Honorable Christine M. Arguello


              PLAINTIFF-APPELLANT’S APPENDIX


Andrew McNulty                          Devi M. Rao
Mari Newman                             Meghan Palmer
KILLMER, LANE & NEWMAN                  RODERICK & SOLANGE
1543 Champa St., Suite 400               MACARTHUR JUSTICE CENTER
Denver, CO 80202                        501 H St. NE, Suite 275
amcnulty@kln-law.com                    Washington, DC 20002
(303) 571-1000                          devi.rao@macarthurjustice.org
                                        (202) 869-3449

            Counsel for Plaintiff-Appellant Darlene Griffith

                   ORAL ARGUMENT REQUESTED




                                                                               A.1
   Appellate Case: 23-1135   Document: 20   Date Filed: 08/21/2023   Page: 2



                        TABLE OF CONTENTS


Docket, Griffith v. El Paso County, et al., No. 1:21-cv-00378
     (D. Colo.)                                                                A.3

Third Amended Complaint, Dkt. No. 124
     (docketed Feb. 8, 2021)                                              A.26

Magistrate’s Report and Recommendation, Dkt. No. 165,
    (filed Feb. 27, 2023)                                                 A.83

Order Adopting Report and Recommendation,
     Dkt. No. 173 (filed March 27, 2023)                                 A.126

Final Judgment, Dkt. No. 174 (filed March 27, 2023)                      A.147

Notice of Appeal, Dkt. No. 175 (filed April 25, 2023)                    A.149




                                                                               A.2
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135               Document: 20               Date Filed: 08/21/2023        Page: 3
                                     Query       Reports          Utilities         Help      Log Out

                                                            ALLMTN,APPEAL,CONMAG,JD4,MJ CIV PP,STAYDI,TERMED

                                  U.S. District Court - District of Colorado
                                        District of Colorado (Denver)
                           CIVIL DOCKET FOR CASE #: 1:21-cv-00387-CMA-NRN


 Griffith v. El Paso County Colorado et al                                                  Date Filed: 02/08/2021
 Assigned to: Senior Judge Christine M. Arguello                                            Date Terminated: 03/27/2023
 Referred to: Magistrate Judge N. Reid Neureiter                                            Jury Demand: Plaintiff
 Demand: $1,000,000                                                                         Nature of Suit: 555 Prisoner - Prison
 Case in other court: U.S. Court of Appeals, 10th Cir., 23-01135                            Condition
 Cause: 42:1983 Prisoner Civil Rights                                                       Jurisdiction: Federal Question

 Plaintiff
 Darlene Griffith                                                        represented by Andrew Joseph McNulty
                                                                                        Killmer Lane & Newman LLP
                                                                                        1543 Champa Street
                                                                                        Suite 400
                                                                                        Denver, CO 80202
                                                                                        303-571-1000
                                                                                        Email: amcnulty@kln-law.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Mari Anne Newman
                                                                                             Killmer Lane & Newman LLP
                                                                                             1543 Champa Street
                                                                                             Suite 400
                                                                                             Denver, CO 80202
                                                                                             303-571-1000
                                                                                             Fax: 303-571-1001
                                                                                             Email: mnewman@kln-law.com
                                                                                             ATTORNEY TO BE NOTICED


 V.
 Defendant
 El Paso County Colorado                                                 represented by Bryan E. Schmid
                                                                                        El Paso County Attorney's Office
                                                                                        200 South Cascade Avenue
                                                                                        Suite 150
                                                                                        Colorado Springs, CO 80903
                                                                                        719-520-7032
                                                                                        Fax: 719-520-6487
                                                                                        Email: bryanschmid@elpasoco.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Christopher Michael Strider
                                                                                             El Paso County Attorney's Office
                                                                                             200 South Cascade Avenue
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                             A.3    1/23
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135               Document: 20               Date Filed: 08/21/2023 Page: 4
                                                                                          Suite 150
                                                                                          Colorado Springs, CO 80903
                                                                                          719-520-7264
                                                                                          Fax: 719-520-6487
                                                                                          Email: chrisstrider@elpasoco.com
                                                                                          ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             El Paso County Attorney's Office
                                                                                             200 South Cascade Avenue
                                                                                             Suite 150
                                                                                             Colorado Springs, CO 80903
                                                                                             719-520-6597
                                                                                             Fax: 719-520-6487
                                                                                             Email: nathanwhitney@elpasoco.com
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             El Paso County Attorney's Office
                                                                                             Civil Division
                                                                                             200 South Cascade Avenue
                                                                                             Suite 150
                                                                                             Colorado Springs, CO 80903-2208
                                                                                             719-520-7386
                                                                                             Fax: 719-520-6487
                                                                                             Email: StevenMartyn@elpasoco.com
                                                                                             ATTORNEY TO BE NOTICED
 Defendant
 Wellpath LLC                                                            represented by Ashlee B. Hesman
 TERMINATED: 06/07/2022                                                                 Struck Love Bojanowski & Acedo, PLC
                                                                                        3100 West Ray Road
                                                                                        Suite 300
                                                                                        Chandler, AZ 85226
                                                                                        480-420-1600
                                                                                        Fax: 480-420-1695
                                                                                        Email: ahesman@strucklove.com
                                                                                        TERMINATED: 08/11/2022

                                                                                             Catherine O'Brien Crum
                                                                                             Nixon Shefrin Ogburn Drew, P.C.
                                                                                             5619 DTC Parkway
                                                                                             Suite 1200
                                                                                             Greenwood Village, CO 80111-3061
                                                                                             303-773-3500
                                                                                             Fax: 303-779-0740
                                                                                             Email: cobrien@hallboothsmith.com
                                                                                             TERMINATED: 11/01/2021

                                                                                             Daniel Patrick Struck
                                                                                             Struck Love Bojanowski & Acedo PLC
                                                                                             3100 West Ray Road
                                                                                             Suite 300
                                                                                             Chandler, AZ 85226
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                         A.4      2/23
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135               Document: 20               Date Filed: 08/21/2023 Page: 5
                                                                                          480-420-1600
                                                                                          Fax: 480-420-1699
                                                                                          Email: dstruck@strucklove.com
                                                                                          TERMINATED: 08/11/2022

                                                                                             Kristina R. Rood
                                                                                             Struck Love Bojanowski & Acedo, PLC
                                                                                             3100 West Ray Road
                                                                                             Suite 300
                                                                                             Chandler, AZ 85226
                                                                                             480-420-1600
                                                                                             Email: krood@strucklove.com
                                                                                             TERMINATED: 08/11/2022

                                                                                             Lauren Elizabeth Kuhn
                                                                                             Polsinelli PC
                                                                                             900 West 48th Place
                                                                                             Suite 900
                                                                                             Kansas City, MO 64112-1895
                                                                                             816-360-4372
                                                                                             Email: Lkuhn@polsinelli.com
                                                                                             TERMINATED: 11/01/2021
 Defendant
 Christine Mohr                                                          represented by Ashlee B. Hesman
 in her individual capacity                                                             (See above for address)
 TERMINATED: 06/02/2022                                                                 TERMINATED: 08/11/2022

                                                                                             Daniel Patrick Struck
                                                                                             (See above for address)
                                                                                             TERMINATED: 08/11/2022

                                                                                             Kristina R. Rood
                                                                                             (See above for address)
                                                                                             TERMINATED: 08/11/2022
 Defendant
 Bill Elder                                                              represented by Bryan E. Schmid
 Sheriff                                                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Christopher Michael Strider
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED
 Defendant
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                           A.5     3/23
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
               Appellate Case: 23-1135                    Document: 20 Date Filed: 08/21/2023 Page: 6
 Bill (I) Elder                                                 represented by Bryan E. Schmid
 Individual capacity                                                           (See above for address)
                                                                               ATTORNEY TO BE NOTICED

                                                                                             Christopher Michael Strider
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED
 Defendant
 Cy Gillespie                                                            represented by Bryan E. Schmid
 Commander, in his individual capacity                                                  (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Christopher Michael Strider
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

 Defendant
 Draper                                                                  represented by Christopher Michael Strider
 Deputy, F/N/U, in his individual capacity                                              El Paso County Attorney's Office
 TERMINATED: 05/24/2022                                                                 200 South Cascade Avenue
                                                                                        Colorado Springs, CO 80903
                                                                                        719-520-7264
                                                                                        Fax: 719-520-6487
                                                                                        Email: chrisstrider@elpasoco.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Terry Angela Sample
                                                                                             El Paso County Attorney's Office
                                                                                             200 South Cascade Avenue
                                                                                             Colorado Springs, CO 80903
                                                                                             719-520-6485
                                                                                             Fax: 719-520-6487

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                           A.6   4/23
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135               Document: 20               Date Filed: 08/21/2023 Page: 7
                                                                                          Email: terrysample@elpasoco.com
                                                                                          ATTORNEY TO BE NOTICED

 Defendant
 Cynthia Ayad                                                            represented by Nathan James Whitney
 Sgt.                                                                                   (See above for address)
 TERMINATED: 04/19/2021                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Bradberry
 Ms., Deputy
 TERMINATED: 04/19/2021

 Interested Party
 CASE MANAGER/ INMATE
 COORDINATOR OF: Darlene Griffith
 Defendant
 Pete Carey
 E.P.C. Under Sheriff
 TERMINATED: 03/04/2021

 Defendant
 Eric Carnell
 Lieutenant
 TERMINATED: 04/19/2021

 Defendant
 Aaron Earnheart
 Sgt.
 TERMINATED: 04/19/2021

 Defendant
 K. Forrell
 Prea-Investigator
 TERMINATED: 04/19/2021
 Defendant
 Francs
 Mr., Deputy
 TERMINATED: 04/19/2021
 Defendant
 James
 Ms., Deputy; Jane Doe, Deputy; John Doe,
 Deputy; John Doe, Sgt. for/Works Intake
 TERMINATED: 04/19/2021

 Defendant
 Motta
 Ms., Deputy
 TERMINATED: 04/19/2021

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                      A.7   5/23
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135               Document: 20               Date Filed: 08/21/2023   Page: 8
 Defendant
 Liz O'Neal
 Manager for Inmate Class
 TERMINATED: 04/19/2021

 Defendant
 Andrew Prehm
 E.P.C. Chief
 TERMINATED: 03/04/2021

 Defendant
 Sterling
 Mr., Deputy
 TERMINATED: 04/19/2021

 Defendant
 Elizabeth O'Neal                                                        represented by Bryan E. Schmid
 in her individual capacity                                                             (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED
 Defendant
 Andrew Mustapick                                                        represented by Bryan E. Schmid
 in his individual capacity                                                             (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED
 Defendant
 Dawne Elliss                                                            represented by Bryan E. Schmid
 in her individual capacity                                                             (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                        A.8   6/23
8/16/23, 12:56 PM                                                         CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135               Document: 20               Date Filed: 08/21/2023   Page: 9
 Defendant
 Tiffany Noe                                                             represented by Bryan E. Schmid
 in her individual capacity                                                             (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

 Defendant
 Brande Ford                                                             represented by Bryan E. Schmid
 in her individual capacity                                                             (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                             Nathan James Whitney
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED

                                                                                             Steven Ward Martyn
                                                                                             (See above for address)
                                                                                             ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  02/08/2021              1 PRISONER COMPLAINT against Pete Carey, Bill Elder, CY Gillespie, Andrew Prehm,
                            filed by Darlene Griffith. (Attachments: # 1 Envelope)(alave, ) (Entered: 02/08/2021)
  02/08/2021              2 Case assigned to Magistrate Judge Gordon P. Gallagher. Text Only Entry. (alave, )
                            (Entered: 02/08/2021)
  02/08/2021              3 Prisoner's Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. 1915. by
                            Plaintiff Darlene Griffith. (Attachments: # 1 Resident Account Statement)(alave, )
                            (Entered: 02/08/2021)
  02/08/2021              4 Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. 1915. by Plaintiff
                            Darlene Griffith. (alave, ) (Entered: 02/08/2021)
  02/09/2021              5 ORDER Granting 3 Motion for Leave to Proceed Under 28 U.S.C. § 1915. The Clerk of
                            Court send a copy of this order to the Business Office, Attn: Inmate Accounts, El Paso
                            County Criminal Justice Center,Colorado Springs, Colorado. The Prisoner's Motion and
                            Affidavit for Leave to Proceed on Appeal Pursuant to 28 U.S.C. § 1915 and Fed. R. App.
                            P. 24 (ECF No. 4 ) is DENIED as improperly filed. By Magistrate Judge Gordon P.
                            Gallagher on 02/09/2021. (athom, ) (mailed to facility as ordered) (Entered: 02/09/2021)
  02/11/2021              6 ORDER DIRECTING PLAINTIFF TO FILE AMENDED COMPLAINT. If Plaintiff fails
                            to file an amended complaint that complies with this order within the time allowed, some
                            or all of this action may be dismissed without further notice based on the allegations of
                            the original Prisoner Complaint. By Magistrate Judge Gordon P. Gallagher on
                            02/11/2021. (athom, ) (Entered: 02/11/2021)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                                        A.9   7/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 10
  02/18/2021       7 RESPONSE to 5 Order on Motion for Leave to Proceed in Forma Pauperis, by Plaintiff
                      Darlene Griffith. (athom, ) (Entered: 02/19/2021)
  02/18/2021              8 MOTION for Appointment of Counsel by Plaintiff Darlene Griffith. (athom, ) (Entered:
                            02/19/2021)
  03/04/2021              9 AMENDED Prisoner COMPLAINT against Cynthia Ayad, Bradberry, Eric Carnell,
                            Drapper, Aaron Earnheart, K. Forrell, Francs, Cy Gillespie, James, Motta, Liz O'Neal,
                            Sterling, filed by Darlene Griffith. (athom, ) (Entered: 03/05/2021)
  03/11/2021             10 MINUTE ORDER by Magistrate Judge Gordon P. Gallagher on 03/11/2021. Pursuant to
                            D.C.COLO.LCivR 8.1, the Clerk of Court is directed to assign this matter to Senior Judge
                            Lewis T. Babcock. The undersigned will remain as the assigned magistrate judge. (athom,
                            ) (Entered: 03/11/2021)
  03/12/2021             11 ORDER of Reference to United States Magistrate Judge Gordon P. Gallagher. By Judge
                            Lewis T. Babcock on 03/12/2021. All future pleadings should be designated as 21-cv-
                            00387-LTB-GPG. (athom, ) (Entered: 03/12/2021)
  03/12/2021             12 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE re 9 Amended
                            Complaint filed by Darlene Griffith. By Magistrate Judge Gordon P. Gallagher on
                            03/12/2021. (athom, ) (Entered: 03/12/2021)
  03/24/2021             13 MOTION for Emergency Preliminary Injunction and Permanent Injunction Relief by
                            Plaintiff Darlene Griffith. (athom, ) (Entered: 03/25/2021)
  03/24/2021             14 MOTION to Make this Action Class Action to Similarly Situated Persons by Plaintiff
                            Darlene Griffith. (athom, ) (Entered: 03/25/2021)
  03/29/2021             15 ORDER that Plaintiff's "Motion for Emergency Preliminary Injunction and Permanent
                            Injunctive Relief" (ECF No. 13 ) and "Motion to Make this Action Class Action to
                            Similarly Situated Person(s)"(ECF No. 14 ) are DENIED. That Plaintiff shall have 14
                            days from the date of this order to file any written objections to the Recommendation of
                            United States Magistrate Judge (ECF No. 12 ), by Judge Lewis T. Babcock on 3/29/2021.
                            (evana, ) (Entered: 03/29/2021)
  04/19/2021             16 ORDER TO DISMISS IN PART AND TO DRAW CASE. The Recommendation of
                            United States Magistrate Judge (ECF No. 12 ) is accepted and adopted. The Amended
                            Prisoner Complaint (ECF No. 9 ) is dismissed without prejudice in part and drawn in part
                            follows. The claims asserted against Defendants Jane Doe (Deputy), John Doe (Deputy),
                            and Drapper (Deputy) are drawn to a presiding judge. See D.C.COLO.LCivR 8.1(c). The
                            claims asserted Defendants ERIC CARNELL (LIEUTENANT), CYNTHIA AYAD
                            (SGT.), CY GILLESPIE (COMMANDER FOR INMATE CLASS), LIZ O'NEAL
                            (MANAGE FOR INMATE CLASS), AARON EARNHEART (SGT.), JOHN DOE (SGT.
                            FOR INTAKE), MS. K FORRELL (PREA INVESTIGATOR), MR. STERLING
                            (DEPUTY), MR. FRANCS (DEPUTY), MS. MOTTA (DEPUTY), MS. BRADBERRY
                            (DEPUTY), and MS. JAMES (DEPUTY) are dismissed without prejudice for failure to
                            comply with the pleading requirements of Rule 8, and these Defendants are dismissed as
                            parties to this action. By Judge Lewis T. Babcock on 04/19/2021. This case is randomly
                            reassigned to Magistrate Judge N. Reid Neureiter. All future pleadings should be
                            designated as 21-cv-00387-NRN. (athom, ) (Entered: 04/19/2021)
  04/19/2021             17 Magistrate Judge consent form issued pursuant to D.C.COLO.LCivR 40.1, direct
                            assignment of civil actions to full time magistrate judges. (athom, ) (Entered: 04/19/2021)
  04/19/2021             18 ORDER SETTING STATUS CONFERENCE FOR PRO SE PLAINTIFF by Magistrate
                            Judge N. Reid Neureiter on 19 April 2021. Consent Form due by 5/25/2021. Status
                            Conference set for 6/8/2021 10:30 AM in Courtroom C203 before Magistrate Judge N.
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.10     8/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 11
                             Reid Neureiter. The Status Conference will be conducted via telephone. The parties are
                             directed to call the conference line as a participant at (888) 398-2342, Access Code
                             5755390# at the scheduled time. (cmadr, ) (Entered: 04/19/2021)
  04/19/2021             19 CERTIFICATE of Service by mail by Clerk of Court re 18 to CASE MANAGER/
                            INMATE COORDINATOR OF: Darlene Griffith #0275824 El Paso County Criminal
                            Justice Center 2739 East Las Vegas Street Colorado Springs, CO 80906. Text Only Entry
                            (cmadr, ) (Entered: 04/19/2021)
  04/21/2021             20 CERTIFICATE of Service by Clerk of Court re 16 Order to Dismiss in Part and to Draw
                            Case 9 Amended Prisoner Complaint, 12 Recommendation of United States Magistrate
                            Judge 18 Order Setting Status Conference for Service of Process. (trvo, ) (Entered:
                            04/21/2021)
  04/28/2021             21 WAIVER OF SERVICE Returned Executed. Drapper waiver sent on 4/21/2021, answer
                            due 6/20/2021. (cmadr, ) (Entered: 04/28/2021)
  05/04/2021             22 NOTICE of Entry of Appearance by Terry Angela Sample on behalf of DrapperAttorney
                            Terry Angela Sample added to party Drapper(pty:dft) (Sample, Terry) (Entered:
                            05/04/2021)
  05/04/2021             23 NOTICE of Entry of Appearance by Christopher Michael Strider on behalf of
                            DrapperAttorney Christopher Michael Strider added to party Drapper(pty:dft) (Strider,
                            Christopher) (Entered: 05/04/2021)
  05/25/2021             24 CONSENT to Jurisdiction of Magistrate Judge by Defendant Drapper All parties do not
                            consent.. (Sample, Terry) (Entered: 05/25/2021)
  05/26/2021             25 CASE REASSIGNED pursuant to 24 Consent to Jurisdiction of Magistrate Judge. All
                            parties do not consent. This case is randomly reassigned to Judge Christine M. Arguello.
                            All future pleadings should be designated as 21-cv-00387-CMA. (Text Only Entry)
                            (cmadr, ) (Entered: 05/26/2021)
  05/26/2021             26 ORDER REFERRING CASE to Magistrate Judge N. Reid Neureiter. Magistrate Judge
                            Neureiter is designated to conduct ALLMTN proceedings pursuant to 28 U.S.C. § 636(b)
                            (1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b). The parties should expect to be given a
                            firm trial setting that is 90 to 120 days from the date of the final pretrial conference and
                            should be available for trial accordingly. Court-sponsored alternative dispute resolution is
                            governed by D.C.COLO.LCivR 16.6. The Magistrate Judge, at his/her discretion, may
                            convene such early neutral evaluation and/or settlement conferences and direct related
                            procedures as may facilitate resolution of this case without the necessity of a motion or
                            prior authorization of the undersigned. SO ORDERED by Judge Christine M. Arguello on
                            5/26/2021. Text Only Entry (cmasec) (Entered: 05/26/2021)
  05/26/2021             27 MEMORANDUM regarding 8 MOTION to Appoint Counsel filed by Darlene Griffith.
                            Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on
                            5/26/2021. Text Only Entry (cmasec) (Entered: 05/26/2021)
  06/08/2021             28 APPOINTMENT ORDER by Magistrate Judge N. Reid Neureiter on 8 June 2021. It is
                            hereby ORDERED that Plaintiff's Motion for Appointment of Counsel (Dkt. # 8 ) is
                            GRANTED. Accordingly, it is further ORDERED that pursuant to D.C.COLO.LAttyR
                            15(f)(2), the Clerk shall select, notify, and appoint counsel to represent the unrepresented
                            party in this civil matter. The Plaintiff is advised that the Clerk will select counsel from
                            the Panel; however, there is no guarantee that Panel members will undertake
                            representation in every case. The Court cautions Plaintiff that she remains responsible for
                            all scheduled matters, including hearings, depositions, motions, and trial.(cmadr, )
                            (Entered: 06/08/2021)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.11       9/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 12
  06/08/2021     29 COURTROOM MINUTES for proceedings held before Magistrate Judge N. Reid
                      Neureiter: Telephonic Status Conference held on 6/8/2021. Telephonic Motion Hearing
                      set for 8/24/2021 11:00 AM in Courtroom C203 before Magistrate Judge N. Reid
                      Neureiter. The parties are directed to call the conference line as a participant at (888) 398-
                      2342, Access Code 5755390# at the scheduled time. FTR: Courtroom C203. (slibi, )
                      (Entered: 06/08/2021)
  06/15/2021             30 CONSENT to Jurisdiction of Magistrate Judge by Defendant Drapper All parties
                            consent.. (Sample, Terry) (Entered: 06/15/2021)
  06/15/2021             31 ORDER OF REFERENCE TO 28 U.S.C. § 636(c). On May 25, 2021 and June 15, 2021,
                            the parties notified the Court of their unanimous consent to disposition of the instant
                            action by a United States Magistrate Judge (Docs. ## 24 , 30 ). The above action is
                            referred for disposition to Magistrate Judge N. Reid Neureiter pursuant to 28 U.S.C. §
                            636(c), by Judge Christine M. Arguello on 6/15/2021. (evana, ) (Entered: 06/15/2021)
  06/18/2021             32 MOTION to Dismiss by Defendant Drapper. (Strider, Christopher) (Entered: 06/18/2021)
  07/15/2021             33 MOTION for Summary Judgment by Plaintiff Darlene Griffith. (evana, ) (Entered:
                            07/16/2021)
  07/19/2021             34 CERTIFICATE of Mailing/Service of Defendant's Motion to Dismiss by Defendant
                            Drapper. (Strider, Christopher) (Entered: 07/19/2021)
  07/21/2021             35 MOTION for Extension of Time to File Opposition to 32 Motion to Dismiss by Plaintiff
                            Darlene Griffith. (cmadr, ) (Entered: 07/21/2021)
  07/21/2021             36 Minute ORDER by Magistrate Judge N. Reid Neureiter on 21 July 2021. It is hereby
                            ORDERED that Plaintiff's Motion for Extension of Time to File Opposition to
                            Defendant's Motion to Dismiss (Dkt. # 35 ) is GRANTED as follows. Plaintiff's response
                            to Defendants Motion to Dismiss Amended Complaint (Dkt. # 32 ) is due on or before
                            August 6, 2021. The Court declines Plaintiff's invitation to order sanctions against
                            Defendant. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered:
                            07/21/2021)
  08/09/2021             37 Opposition (sic) to 32 MOTION to Dismiss filed by Plaintiff Darlene Griffith. (cmadr, )
                            (Entered: 08/09/2021)
  08/17/2021             38 Notice of Pro Bono Appointment. Attorney Andrew McNulty of the law firm of Killmer
                            Lane & Newman LLP has been selected as counsel to represent the Plaintiff, in
                            accordance with the Court's Order of June 8, 2021 and D.C.COLO.LAttyR 15(f) of the
                            U.S. District Court's Local Rules of Practice. Counsel has thirty days to either enter an
                            appearance in the case or to file a Notice Declining Appointment. This Notice of
                            Appointment will be sent to the pro se litigant and selected counsel by the undersigned
                            designated clerk. (ebutl) (Entered: 08/17/2021)
  08/18/2021             39 Minute ORDER by Magistrate Judge N. Reid Neureiter on 18 August 2021. In light of
                            the Notice of Pro Bono Appointment (Dkt. # 38 ), it is hereby ORDERED that the Motion
                            Hearing set for August 24, 2021 at 11:00 a.m. is VACATED. A Status Conference is set
                            for September 30, 2021 at 9:30 a.m. PLEASE READ ATTACHED MINUTE ORDER.
                            (cmadr, ) (Entered: 08/18/2021)
  08/23/2021             40 REPLY to Response to 32 MOTION to Dismiss filed by Defendant Drapper. (Strider,
                            Christopher) (Entered: 08/23/2021)
  09/15/2021             41 NOTICE of Entry of Appearance by Andrew Joseph McNulty on behalf of Darlene
                            GriffithAttorney Andrew Joseph McNulty added to party Darlene Griffith(pty:pla)
                            (McNulty, Andrew) (Entered: 09/15/2021)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.12    10/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 13
  09/24/2021     42 MINUTE ORDER. The upcoming Status Conference on September 30, 2021 at 9:30 a.m.
                      in this matter shall be conducted via telephone. The parties are directed to call the
                      conference line as a participant at (888) 398-2342, Access Code 5755390# at the
                      scheduled time. The Court notes that the parties may hear the conclusion of a prior
                      hearing at the time they call in, and are instructed to simply wait until their case is called.
                      SO ORDERED, by Magistrate Judge N. Reid Neureiter on September 24, 2021. Text
                      Only Entry. (rvill, ) (Entered: 09/24/2021)
  09/29/2021             43 NOTICE of Entry of Appearance by Nathan James Whitney on behalf of
                            DrapperAttorney Nathan James Whitney added to party Drapper(pty:dft) (Whitney,
                            Nathan) (Entered: 09/29/2021)
  09/30/2021             44 COURTROOM MINUTES for Telephonic Status Conference held before Magistrate
                            Judge N. Reid Neureiter on 9/30/2021. Plaintiff shall file Amended Complaint by October
                            4, 2021. Defendants shall be served by October 22, 2021. A Telephonic Status
                            Conference is set for November 10, 2021 at 2:30 p.m. before Magistrate Judge N. Reid
                            Neureiter. The parties are directed to call the conference line as a participant at (888) 398-
                            2342, Access Code 5755390# at the scheduled time. FTR: Courtroom C203. (rvill, )
                            (Entered: 09/30/2021)
  10/04/2021             45 Unopposed MOTION for Leave to File Second Amended Complaint by Plaintiff Darlene
                            Griffith. (McNulty, Andrew) (Entered: 10/04/2021)
  10/04/2021             46 AMENDED COMPLAINT Second Amended Complaint against Drapper, Bill Elder, Cy
                            Gillespie, El Paso County Colorado, Wellpath LLC, Christine Mohr, Doctor Jane Roe,
                            filed by Darlene Griffith.(McNulty, Andrew) (Entered: 10/04/2021)
  10/04/2021             47 Minute ORDER by Magistrate Judge N. Reid Neureiter on 4 October 2021. is hereby
                            ORDERED that Plaintiff's Motion for Leave to File Second Amended Complaint (Dkt. #
                            45 ) is GRANTED finding good cause shown. Plaintiff's Second Amended Complaint and
                            Jury Demand (Dkt. # 46 ) is ACCEPTED as the operative pleading in this case. The Clerk
                            shall amend the case caption accordingly. It is further ORDERED that Defendants'
                            Motion to Dismiss (Dkt. # 32 ) is DENIED as moot. It is further ORDERED that
                            Plaintiff's Motion for Summary Judgment (Dkt. # 33 ), which Plaintiff filed before
                            counsel entered his appearance on her behalf, is DENIED WITHOUT PREJUDICE for
                            failing to comply with Rule 56(c). PLEASE READ ATTACHED MINUTE ORDER.
                            (cmadr, ) (Entered: 10/04/2021)
  10/15/2021             48 MOTION for Preliminary Injunction , Expedited Briefing Schedule, and Expedited
                            Hearing by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 10/15/2021)
  10/15/2021             49 Minute ORDER by Magistrate Judge N. Reid Neureiter on 15 October 2021. It is hereby
                            ORDERED that a Status Conference is set on October 19, 2021 at3:30 p.m. to address the
                            briefing schedule for Plaintiffs Motion for Preliminary Injunction 48 , status of service of
                            process on Defendants, and status of Defendants' consent to the jurisdiction of a
                            magistrate judge. The parties are directed to call the conference line as a participant at
                            (888) 398-2342, Access Code 5755390# at the scheduled time. (csarr, ) (Entered:
                            10/15/2021)
  10/15/2021             50 WAIVER OF SERVICE Returned Executed by Darlene Griffith. El Paso County
                            Colorado waiver sent on 10/15/2021, answer due 12/14/2021. (McNulty, Andrew)
                            (Entered: 10/15/2021)
  10/15/2021             51 NOTICE of Entry of Appearance by Mari Anne Newman on behalf of Darlene
                            GriffithAttorney Mari Anne Newman added to party Darlene Griffith(pty:pla) (Newman,
                            Mari) (Entered: 10/15/2021)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.13       11/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 14
  10/19/2021     52 COURTROOM MINUTES for Telephonic Status Conference held before Magistrate
                      Judge N. Reid Neureiter on 10/19/2021. Defendant's response to the Motion for
                      Preliminary Injunction is due by October 29, 2021. Plaintiff's reply is due by November
                      5, 2021. Witness and Exhibit lists shall be exchanged no later than 12:00 p.m. on
                      November 10, 2021. A Preliminary Injunction Hearing is set for November 12, 2021 at
                      9:00 a.m. before Magistrate Judge N. Reid Neureiter in Courtroom C203, Second floor,
                      Bryon G. Rogers Courthouse. FTR: Courtroom C203. (rvill, ) (Entered: 10/19/2021)
  10/20/2021             53 MINUTE ORDER VACATING PRELIMINARY INJUNCTION HEARING AND
                            REASSIGNING CASE TO DISTRICTJUDGEby Magistrate Judge N. Reid Neureiter on
                            20 October 2021. Plaintiff in this case seeks a preliminary injunction and an expedited
                            hearing. Dkt. # 48 . However, there is a defendant in the case, WellPath LLC, that has not
                            yet appeared. This Court can only preside over dispositive matters and preliminary
                            injunction matters where all parties have consented to proceed before a magistrate judge.
                            Wherefore, it is hereby ORDERED that the preliminary injunction hearing set for
                            November 12, 2021 is VACATED. The Clerk is ORDERED to reassign this matter to the
                            appropriate district judge. The expedited briefing schedule set on October 19, 2021 (see
                            Dkt. # 52 ) remains in place, subject to modification by the district judge to whom the
                            matter will be reassigned. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, )
                            (Entered: 10/20/2021)
  10/20/2021             54 CASE REASSIGNED pursuant to 53 MINUTE ORDER VACATING PRELIMINARY
                            INJUNCTION HEARING AND REASSIGNING CASE TO DISTRICT JUDGE.
                            Pursuant to D.C.COLO.LCivR 40.1, the case has been directly reassigned to Judge
                            Christine M. Arguello. All future pleadings should be designated as 21-cv-00387-CMA.
                            (Text Only Entry) (cmadr, ) (Entered: 10/21/2021)
  10/21/2021             55 NOTICE of Entry of Appearance by Catherine O'Brien Crum on behalf of Wellpath
                            LLCAttorney Catherine O'Brien Crum added to party Wellpath LLC(pty:dft) (O'Brien
                            Crum, Catherine) (Entered: 10/21/2021)
  10/21/2021             56 WAIVER OF SERVICE Returned Executed by Wellpath LLC. Wellpath LLC waiver sent
                            on 10/21/2021, answer due 12/20/2021. (O'Brien Crum, Catherine) (Entered: 10/21/2021)
  10/21/2021             57 NOTICE of Entry of Appearance by Lauren Elizabeth Kuhn on behalf of Wellpath
                            LLCAttorney Lauren Elizabeth Kuhn added to party Wellpath LLC(pty:dft) (Kuhn,
                            Lauren) (Entered: 10/21/2021)
  10/28/2021             58 ORDER REFERRING CASE to Magistrate Judge N. Reid Neureiter. Magistrate Judge
                            Neureiter is designated to conduct ALLMTN proceedings pursuant to 28 U.S.C. § 636(b)
                            (1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b). Court-sponsored alternative dispute
                            resolution is governed by D.C.COLO.LCivR 16.6. The Magistrate Judge, at his/her
                            discretion, may convene such early neutral evaluation and/or settlement conferences and
                            direct related procedures as may facilitate resolution of this case without the necessity of
                            a motion or prior authorization of the undersigned. SO ORDERED by Judge Christine M.
                            Arguello on 10/28/2021. Text Only Entry (cmasec) (Entered: 10/28/2021)
  10/28/2021             59 MEMORANDUM regarding 48 MOTION for Preliminary Injunction , Expedited
                            Briefing Schedule, and Expedited Hearing filed by Darlene Griffith. Motion referred to
                            Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 10/28/2021. Text
                            Only Entry (cmasec) (Entered: 10/28/2021)
  10/28/2021             60 Minute ORDER by Magistrate Judge N. Reid Neureiter on 28 October 2021. It is hereby
                            ORDERED that a Status Conference is set on November 2, 2021 at 9:00 a.m. to address
                            the briefing schedule for Plaintiffs Motion for Preliminary Injunction (Dkt. # 48 ). The
                            parties are directed to call the conference line as a participant at (888) 398-2342, Access

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.14      12/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 15
                             Code 5755390# at the scheduled time. PLEASE READ ATTACHED MINUTE ORDER.
                             (cmadr, ) (Entered: 10/28/2021)
  10/29/2021             61 NOTICE of Entry of Appearance by Daniel Patrick Struck on behalf of Wellpath
                            LLCAttorney Daniel Patrick Struck added to party Wellpath LLC(pty:dft) (Struck,
                            Daniel) (Entered: 10/29/2021)
  10/29/2021             62 NOTICE of Entry of Appearance by Ashlee B. Hesman on behalf of Wellpath
                            LLCAttorney Ashlee B. Hesman added to party Wellpath LLC(pty:dft) (Hesman, Ashlee)
                            (Entered: 10/29/2021)
  10/29/2021             63 NOTICE of Entry of Appearance by Kristina R. Rood on behalf of Wellpath
                            LLCAttorney Kristina R. Rood added to party Wellpath LLC(pty:dft) (Rood, Kristina)
                            (Entered: 10/29/2021)
  10/29/2021             64 RESPONSE to 48 MOTION for Preliminary Injunction , Expedited Briefing Schedule,
                            and Expedited Hearing Attorney Nathan James Whitney added to party El Paso County
                            Colorado(pty:dft), Attorney Nathan James Whitney added to party Bill Elder(pty:dft),
                            Attorney Nathan James Whitney added to party Bill (I) Elder(pty:dft), Attorney Nathan
                            James Whitney added to party Cy Gillespie(pty:dft) filed by Defendants Draper, El Paso
                            County Colorado, Bill Elder, Bill (I) Elder, Cy Gillespie. (Whitney, Nathan) (Entered:
                            10/29/2021)
  10/29/2021             65 MOTION to Withdraw as Attorney Pursuant to D.C.Colo.LAttyR. 5(b) by Defendant
                            Wellpath LLC. (O'Brien Crum, Catherine) (Entered: 10/29/2021)
  11/01/2021             66 ORDER: Granting 65 Motion to Withdraw as Attorneys. Attorneys Catherine O'Brien
                            Crum and Lauren Kuhn are permitted to withdraw as counsel for Defendant Wellpath,
                            LLC. The Court notes that Defendant continues to be represented by Mss. Hesman and
                            Rood and Mr. Struck. FURTHER ORDERED that the Clerk of the Court is DIRECTED
                            to delete Mss. O'Brien Crum and Kuhn's email addresses from future ECF filings and
                            electronic notifications in this case. SO ORDERED by Judge Christine M. Arguello on
                            11/1/2021. Text Only Entry(cmasec) (Entered: 11/01/2021)
  11/02/2021             67 COURTROOM MINUTES ENTRY for proceedings held before Magistrate Judge N.
                            Reid Neureiter: Telephonic Status Conference on 11/2/2021. A two-day Preliminary
                            Injunction Hearing is set to begin at 9:00 a.m. on December 9, 2021 before Magistrate
                            Judge N. Reid Neureiter in Courtroom C203, Second floor, Bryon G. Rogers Courthouse,
                            1929 Stout Street, Denver, Colorado 80294. The parties shall exchange and file with the
                            court witness and exhibit lists by the close of business day, no later than December 6,
                            2021. Plaintiff is entitled to 5 requests for production with a 14-day response time. The
                            request should be reasonably related to the issues in the Preliminary Injunction. Plaintiff
                            shall also prepare a proposed scheduling order for review at the end of the Preliminary
                            Injunction Hearing. FTR: Courtroom C203. (rvill, ) (Entered: 11/02/2021)
  11/05/2021             68 REPLY to Response to 48 MOTION for Preliminary Injunction , Expedited Briefing
                            Schedule, and Expedited Hearing filed by Plaintiff Darlene Griffith. (McNulty, Andrew)
                            (Entered: 11/05/2021)
  11/18/2021             69 Joint MOTION for Protective Order by Defendants Draper, El Paso County Colorado,
                            Bill Elder, Cy Gillespie. (Attachments: # 1 Proposed Order (PDF Only) Exhibit 1-
                            Proposed Stipulated Protective Order)(Whitney, Nathan) (Entered: 11/18/2021)
  11/22/2021             70 Minute ORDER by Magistrate Judge N. Reid Neureiter on 22 November 2021. It is
                            hereby ORDERED that a Telephonic Discovery Hearing is set for November 23, 2021 at
                            1:30 p.m. The parties are directed to prepare and email to Chambers by the close of
                            business on November 22, 2021 a short (no longer than ten pages) joint statement setting
                            forth each sides respective position concerning the dispute. The parties are advised that
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.15     13/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 16
                             the joint statement will be attached to the courtroom minutes and made a part of the
                             record. Counsel for the parties are also directed to jointly call Court Chambers, 303-335-
                             2403, at the designated time. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, )
                             (Entered: 11/22/2021)
  11/23/2021             71 COURTROOM MINUTES for proceedings held before Magistrate Judge N. Reid
                            Neureiter: Telephonic Discovery Hearing held on 11/23/2021. FTR: Courtroom C203.
                            (Attachments: # 1 Joint Statement Re: Discovery Dispute, # 2 Exhibit 1) (rvill, )
                            (Entered: 11/23/2021)
  11/28/2021             72 MEMORANDUM regarding 69 Joint MOTION for Protective Order filed by Cy
                            Gillespie, El Paso County Colorado, Bill Elder, Draper. Motion referred to Magistrate
                            Judge N. Reid Neureiter by Judge Christine M. Arguello on 11/28/2021. Text Only Entry
                            (cmasec) (Entered: 11/28/2021)
  11/29/2021             73 MOTION for Extension of Time to File Answer or Otherwise Respond by Defendants
                            Draper, El Paso County Colorado, Bill Elder, Bill (I) Elder, Cy Gillespie. (Attachments: #
                            1 Proposed Order (PDF Only) Proposed Order for Extension of Time to
                            Answer/Respond)(Whitney, Nathan) (Entered: 11/29/2021)
  11/29/2021             74 MEMORANDUM regarding 73 MOTION for Extension of Time to File Answer or
                            Otherwise Respond filed by Cy Gillespie, Bill (I) Elder, El Paso County Colorado, Bill
                            Elder, Draper. Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine
                            M. Arguello on 11/29/2021. Text Only Entry (cmasec) (Entered: 11/29/2021)
  11/29/2021             75 Minute ORDER by Magistrate Judge N. Reid Neureiter on 29 November 2021. It is
                            hereby ORDERED that the parties' Joint Motion for a Protective Order (Dkt. # 69 ) is
                            GRANTED finding good cause shown. The proposed Stipulated Protective Order (Dkt.
                            #69-1) is APPROVED and made an Order of Court. It is further ORDERED that County
                            Defendants' Unopposed Motion for Extension of Time to File a Responsive Pleading
                            (Dkt. # 73 ) is GRANTED. County Defendants shall answer or otherwise respond to
                            Plaintiff's Second Amended Complaint (Dkt. # 46 ) on or before December 17, 2021.
                            PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 11/29/2021)
  11/29/2021             76 STIPULATED PROTECTIVE ORDER by Magistrate Judge N. Reid Neureiter on 29
                            November 2021. (cmadr, ) (Entered: 11/29/2021)
  12/01/2021             77 Unopposed MOTION for Writ of Habeas Corpus ad testificandum by Plaintiff Darlene
                            Griffith. (Attachments: # 1 Proposed Document Writ of Habeas Corpus ad Testificandum)
                            (McNulty, Andrew) (Entered: 12/01/2021)
  12/02/2021             78 MEMORANDUM regarding 77 Unopposed MOTION for Writ of Habeas Corpus ad
                            testificandum filed by Darlene Griffith. Motion referred to Magistrate Judge N. Reid
                            Neureiter by Judge Christine M. Arguello on 12/2/2021. Text Only Entry (cmasec)
                            (Entered: 12/02/2021)
  12/02/2021             79 WRIT of HABEAS CORPUS AD TESTIFICANDUM issued. (cmadr, ) (Entered:
                            12/02/2021)
  12/02/2021             80 ORDER granting 77 Motion for Writ of Habeas Corpus ad Testificandum by Magistrate
                            Judge N. Reid Neureiter on 2 December 2021. Text Only Entry.(cmadr, ) (Entered:
                            12/02/2021)
  12/06/2021             81 Unopposed MOTION for Extension of Time to File and Exchange Plaintiff's Exhibit List
                            and Make Disclosures by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered:
                            12/06/2021)
  12/06/2021             82 MEMORANDUM regarding 81 Unopposed MOTION for Extension of Time to File and
                            Exchange Plaintiff's Exhibit List and Make Disclosures filed by Darlene Griffith. Motion
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.16     14/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 17
                             referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on
                             12/6/2021. Text Only Entry (cmasec) (Entered: 12/06/2021)
  12/06/2021             83 Minute ORDER by Magistrate Judge N. Reid Neureiter on 6 December 2021. It is hereby
                            ORDERED that Plaintiff's Unopposed Motion for Extension of Time to File and
                            Exchange Exhibit Lists and Make Disclosure's (Dkt. # 81 ) is GRANTED finding good
                            cause shown. Plaintiff shall have up to and including December 7, 2021 to exchange and
                            file her Exhibit List and to make her appropriate disclosures. PLEASE READ
                            ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 12/06/2021)
  12/06/2021             84 MOTION for Extension of Time to Exchange Witness and Exhibit Lists for Preliminary
                            Injunction Hearing by Defendants Draper, El Paso County Colorado, Bill Elder, Cy
                            Gillespie. (Whitney, Nathan) (Entered: 12/06/2021)
  12/06/2021             85 Witness List by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 12/06/2021)
  12/06/2021             86 Witness List by Defendant El Paso County Colorado. (Whitney, Nathan) (Entered:
                            12/06/2021)
  12/07/2021             87 Exhibit List for Preliminary Injunction Hearing by Plaintiff Darlene Griffith. (McNulty,
                            Andrew) (Entered: 12/07/2021)
  12/07/2021             88 Exhibits in Support for Preliminary Injunction Hearing by Defendants Draper, El Paso
                            County Colorado, Bill Elder, Cy Gillespie. (Whitney, Nathan) (Entered: 12/07/2021)
  12/08/2021             89 MEMORANDUM regarding 84 MOTION for Extension of Time to Exchange Witness
                            and Exhibit Lists for Preliminary Injunction Hearing filed by Cy Gillespie, El Paso
                            County Colorado, Bill Elder, Draper. Motion referred to Magistrate Judge N. Reid
                            Neureiter by Judge Christine M. Arguello on 12/8/2021. Text Only Entry (cmasec)
                            (Entered: 12/08/2021)
  12/08/2021             90 Minute ORDER by Magistrate Judge N. Reid Neureiter on 8 December 2021. It is hereby
                            ORDERED that Defendants' Unopposed Motion for Extension of Time to File and
                            Exchange Witness and Exhibit List for the Preliminary Injunction Hearing (Dkt. # 84 ) is
                            GRANTED finding good cause shown. Defendants shall have up to and including
                            December 7, 2021 to exchange and file their Witness and Exhibit List. PLEASE READ
                            ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 12/08/2021)
  12/08/2021             91 STIPULATION by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 12/08/2021)
  12/08/2021             92 MINUTE ORDER by Magistrate Judge N. Reid Neureiter on 12/8/2021. In light of the
                            parties' Stipulation (Dkt. # 91 ), it is hereby ORDERED that Plaintiff's Motion for
                            Preliminary Injunction (Dkt. # 48 ) is DENIED as moot and the Preliminary Injunction
                            Hearing set for December 9, 2021 at 9:00 a.m. is VACATED. It is further ORDERED that
                            the terms of the Stipulation are ADOPTED and made an Order of Court. (rvill, ) (Entered:
                            12/08/2021)
  12/09/2021             93 NOTICE of Entry of Appearance by Daniel Patrick Struck on behalf of Christine
                            MohrAttorney Daniel Patrick Struck added to party Christine Mohr(pty:dft) (Struck,
                            Daniel) (Entered: 12/09/2021)
  12/09/2021             94 NOTICE of Entry of Appearance by Ashlee B. Hesman on behalf of Christine
                            MohrAttorney Ashlee B. Hesman added to party Christine Mohr(pty:dft) (Hesman,
                            Ashlee) (Entered: 12/09/2021)
  12/09/2021             95 NOTICE of Entry of Appearance by Kristina R. Rood on behalf of Christine
                            MohrAttorney Kristina R. Rood added to party Christine Mohr(pty:dft) (Rood, Kristina)
                            (Entered: 12/09/2021)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.17   15/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 18
  12/09/2021     96 Unopposed MOTION for Extension of Time to File Answer or Otherwise Respond re 46
                      Amended Complaint as to Defendant Mohr by Defendants Christine Mohr, Wellpath
                      LLC. (Attachments: # 1 Proposed Order (PDF Only))(Hesman, Ashlee) (Entered:
                      12/09/2021)
  12/09/2021             97 MEMORANDUM regarding 96 Unopposed MOTION for Extension of Time to File
                            Answer or Otherwise Respond re 46 Amended Complaint as to Defendant Mohr filed by
                            Wellpath LLC, Christine Mohr. Motion referred to Magistrate Judge N. Reid Neureiter by
                            Judge Christine M. Arguello on 12/9/2021. Text Only Entry (cmasec) (Entered:
                            12/09/2021)
  12/09/2021             98 Minute ORDER by Magistrate Judge N. Reid Neureiter on 9 December 2021. It is hereby
                            ORDERED that Defendant Dr. Christine Mohr's Unopposed Motion for Extension of
                            Time to File Responsive Pleading (Dkt. # 96 ) is GRANTED. Dr. Mohr shall answer or
                            otherwise respond to Plaintiff's Amended Complaint (Dkt. # 46 ) on or before December
                            20, 2021. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered:
                            12/09/2021)
  12/16/2021             99 Joint MOTION to Stay Case Pending Settlement Conference by Defendants Draper, El
                            Paso County Colorado, Bill Elder, Cy Gillespie. (Attachments: # 1 Proposed Order (PDF
                            Only) )(Whitney, Nathan) (Entered: 12/16/2021)
  12/29/2021           100 MEMORANDUM regarding 99 Joint MOTION to Stay Case Pending Settlement
                           ConferenceJoint MOTION for Hearing/Conference for Purposes of Settlement filed by
                           Cy Gillespie, El Paso County Colorado, Bill Elder, Draper. Motion referred to Magistrate
                           Judge N. Reid Neureiter by Judge Christine M. Arguello on 12/29/2021. Text Only Entry
                           (cmasec) (Entered: 12/29/2021)
  01/04/2022           101 Minute ORDER by Magistrate Judge N. Reid Neureiter on 4 January 2022. This case is
                           before the Court on It is hereby ORDERED that the parties' Joint Motion for Settlement
                           Conference and to Stay Case Pending Settlement Conference (Dkt. # 99 ) is GRANTED
                           as follows. The parties are directed to jointly contact Chambers (303-335-2403) no later
                           that January 7, 2022 to schedule a Settlement Conference. It is further ORDERED that
                           this matter is STAYED until such time as a Settlement Conference is scheduled or until
                           further Order of the Court. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, )
                           (Entered: 01/04/2022)
  01/24/2022           102 Minute ORDER by Magistrate Judge N. Reid Neureiter on 24 January 2022. It is hereby
                           ORDERED that a Settlement Conference is set on April 8, 2022 at 9:00 a.m. in
                           Courtroom C-203, Second Floor, Byron G. Rogers U.S. Courthouse, 1929 Stout Street,
                           Denver, Colorado. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered:
                           01/24/2022)
  02/24/2022           103 MOTION for Leave to Appear Telephonically at April 8, 2022 Settlement Conference 102
                           Order, by Defendants Christine Mohr, Wellpath LLC. (Hesman, Ashlee) (Entered:
                           02/24/2022)
  02/24/2022           104 MEMORANDUM regarding 103 MOTION for Leave to Appear Telephonically at April
                           8, 2022 Settlement Conference 102 Order, filed by Wellpath LLC, Christine Mohr.
                           Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on
                           2/24/2022. Text Only Entry (cmasec) (Entered: 02/24/2022)
  03/01/2022           105 Minute ORDER by Magistrate Judge N. Reid Neureiter on 1 March 2022. It is hereby
                           ORDERED that Defendants Wellpath and Mohr's Unopposed Motion for Leave to
                           Appear Telephonically at April 8, 2022 Settlement Conference (Dkt. # 103 ) is
                           GRANTED IN PART and DENIED IN PART as follows. The Wellpath representative is
                           given leave to attend the April 8, 2022 Settlement Conference by telephone, but the Court
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.18   16/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 19
                             expects Wellpath's counsel to appear in person. PLEASE READ ATTACHED MINUTE
                             ORDER. (cmadr, ) (Entered: 03/01/2022)
  03/17/2022           106 Unopposed MOTION for Leave to Appear CLIENTS AND ADJUSTER TO APPEAR
                           TELEPHONICALLY AT APRIL 8, 2022 SETTLEMENT CONFERENCE AND REQUEST
                           FOR STATUS CONFERENCE by Defendants Draper, El Paso County Colorado, Bill
                           Elder, Bill (I) Elder, Cy Gillespie. (Attachments: # 1 Exhibit A. Resolution 20-19)
                           (Whitney, Nathan) (Entered: 03/17/2022)
  03/17/2022           107 MEMORANDUM regarding 106 Unopposed MOTION for Leave to Appear CLIENTS
                           AND ADJUSTER TO APPEAR TELEPHONICALLY AT APRIL 8, 2022 SETTLEMENT
                           CONFERENCE AND REQUEST FOR STATUS CONFERENCE filed by Cy Gillespie,
                           Bill (I) Elder, El Paso County Colorado, Bill Elder, Draper. Motion referred to Magistrate
                           Judge N. Reid Neureiter by Judge Christine M. Arguello on 3/17/2022. Text Only Entry
                           (cmasec) (Entered: 03/17/2022)
  03/18/2022           108 Minute ORDER by Magistrate Judge N. Reid Neureiter on 18 March 2022. It is hereby
                           ORDERED that the County Defendants' Unopposed Motion for Clients and Adjuster to
                           Appear Telephonically at April 8, 2022 Settlement Conference and Request for Status
                           Conference (Dkt. # 106 ) is GRANTED IN PART and DENIED IN PART as follows.
                           Defendants Elder and Gillespie and El Paso County's Adjuster are given leave to attend
                           the Settlement Conference telephonically. The Court understands that the County
                           Defendants' settlement authority will be contingent upon final approval by a vote of the
                           El Paso County Board of County Commissioners, and the Settlement Conference will
                           proceed with that understanding. No status conference is necessary. PLEASE READ
                           ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 03/18/2022)
  04/08/2022           109 Minute ORDER by Magistrate Judge N. Reid Neureiter on 8 April 2022. It is hereby
                           ORDERED that a Scheduling Conference is set for April 29, 2022 at 10:00 a.m. The
                           proposed Scheduling Order is due on or before April 22, 2022. The parties are directed to
                           call the conference line as a participant at (888) 398-2342, Access Code 5755390# at the
                           scheduled time. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered:
                           04/08/2022)
  04/08/2022            110 MINUTE ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter:
                            Settlement Conference held on 4/8/2022. (rvill, ) (rvill, ). (Entered: 04/11/2022)
  04/22/2022            111 Proposed Scheduling Order by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered:
                            04/22/2022)
  04/22/2022            112 CONSENT to Jurisdiction of Magistrate Judge by Defendants Christine Mohr, Wellpath
                            LLC All parties do not consent.. (Hesman, Ashlee) (Entered: 04/22/2022)
  04/29/2022            113 MINUTE ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter:
                            Telephonic Scheduling Conference held on 4/29/2022. Discovery due by 2/15/2023.
                            Dispositive Motions due by 3/17/2023. Telephonic Status Conference set for 10/11/2022
                            at 11:30 AM in Courtroom C203 before Magistrate Judge N. Reid Neureiter. The parties
                            are directed to call the conference line asa participant at (888) 398-2342, Access Code
                            5755390# at the scheduled time. FTR: Courtroom C203. (rvill, ) (Entered: 04/29/2022)
  04/29/2022            114 SCHEDULING ORDER by Magistrate Judge N. Reid Neureiter on April 29, 2022. (rvill,
                            ) (Entered: 04/29/2022)
  05/09/2022            115 STIPULATION re 76 Protective Order (Joint Stipulation) by Defendants Draper, El Paso
                            County Colorado, Bill Elder, Bill (I) Elder, Cy Gillespie. (Strider, Christopher) (Entered:
                            05/09/2022)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.19      17/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 20
  05/24/2022    116 STIPULATION of Dismissal of Party Defendant Jeremy Draper by Plaintiff Darlene
                      Griffith. (McNulty, Andrew) (Entered: 05/24/2022)
  06/01/2022           117 NOTICE of Settlement by Defendants Christine Mohr, Wellpath LLC (Rood, Kristina)
                           (Entered: 06/01/2022)
  06/01/2022           118 ORDER: In light of the parties' 117 Notice of Settlement, the parties are DIRECTED to
                           file appropriate dismissal documents in this matter by NOT LATER THAN 6/22/2022.
                           SO ORDERED Dismissal Paper due by 6/22/2022. by Judge Christine M. Arguello on
                           6/1/2022. Text Only Entry (cmasec) (Entered: 06/01/2022)
  06/02/2022           119 STIPULATION of Dismissal of Party Dr. Christine Mohr with Prejudice by Defendants
                           Christine Mohr, Wellpath LLC. (Rood, Kristina) (Entered: 06/02/2022)
  06/02/2022           120 Unopposed MOTION for Leave to File Third Amended Complaint by Plaintiff Darlene
                           Griffith. (Attachments: # 1 Exhibit 1 - Third Amended Complaint - REDLINE, # 2
                           Exhibit 2 - Third Amended Complaint - CLEAN)(McNulty, Andrew) (Entered:
                           06/02/2022)
  06/02/2022           121 Pursuant to 119 STIPULATION of Dismissal of Party, Defendant Christine Mohr (in her
                           individual capacity) is terminated. Text Only Entry. (sphil, ) (Entered: 06/02/2022)
  06/03/2022           122 STIPULATION of Dismissal of Party Wellpath, LLC with Prejudice by Defendant
                           Wellpath LLC. (Rood, Kristina) (Entered: 06/03/2022)
  06/07/2022           123 ORDER: Granting 120 Motion for Leave to File Third Amended Complaint. The Third
                           Amended Complaint (attached as Exhibit [120-2] is accepted for filing and shall be filed
                           by the Clerks Office as a separate document. SO ORDERED by Judge Christine M.
                           Arguello on 6/7/2022. Text Only Entry(cmasec) (Entered: 06/07/2022)
  06/07/2022           124 THIRD AMENDED COMPLAINT and Jury Demand against Bill Elder, Bill (I) Elder, El
                           Paso County Colorado, Cy Gillespie, Brande Ford, Elizabeth O'Neal, Andrew Mustapick,
                           Tiffany Noe, Dawne Elliss, filed by Darlene Griffith.(sphil, ) Modified on 6/7/2022
                           (Amended compliant filed per [#123] order. (sphil, ). (Entered: 06/07/2022)
  06/15/2022           125 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Andrew Mustapick
                           waiver sent on 6/7/2022, answer due 8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022           126 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Brande Ford waiver sent
                           on 6/7/2022, answer due 8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022           127 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Dawne Elliss waiver
                           sent on 6/7/2022, answer due 8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022           128 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Elizabeth O'Neal waiver
                           sent on 6/7/2022, answer due 8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022           129 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Tiffany Noe waiver sent
                           on 6/7/2022, answer due 8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/20/2022           130 Unopposed MOTION for Leave to File Excess Pages by Defendants Cynthia Ayad, El
                           Paso County Colorado, Bill Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew
                           Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 06/20/2022)
  06/22/2022           131 ORDER: Granting 130 Unopposed Motion for Leave to File Excess Pages. Defendants
                           are permitted to file their Motion to Dismiss in excess of this Court's page limitations,
                           NOT TO EXCEED 40 pages in total; Plaintiff's Response NOT TO EXCEED 40 pages
                           total. SO ORDERED by Judge Christine M. Arguello on 6/22/2022. Text Only
                           Entry(cmasec) (Entered: 06/22/2022)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.20       18/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 21
  06/28/2022    132 MOTION to Dismiss by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder,
                      Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth
                      O'Neal. (Whitney, Nathan) (Entered: 06/28/2022)
  06/29/2022           133 MEMORANDUM regarding 132 MOTION to Dismiss filed by Bill (I) Elder, Brande
                           Ford, Dawne Elliss, Andrew Mustapick, Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill
                           Elder, El Paso County Colorado. Motion referred to Magistrate Judge N. Reid Neureiter
                           by Judge Christine M. Arguello on 6/29/2022. Text Only Entry (cmasec) (Entered:
                           06/29/2022)
  07/07/2022           134 MOTION to Stay by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder,
                           Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth
                           O'Neal. (Whitney, Nathan) (Entered: 07/07/2022)
  07/08/2022           135 MEMORANDUM regarding 134 MOTION to Stay filed by Bill (I) Elder, Brande Ford,
                           Dawne Elliss, Andrew Mustapick, Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill
                           Elder, El Paso County Colorado. Motion referred to Magistrate Judge N. Reid Neureiter
                           by Judge Christine M. Arguello on 7/8/2022. Text Only Entry (cmasec) (Entered:
                           07/08/2022)
  07/12/2022           136 RESPONSE to 134 MOTION to Stay filed by Plaintiff Darlene Griffith. (McNulty,
                           Andrew) (Entered: 07/12/2022)
  07/15/2022           137 Unopposed MOTION for Extension of Time to File Response/Reply as to 132 MOTION
                           to Dismiss by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 07/15/2022)
  07/24/2022           138 MEMORANDUM regarding 137 Unopposed MOTION for Extension of Time to File
                           Response/Reply as to 132 MOTION to Dismiss filed by Darlene Griffith. Motion referred
                           to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 7/24/2022. Text
                           Only Entry (cmasec) (Entered: 07/24/2022)
  07/25/2022           139 Minute ORDER by Magistrate Judge N. Reid Neureiter on 25 July 2022. It is hereby
                           ORDERED that Plaintiff's Unopposed Motion for Extension of Time for Plaintiff to File
                           Response to Defendants' Motion to Dismiss (Dkt. # 137 ) is GRANTED. Plaintiff's
                           response to Defendants' Motion to Dismiss (Dkt. # 132 ) shall be filed on or before
                           August 9, 2022. It is further ORDERED that the Court will hear argument on Defendants'
                           Motion to Dismiss (Dkt. #132) and Motion to Stay Discovery (Dkt. # 134 ) at the hearing
                           set for October 11, 2022. To ensure that the parties have adequate time to present their
                           arguments, the hearing is RESET to October 11, 2022 at 11:00 a.m. The parties are
                           directed to call the conference line as a participant at (888) 398-2342, Access Code
                           5755390# at the scheduled time. PLEASE READ ATTACHED MINUTE ORDER.
                           (cmadr, ) (Entered: 07/25/2022)
  07/26/2022           140 REPLY to Response to 134 MOTION to Stay filed by Defendants El Paso County
                           Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew
                           Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 07/26/2022)
  07/27/2022           141 NOTICE of Entry of Appearance by Steven Ward Martyn on behalf of El Paso County
                           Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew
                           Mustapick, Tiffany Noe, Elizabeth O'NealAttorney Steven Ward Martyn added to party
                           El Paso County Colorado(pty:dft), Attorney Steven Ward Martyn added to party Bill
                           Elder(pty:dft), Attorney Steven Ward Martyn added to party Bill (I) Elder(pty:dft),
                           Attorney Steven Ward Martyn added to party Dawne Elliss(pty:dft), Attorney Steven
                           Ward Martyn added to party Brande Ford(pty:dft), Attorney Steven Ward Martyn added
                           to party Cy Gillespie(pty:dft), Attorney Steven Ward Martyn added to party Andrew
                           Mustapick(pty:dft), Attorney Steven Ward Martyn added to party Tiffany Noe(pty:dft),

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.21   19/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 22
                             Attorney Steven Ward Martyn added to party Elizabeth O'Neal(pty:dft) (Martyn, Steven)
                             (Entered: 07/27/2022)
  08/01/2022            142 Unopposed MOTION for Leave to File Excess Pages on Plaintiff's Response to
                            Defendants' Motion to Dismiss Third Amended Complaint Pursuant to Fed. R. Civ. P.
                            12(b)(1) and (6) by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 08/01/2022)
  08/01/2022            143 MEMORANDUM regarding 142 Unopposed MOTION for Leave to File Excess Pages
                            on Plaintiff's Response to Defendants' Motion to Dismiss Third Amended Complaint
                            Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) filed by Darlene Griffith. Motion referred to
                            Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 8/1/2022. Text
                            Only Entry (cmasec) (Entered: 08/01/2022)
  08/01/2022            144 MINUTE ORDER by Magistrate Judge N. Reid Neureiter on 08/01/2022. It is hereby
                            ORDERED that Plaintiff's Unopposed Motion for Leave to Exceed Page Limitation
                            Regarding Plaintiff's Response to Defendants' Motion to Dismiss Third Amended
                            Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) (Dkt. # 142 is GRANTED.
                            Plaintiff's response to Defendants' Motion to Dismiss (Dkt. # 132 shall be no longer than
                            fifty (50) pages in length, excluding the certificate of service. PLEASE READ
                            ATTACHED MINUTE ORDER (alave, ) (Entered: 08/01/2022)
  08/03/2022            145 NOTICE to Terminate ECF Filing Notifications to Counsel of Record by Defendants
                            Christine Mohr, Wellpath LLC (Rood, Kristina) (Entered: 08/03/2022)
  08/04/2022            146 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                            RULES/PROCEDURES: re: 145 Notice (Other) filed by attorney Rood, Kristina. The
                            document is incorrectly formatted. Action to take - REFILE THE DOCUMENT. In
                            order for an attorney to be withdrawn as counsel of record and term their ECF Notices, a
                            Motion to Withdraw as Attorney must be filed. Refer to D.C.COLO.LAttyR 5(b). (Text
                            Only Entry) (sphil, ) (Entered: 08/04/2022)
  08/08/2022            147 RESPONSE to 132 MOTION to Dismiss THIRD AMENDED COMPLAINT PURSUANT
                            TO FED. R. CIV. P. 12(b)(1) AND (6) filed by Plaintiff Darlene Griffith. (McNulty,
                            Andrew) (Entered: 08/08/2022)
  08/10/2022            148 MOTION to Withdraw as Attorney by Defendants Christine Mohr, Wellpath LLC.
                            (Struck, Daniel) (Entered: 08/10/2022)
  08/10/2022            149 MOTION to Withdraw as Attorney by Defendants Christine Mohr, Wellpath LLC.
                            (Hesman, Ashlee) (Entered: 08/10/2022)
  08/10/2022            150 MOTION to Withdraw as Attorney by Defendants Christine Mohr, Wellpath LLC. (Rood,
                            Kristina) (Entered: 08/10/2022)
  08/11/2022            151 ORDER: Granting 148 , 149 , and 150 Motions to Withdraw as Attorneys. Attorneys
                            Daniel P. Struck, Ashlee B. Hesman, and Kristina R. Rood are permitted to withdraw as
                            counsel for Defendants Wellpath, LLC and Dr. Christine Mohr. FURTHER ORDERED
                            that the Clerk of the Court is DIRECTED to delete Mr. Struck and Mss. Hesman and
                            Rood's email addresses from future ECF filings and electronic notifications in this case.
                            SO ORDERED by Senior Judge Christine M. Arguello on 8/11/2022. Text Only
                            Entry(cmasec) (Entered: 08/11/2022)
  08/16/2022            152 MOTION for Extension of Time to File Response/Reply as to 132 MOTION to Dismiss ,
                            MOTION for Leave to File Excess Pages in their Reply in Support of Motion to Dismiss
                            by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande
                            Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney,
                            Nathan) (Entered: 08/16/2022)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.22        20/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
             Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 23
  08/16/2022    153 MEMORANDUM regarding 152 MOTION for Extension of Time to File
                      Response/Reply as to 132 MOTION to Dismiss MOTION for Leave to File Excess Pages
                      in their Reply in Support of Motion to Dismiss filed by Bill (I) Elder, Brande Ford,
                      Dawne Elliss, Andrew Mustapick, Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill
                      Elder, El Paso County Colorado. Motion referred to Magistrate Judge N. Reid Neureiter
                      by Senior Judge Christine M. Arguello on 8/16/2022. Text Only Entry (cmasec) (Entered:
                      08/16/2022)
  08/17/2022           154 Minute ORDER by Magistrate Judge N. Reid Neureiter on 17 August 2022. It is hereby
                           ORDERED that Defendants' Unopposed Motion for Extension of Time to File a
                           Responsive Pleading and Motion for an Extension of Page Limitations (Dkt. # 152 ) is
                           GRANTED. Defendants' reply brief is due on or before August 26, 2022 and shall be no
                           longer than twenty-five (25) pages. PLEASE READ ATTACHED MINUTE ORDER.
                           (cmadr, ) (Entered: 08/17/2022)
  08/26/2022           155 REPLY to Response to 132 MOTION to Dismiss filed by Defendants El Paso County
                           Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew
                           Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 08/26/2022)
  08/29/2022           156 NOTICE of Supplemental Authorities re: 132 MOTION to Dismiss , 147 Response to
                           Motion by Plaintiff Darlene Griffith (McNulty, Andrew) (Entered: 08/29/2022)
  09/29/2022           157 NOTICE of Entry of Appearance by Bryan E. Schmid on behalf of El Paso County
                           Colorado, Bill Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick,
                           Tiffany Noe, Elizabeth O'NealAttorney Bryan E. Schmid added to party El Paso County
                           Colorado(pty:dft), Attorney Bryan E. Schmid added to party Bill Elder(pty:dft), Attorney
                           Bryan E. Schmid added to party Dawne Elliss(pty:dft), Attorney Bryan E. Schmid added
                           to party Brande Ford(pty:dft), Attorney Bryan E. Schmid added to party Cy
                           Gillespie(pty:dft), Attorney Bryan E. Schmid added to party Andrew Mustapick(pty:dft),
                           Attorney Bryan E. Schmid added to party Tiffany Noe(pty:dft), Attorney Bryan E.
                           Schmid added to party Elizabeth O'Neal(pty:dft) (Schmid, Bryan) (Entered: 09/29/2022)
  09/29/2022           158 Joint MOTION to Amend/Correct/Modify 114 Scheduling Order by Defendants Bill
                           Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick,
                           Tiffany Noe, Elizabeth O'Neal. (Schmid, Bryan) (Entered: 09/29/2022)
  09/29/2022           159 MEMORANDUM regarding 158 Joint MOTION to Amend/Correct/Modify 114
                           Scheduling Order filed by Bill (I) Elder, Brande Ford, Dawne Elliss, Andrew Mustapick,
                           Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill Elder. Motion referred to Magistrate
                           Judge N. Reid Neureiter by Senior Judge Christine M. Arguello on 9/29/2022. Text Only
                           Entry (cmasec) (Entered: 09/29/2022)
  09/29/2022           160 Minute ORDER by Magistrate Judge N. Reid Neureiter on 29 September 2022. It is
                           hereby ORDERED that the parties' Joint Motion to Modify the Scheduling Order (Dkt. #
                           158 ) is GRANTED. The Scheduling Order (Dkt. # 114 ) is MODIFIED as follows:
                           Discovery due by 6/15/2023. Dispositive Motions due by 7/15/2023. PLEASE READ
                           ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 09/30/2022)
  10/11/2022           161 MINUTE ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter:
                           Telephonic Motion Hearing held on 10/11/2022. Motion to Stay Discovery (Dkt. # 134 )
                           is TAKEN UNDER ADVISEMENT. The Court will issue a written order. Defendants'
                           Motion to Dismiss Third Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6)
                           (Dkt. # 132 ) is TAKEN UNDER ADVISEMENT. The Court will issue a written
                           recommendation in due course. FTR: Courtroom C203. (rvill, ) (Entered: 10/11/2022)
  11/02/2022           162 ORDER ON DEFENDANTS' MOTION TO STAY DISCOVERY (Dkt. # 134 ) by
                           Magistrate Judge N. Reid Neureiter on 2 November 2022. it is hereby ORDERED that
https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.23   21/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 24
                             Defendants' Motion to Stay Discovery (Dkt. #134) is GRANTED. Discovery is STAYED
                             pending the undersigned's issuance of a Report and Recommendation on Defendants'
                             Motion to Dismiss Third Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6)
                             (Dkt. # 132 ), after which the Court will reassess whether it is appropriate to lift the stay
                             and proceed with discovery. (cmadr, ) (Entered: 11/02/2022)
  11/12/2022            163 TRANSCRIPT of Telephonic Motion Hearing held on October 11, 2022 before
                            Magistrate Judge Neureiter. Pages: 1-62.
                            NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                            filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                            party's intent to redact personal identifiers from the electronic transcript of the
                            court proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                            this transcript will be made electronically available after 90 days. Please see the
                            Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                            Transcript may only be viewed at the court public terminal or purchased through the
                            Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                            (Patterson Transcription Company, ) (Entered: 11/12/2022)
  02/09/2023            164 Pro Se Notice of Change of Address/Contact Information by Plaintiff Darlene Griffith
                            (trvo, ) (Entered: 02/10/2023)
  02/27/2023            165 REPORT AND RECOMMENDATION ONDEFENDANTS' MOTION TO DISMISS
                            THIRD AMENDED COMPLAINTPURSUANT TO Fed. R. Civ. P. 12(b)(1) and (6)(Dkt.
                            # 132 ) by Magistrate Judge N. Reid Neureiter on 27 February 2023. In light of the
                            foregoing, it is hereby RECOMMENDED that Defendants' Motion to Dismiss (Dkt. #
                            132 ) be GRANTED, and that Plaintiff's Third Amended Complaint (Dkt. # 124 ) be
                            DISMISSED. (cmadr, ) (Entered: 02/27/2023)
  03/02/2023            166 AFFIDAVIT by Plaintiff Darlene Griffith. (sphil, ) (Entered: 03/03/2023)
  03/06/2023            167 Unopposed MOTION for Leave to EXCEED PAGE LIMITATION REGARDING
                            OBJECTION TO REPORT AND RECOMMENDATION by Plaintiff Darlene Griffith.
                            (McNulty, Andrew) (Entered: 03/06/2023)
  03/08/2023            168 ORDER: Granting 167 Unopposed Motion for Leave to File Excess Pages. Defendant is
                            permitted to file her Objection to 165 Magistrate Judge Report and Recommendation in
                            excess of this Court's page limitations, NOT TO EXCEED 30 pages in total, excluding
                            Certificate of Service. SO ORDERED by Senior Judge Christine M. Arguello on
                            3/8/2023. Text Only Entry(cmasec) (Entered: 03/08/2023)
  03/08/2023            169 OBJECTION to 165 Report and Recommendations filed by Plaintiff Darlene Griffith.
                            (McNulty, Andrew) (Entered: 03/08/2023)
  03/13/2023            170 Unopposed MOTION for Extension of Time to File Response/Reply as to 165
                            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE re 124 Amended
                            Complaint,, Add and Terminate Parties, filed by Darlene Griffith, 132 MOTION to
                            Dismiss filed by Bill (I) Elder, Brande Ford, Dawne Elliss, Andrew Mustapick, Cy Gill
                            and to Exceed Page Limitation by Defendants El Paso County Colorado, Bill Elder, Bill
                            (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe,
                            Elizabeth O'Neal. (Whitney, Nathan) (Entered: 03/13/2023)
  03/17/2023            171 ORDER: Granting in part and Denying in part 170 Unopposed Motion for Extension of
                            Time to File Response and Exceed Page Limitations. GRANTING Motion to Exceed
                            Page Limitations. Defendants are permitted to file their Response to 169 Plaintiffs
                            Objection to 165 Magistrate Judge's Report and Recommendation in excess of this
                            Court's page limitations, NOT TO EXCEED 25 pages in total, excluding Certificate of
                            Service. DENYING Motion for Extension of Time. Defendants Objections continue to be

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                            A.24       22/23
8/16/23, 12:56 PM                                                        CM/ECF - U.S. District Court:cod
                    Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 25
                             due 3/22/2023. SO ORDERED by Judge Christine M. Arguello on 3/17/2023. Text Only
                             Entry(cmasec) (Entered: 03/17/2023)
  03/22/2023            172 RESPONSE to Objection to 165 RECOMMENDATION OF UNITED STATES
                            MAGISTRATE JUDGE re 124 Amended Complaint,, Add and Terminate Parties, filed by
                            Darlene Griffith, 132 MOTION to Dismiss filed by Bill (I) Elder, Brande Ford, Dawne
                            Elliss, Andrew Mustapick, Cy Gill filed by Defendants Bill (I) Elder, Dawne Elliss,
                            Brande Ford, Cy Gillespie, Andrew Mustapick. (Whitney, Nathan) (Entered: 03/22/2023)
  03/27/2023            173 ORDER Affirming and Adopting Recommendation of United States Magistrate Judge by
                            Senior Judge Christine M. Arguello on 3/27/2023. 165 Report and Recommendations;
                            granting 132 Motion to Dismiss. (msmot) (Entered: 03/27/2023)
  03/27/2023            174 FINAL JUDGMENT by Clerk 3/27/2023. 173 Order on Motion to Dismiss, Order on
                            Report and Recommendations (msmot) (Entered: 03/27/2023)
  04/25/2023            175 NOTICE OF APPEAL as to 173 Order on Motion to Dismiss, Order on Report and
                            Recommendations by Plaintiff Darlene Griffith (Filing fee $ 505, Receipt Number
                            ACODC-9066381) (McNulty, Andrew) (Entered: 04/25/2023)
  04/25/2023            176 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of the
                            175 Notice of Appeal filed by Darlene Griffith to the U.S. Court of Appeals. ( Retained
                            Counsel, Fee paid,) (Attachments: # 1 Preliminary Record, # 2 Docket Sheet)(sphil, )
                            (Entered: 04/26/2023)
  04/26/2023            177 USCA Case Number 23-1135 for 175 Notice of Appeal filed by Darlene Griffith. (sphil, )
                            (Entered: 04/26/2023)
  05/10/2023            178 TRANSCRIPT ORDER FORM re 175 Notice of Appeal by Plaintiff Darlene Griffith
                            (McNulty, Andrew) (Entered: 05/10/2023)
  05/12/2023            179 LETTER TO USCA and all counsel certifying the record is complete as to 175 Notice of
                            Appeal filed by Darlene Griffith. A transcript order form was filed stating that a transcript
                            is not necessary. ( Appeal No. 23-1135) Text Only Entry. (sphil, ) (Entered: 05/12/2023)



                                                          PACER Service Center
                                                             Transaction Receipt
                                                                08/16/2023 10:56:54
                                   PACER
                                                     MJC_Appellate Client Code:
                                   Login:
                                                                         Search           1:21-cv-00387-CMA-
                                   Description:      Docket Report
                                                                         Criteria:        NRN
                                   Billable
                                                     22                  Cost:            2.20
                                   Pages:




https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?138668278929904-L_1_0-1
                                                                                                               A.25    23/23
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 1 of 57
       Appellate Case: 23-1135   Document: 20   Date Filed: 08/21/2023   Page: 26




                             EXHIBIT 2




                                                                               A.26
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 2 of 57
        Appellate Case: 23-1135       Document: 20         Date Filed: 08/21/2023      Page: 27



                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-00387-NRN-CMA

   DARLENE GRIFFITH,

          Plaintiff,

   v.

   EL PASO COUNTY, COLORADO,
   BILL ELDER, in his individual and official capacities,
   CY GILLESPIE, in his individual capacity,
   ELIZABETH O’NEAL, in her individual capacity,
   ANDREW MUSTAPICK, in his individual capacity,
   DAWNE ELLISS, in her individual capacity,
   TIFFANY NOE, in her individual capacity,
   BRANDE FORD, in her individual capacity,

          Defendants.



                        THIRD AMENDED COMPLAINT AND JURY DEMAND



          Plaintiff, by and through her attorneys, Andy McNulty and Mari Newman of KILLMER, LANE &

   NEWMAN, LLP, respectfully alleges for her Third Amended Complaint and Jury Demand as follows:

                                              INTRODUCTION

          1.      Darlene Griffith suffered repeated sexual harassment, sexual assault, and discrimination

   as a result of El Paso County’s policy of refusing to house transgender inmates based on their gender

   identity, and a pervasive culture of purposeful discrimination against, and subjugation of, transgender

   inmates who suffer from Gender Dysphoria.

          2.      Ms. Griffith is a transgender woman who has been diagnosed with Gender Dysphoria. In

   the community, she lives in accordance with her female gender identity and undergoes hormone therapy.


                                                       1
                                                                                               A.27
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 3 of 57
           Appellate Case: 23-1135      Document: 20         Date Filed: 08/21/2023       Page: 28



   Despite this well-documented history, Defendants purposefully housed Ms. Griffith in an all-male unit

   in the El Paso County Jail. Despite Ms. Griffith’s multiple requests to be moved to a unit that

   corresponds with her gender identity, El Paso County continued to discriminatorily house her in a unit

   that exposed her to a significantly increased risk of sexual harassment, assault, and emotional distress.

             3.    Defendants also subjected Ms. Griffith to a pervasive culture of discrimination and sexual

   harassment at the El Paso County Jail. Defendant Andrew Mustapick, an El Paso County Sheriff

   Deputy, sexually harassed Ms. Griffith and subjected her to a highly invasive (and completely

   unnecessary) visual body cavity search upon intake, while telling her that he wanted to go “balls deep in

   [her] ass.” Because she was housed in an all-male unit, Ms. Griffith was then subjected to repeated

   cross-gender pat-down searches. Defendants continuously and intentionally mis-gendered Ms. Griffith

   while she was incarcerated. Defendants denied Ms. Griffith clothing that conforms with her gender

   identity despite the fact that cisgendered women are allowed panties and lipstick. When El Paso County

   officials learned that Ms. Griffith had told her medical care providers that she would attempt to self-

   castrate due to the pervasive discrimination that she faced, they took no action to rectify their on-going

   discrimination and harassment of her, and continued to house her in an all-male housing unit.

             4.    Defendants took all of these actions in accordance with the official policies of El Paso

   County, or pursuant to widespread unwritten customs and practices that El Paso County has condoned.

             5.    Ms. Griffith brings this lawsuit to vindicate her rights and the rights of all transgender

   women, so that they do not have to suffer the daily indignities that she suffered in the El Paso County

   Jail.

                                        JURISDICTION AND VENUE

             6.    This action arises under the Constitution and laws of the United States.




                                                         2
                                                                                                  A.28
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 4 of 57
       Appellate Case: 23-1135           Document: 20         Date Filed: 08/21/2023       Page: 29



          7.        Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3).

   Jurisdiction supporting Plaintiff’s claims for attorney fees and costs is conferred by 42 U.S.C. § 1988.

          8.        Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All of the

   events alleged herein occurred within the State of Colorado, and all of the parties were residents of the

   State of Colorado at all times relevant to the subject matter of this Third Amended Complaint.

          9.        Supplemental pendent jurisdiction for Plaintiff’s state law claims is based on 28 U.S.C. §

   1367 because the violations of federal law alleged are substantial and the pendent state law causes of

   action derive from a common nucleus of operative facts.

                                                     PARTIES

          Plaintiff:

          10.       At all times relevant to the subject matter of this Third Amended Complaint, Plaintiff

   Darlene Griffith was a citizen of the United States and a resident of the State of Colorado.

          11.       During the relevant time period, Ms. Griffith was detained at the El Paso County Jail.

          12.       All available administrative remedies have been exhausted to the extent required by the

   Prison Litigation Reform Act, 42 U.S.C. § 1997e(a). There are no other administrative exhaustion

   requirements that would pose as a bar to the claims asserted herein.

          Defendants:

          13.       Defendant El Paso County is a municipality and as such is a proper defendant under 42

   U.S.C. § 1983.

          14.       At all times relevant to the subject matter of this litigation, Defendant Bill Elder was a

   citizen of the United States and a resident of Colorado. At all relevant times, Defendant Elder was acting

   under color of state law in his capacity as the El Paso County Sheriff. Defendant Elder was responsible

   for training and supervising all other Defendants and other employees of the El Paso County Sheriff’s




                                                          3
                                                                                                   A.29
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 5 of 57
       Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023       Page: 30



   Department working at the jail, for setting jail policy for the county and the overall management of the

   jail, and for insuring the health and welfare of all persons detained in the El Paso County Jail.

          15.     At all times relevant to the subject matter of this litigation, Defendant Cy Gillespie was a

   citizen of the United States and a resident of Colorado. At all relevant times, Defendant Gillespie was

   acting under color of state law in his capacity as a Commander employed by El Paso County and

   Defendant Elder.

          16.     At all times relevant to the subject matter of this litigation, Defendant Elizabeth O’Neal

   was a citizen of the United States and a resident of Colorado. At all relevant times, Defendant O’Neal

   was acting under color of state law in her capacity as an official employed by El Paso County and

   Defendant Elder.

          17.     At all times relevant to the subject matter of this litigation, Defendant Andrew Mustapick

   was a citizen of the United States and a resident of Colorado. At all relevant times, Defendant Mustapick

   was acting under color of state law in his capacity as a deputy employed by El Paso County and

   Defendant Elder.

          18.     At all times relevant to the subject matter of this litigation, Defendant Dawne Elliss was a

   citizen of the United States and a resident of Colorado. At all relevant times, Defendant Elliss was acting

   under color of state law in her capacity as a deputy employed by El Paso County and Defendant Elder.

          19.     At all times relevant to the subject matter of this litigation, Defendant Tiffany Noe was a

   citizen of the United States and a resident of Colorado. At all relevant times, Defendant Noe was acting

   under color of state law in her capacity as a deputy employed by El Paso County and Defendant Elder.

          20.     At all times relevant to the subject matter of this litigation, Defendant Brande Ford was a

   citizen of the United States and a resident of Colorado. At all relevant times, Defendant Ford was acting

   under color of state law in her capacity as a deputy employed by El Paso County and Defendant Elder.




                                                        4
                                                                                                 A.30
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 6 of 57
       Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023       Page: 31



                                         FACTUAL ALLEGATIONS

          Gender Identity, Gender Dysphoria, And The Incarceration Of Transgender Women Like
          Ms. Griffith

          21.     Gender identity is an innate, internal sense of one’s sex—e.g., being male or female—and

   is a basic part of every person’s core identity. Everyone has a gender identity. Most people’s gender

   identity is consistent with the sex they were assigned at birth (“assigned sex”). Transgender people,

   however, have a gender identity that is different from their assigned sex. For example, a transgender

   woman is a woman who was assigned male at birth and has a female gender identity. A cisgender

   woman is a woman who was assigned female at birth and has a female gender identity.

          22.     The American Psychiatric Association’s Diagnostic and Statistical Manual of Mental

   Disorders (5th ed. 2013) (“DSM-5”) recognizes that being transgender is not itself a disability, but that

   the clinically relevant condition is the “Gender Dysphoria” experienced by many individuals whose

   gender identity conflicts with their assigned sex. Gender Dysphoria is defined as the significant distress

   that may accompany the incongruence between a transgender person’s gender identity and assigned sex.

   This distress limits major life activities and is therefore a disability. A transgender person’s Gender

   Dysphoria can be alleviated when the person is able to live, and be treated by others, consistently with

   the person’s gender identity.

          23.     Gender Dysphoria often, but not always, emerges during childhood.

          24.     The accepted course of medical treatment to alleviate the symptoms of Gender Dysphoria

   often involves allowing the individual to live as his or her chosen gender through one or more of the

   following treatments: changes in gender expression and role; dressing, grooming, and otherwise

   outwardly presenting in a manner consistent with one’s gender identity; hormone therapy;

   psychotherapy; and, in some cases, surgery to change primary and/or secondary sex characteristics.




                                                        5
                                                                                                 A.31
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 7 of 57
       Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023       Page: 32



          25.     Ms. Griffith has been diagnosed with Gender Dysphoria and has been living as a

   transgender woman for over twenty years. As part of her medically supervised treatment, she changed

   her name and altered her physical appearance to conform to her female gender identity, including

   dressing in feminine attire and taking feminizing hormones, which caused her to develop female

   secondary sex characteristics such as breasts, soft skin, a lack of facial hair, and other characteristics

   typically associated with women.

          26.     At all times relevant to this action, Defendants were aware of Ms. Griffith’s Gender

   Dysphoria and her identity as a transgender woman.

          27.     At all times relevant to this action, Defendants were aware of Ms. Griffith’s history of

   Gender Dysphoria and her identity as a transgender woman.

          28.     At all times relevant to this action, Defendants perceived Ms. Griffith as having Gender

   Dysphoria and being a transgender woman.

          29.     Defendants were aware that Ms. Griffith has a history of self-harm, which is a symptom

   and manifestation of her diagnosed Gender Dysphoria. Defendants were also aware that Ms. Griffith had

   an increased suicide risk because of her transgender status and history of past suicide attempts. And, Ms.

   Griffith alerted Defendants to self-harming thoughts throughout her incarceration.

          30.     On March 11, 2021, Ms. Griffith told Christine Mohr, a Wellpath mental health provider,

   that she wanted to cut off her penis on a daily basis. Ms. Mohr acknowledged that Ms. Griffith has an

   extensive history of self-mutilation. Ms. Mohr spoke with an El Paso County sergeant about Ms.

   Griffith’s expressed intent to self-mutilate and her housing, but the El Paso County official decided that

   Ms. Griffith would remain housed in an all-male unit.

          31.     On July 1, 2021, Ms. Griffith told Raymond Carrington, a Wellpath mental health

   provider, that she would remove her penis herself once she could figure out how to do it and would do it




                                                         6
                                                                                                   A.32
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 8 of 57
       Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023       Page: 33



   as soon as possible. Mr. Carrington noted the conversation in Ms. Griffith’s medical records. Mr.

   Carrington also alerted an El Paso County official that Ms. Griffith had expressed ideation of self-harm,

   but the El Paso County official deliberately decided not to place Ms. Griffith on housing precautions or

   move her to housing that conforms with her gender identity.

           32.     After alerting El Paso County officials, and its medical contractors (who communicated

   those concerns to El Paso County officials), that she was contemplating engaging in self-castration

   because of the pervasive discrimination and harassment she experienced within the El Paso County Jail,

   Ms. Griffith attempted to self-castrate by wrapping a rubber band around her genitals.

           33.     Ms. Griffith’s Gender Dysphoria is a mental impairment that substantially limits one or

   more major life activities.

           34.     Ms. Griffith is substantially limited in her ability to care for herself because she requires

   regular, ongoing, and life-long medical treatment, including ongoing psychotherapy and periodic

   hormone treatment. She is also substantially limited in other major life activities, such as eating,

   sleeping, learning, concentrating, thinking, communicating, and interacting with others because of

   distress associated with her Gender Dysphoria

           35.     Ms. Griffith is substantially limited in the operation of major bodily functions, including

   neurological function, brain function, endocrine function, and reproductive function.

           36.     Ms. Griffith has a history of Gender Dysphoria, which substantially limits one or more

   major life activities, including the ability to care for herself, eating, sleeping, learning, concentrating,

   thinking, communicating, interacting with others, and reproducing, and which substantially limits

   neurological function, brain function, endocrine function, and reproductive function.

           37.     When a transgender person’s Gender Dysphoria is left untreated, or is inadequately

   treated, the consequences can be dire. Symptoms of untreated Gender Dysphoria often include intense




                                                          7
                                                                                                    A.33
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 9 of 57
       Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023      Page: 34



   emotional suffering, anxiety and depression, suicidality, and thoughts or acts of self-harm. All of those

   symptoms can be mitigated, and often prevented altogether, for transgender people with access to

   appropriate individualized medical care as part of their gender transitions.

          38.     Ms. Griffith has engaged in multiple acts of self-harm since childhood during times when

   her Gender Dysphoria has not been accommodated and treated. Ms. Griffith engages in self-harm,

   specifically self-castration behavior, regularly. This activity is worsened when she is not receiving

   treatment for Gender Dysphoria, which includes not being allowed to live, and dress, consistent with her

   gender identity and being subjected to sexual harassment in the form of mis-gendering.

          39.     The prison environment can be particularly harmful to transgender women. Reports

   (including the 2009 report by the National Prison Rape Elimination Commission) consistently document

   that transgender women are victims of sexual abuse at much higher rates than the rest of the population

   while in custodial environments including lock-ups, jails and prisons, as well as while being searched by

   male prison guards. In its June 2015 report of data collection activities, the Bureau of Justice Statistics

   (“BJS”) disclosed that an estimated 35% of transgender people held in prisons such as those in Colorado

   reported experiencing one or more incidents of sexual victimization in the past 12 months or since

   admission. According to the BJS report, when asked about the experiences surrounding their

   victimization by other incarcerated people, 72% of the transgender respondees said they experienced

   force or threat of force and 29% said they were physically injured.

          The Relevant Standards For Incarcerating Transgender People

          40.     The World Professional Association for Transgender Health (“WPATH”) is an

   “international, multidisciplinary, professional association whose mission is to promote evidence-based

   care, education, research, advocacy, public policy, and respect for transgender health. The vision of

   WPATH is to bring together diverse professionals dedicated to developing best practices and supportive




                                                         8
                                                                                                  A.34
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 10 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023       Page: 35



    policies worldwide that promote health, research, education, respect, dignity, and equality for

    transsexual, transgender, and gender nonconforming people in all cultural settings.”1 All Defendants

    entrusted with the care and safety of the transgender women in the El Paso County Jail are aware that

    WPATH standards of care are applicable to Ms. Griffith and other transgender women in the El Paso

    County Jail. The WPATH Standards of Care are widely recognized as the authoritative standard for the

    treatment of transgender individuals and the National Commission on Correctional Healthcare

    recommends the WPATH standards for use in all correctional facilities.

           41.     The WPATH standards of care apply in their entirety to transgender people in prisons and

    require individual assessment for appropriate treatment in a fair and tolerant climate, which may consist

    of outward expression of one’s internal sense of gender identity, and social role transition, including

    access to gender-affirming canteen items, like feminine grooming products and clothing.

           42.     The WPATH standards dictate that placement of transgender people in a single-sex

    housing unit, ward, or pod on the sole basis of the appearance of the external genitalia places

    transgender people at risk for victimization. Despite these known risks, El Paso County and its officials

    promulgating and carrying out official policy, including Defendants Elder and Gillespie, make facility

    assignments to people in custody solely on the basis of the individual’s genitalia.

           43.     The WPATH standards state that housing and shower/bathroom facilities for transsexual,

    transgender, and gender nonconforming people living in institutions should take into account their

    gender identity and role, physical status, dignity, and personal safety. Placement in a single-sex housing

    unit, ward, or pod on the sole basis of the appearance of the external genitalia may not be appropriate

    and may place the individual at risk for victimization. Institutions where transsexual, transgender, and



    1
     WPATH Standards of Care for the Health of Transsexual, Transgender, and Gender Nonconforming
    People, p. 1 (available at
    https://www.wpath.org/media/cms/Documents/SOC%20v7/SOC%20V7_English.pdf.)

                                                         9
                                                                                                 A.35
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 11 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023       Page: 36



    gender nonconforming people reside and receive health care should monitor for a tolerant and positive

    climate to ensure that residents are not under attack by staff or other residents.

           44.     WPATH also provides that housing and shower/bathroom facilities for transgender

    people living in institutions should take into account their gender identity and role, physical status,

    dignity, and personal safety. Defendants have failed to follow these requirements for Ms. Griffith and

    other transgender women in El Paso County’s care, resulting in the continued violation of their rights

    and exposure to obvious danger from other inmates and self-mutilation.

           45.     In 2003, Congress passed the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601 et

    seq. (“PREA”). PREA establishes a zero-tolerance standard against sexual abuse in adult prisons and

    other confinement centers. PREA requires agencies to comply with national standards to eliminate

    sexual abuse, recognizes that transgender people face elevated risks of being victimized in prisons,

    mandates that state correctional facilities provide proper training to correctional staff, and requires

    subject agencies to establish methods to deter and detect sexual violence in prison, to identify and treat

    such victims, and to report incidents of such violence to the Bureau of Justice Statistics.

           46.     The Commission established to monitor compliance with PREA noted in 2009 that

    gender nonconformity places transgender people at extremely high risk for abuse, and, as a result, the

    Commission opined that, “In determining whether to house transgender individuals in men’s or

    women’s facilities, the Commission requires individualized determinations based on other factors in

    addition to the person’s current genital status” (NPREC, 2009, p. 89). Defendants are and have been

    aware of the standards required by PREA.

           El Paso County And Its Officials Have An Official Policy Of Housing Transgender
           Women, Like Ms. Griffith, In All-Male Units At The El Paso County Jail

           47.     When Ms. Griffith first entered El Paso County Jail on July 20, 2020, she was an openly

    transgender woman with a feminine appearance.



                                                         10
                                                                                                   A.36
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 12 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023     Page: 37



           48.     During her intake screening, she notified El Paso County Jail and its healthcare personnel

    that she was a transgender woman with a diagnosis of Gender Dysphoria. Ms. Griffith explicitly

    requested placement in a women’s facility because she feared being sexually abused and assaulted in

    male facilities by both guards and inmates, along with fearing the humiliation of being constantly

    searched by male guards in a male unit and the general degradation of being considered a man when she

    is a transgender woman.

           49.     Ms. Griffith’s medical records note that she has been diagnosed with Gender Dysphoria.

           50.     Ms. Griffith also alerted Defendants that she is legally blind.

           51.     El Paso County, as a matter of official policy, refuses to house transgender women in

    female housing facilities. El Paso County continued to house Ms. Griffith, and continues to house other

    transgender women in its custody, in male units within the El Paso County Jail.

           52.     El Paso County officials ignored Ms. Griffith’s health and safety requests, despite

    knowing the risks she faced, and subjected her to a terrible sequence of constitutional violations

    throughout the entirety of her incarceration.

           53.     El Paso County officials disregarded Ms. Griffith’s safety concerns and housed her in

    men’s units within the El Paso County Jail where she foreseeably became a victim of multiple instances

    of sexual assault, harassment, and degrading and transphobic behavior at the hands of male deputies.

           54.     On intake, Defendant Noe classified Ms. Griffith and purposefully placed her into an all-

    male unit despite knowing that Ms. Griffith is a transgender woman and that Ms. Griffith wished to be

    placed into housing that corresponded with her gender identity. Defendant Noe did this in accordance

    with the customs, policies, and practices of El Paso County and Defendant Elder.

           55.     On July 29, 2020, Defendant Brande Ford did an ADA initial interview of Ms. Griffith. It

    was clear to Defendant Ford that Ms. Griffith is a transgender woman and that Ms. Griffith wished to be




                                                        11
                                                                                                 A.37
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 13 of 57
        Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023      Page: 38



    placed into housing that corresponded with her gender identity. Despite this, Defendant Forde did not re-

    classify Ms. Griffith and place her into a unit that corresponded with her gender identity. In fact, despite

    Gender Dysphoria being a disability under the Americans with Disabilities Act, Defendant Forde wrote

    in Ms. Griffith’s records that there were no disability concerns related to Ms. Griffith’s housing.

           56.     After her initial classification into an all-male unit, Ms. Griffith continuously requested

    that she be placed in a unit that conformed with her gender identity.

           57.     On October 29, 2020, Ms. Griffith filed an inmate grievance, which she believed would

    be transmitted to Defendant Gillespie, requesting that she be housed in a female ward because she is a

    transgender woman. Ms. Griffith further informed Defendant Gillespie that she had previously been

    housed in the Denver Women’s Prison Facility and that all of her documentation outside of El Paso

    County’s system correctly notes that she is a transgender woman. In response to Ms. Griffith’s

    grievance, Defendant O’Neal stated that El Paso County had reviewed Ms. Griffith’s request and denied

    her the accommodation of housing her in a facility that corresponded with her gender identity. It was

    clear that this decision was made in accordance with the policies and procedures put into place by

    Defendants Elder and Gillespie.

           58.     On December 9, 2020, Ms. Griffith filed another inmate grievance requesting that she be

    placed in a female unit. That grievance also complained that deputies at the El Paso County Jail were

    continuously referring to her with male pronouns. Ms. Griffith again pointed out that all of her

    documentation outside of the El Paso County system reflects her correct gender identity and that she had

    previously been housed in female units in other correctional facilities. On January 4, 2021, El Paso

    County responded to Ms. Griffith’s grievance by stating that she would continue to be housed in a male

    unit based on El Paso County’s policies and procedures.




                                                         12
                                                                                                  A.38
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 14 of 57
        Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023     Page: 39



           59.     On January 15, 2021, Ms. Griffith again requested appropriate housing in a female ward.

    Ms. Griffith grieved numerous staff regarding the issue and alerted El Paso County officials and its

    medical provider that she had previously been housed in two DOC facilities in female wards.

           60.     On January 22, 2021, Ms. Griffith told jail mental health provider Raymond Carrington

    that she was suffering from extreme anxiety because she feared repercussion for grieving her treatment

    in custody: namely, that she was continuing to be housed in a male ward and treated as male, even

    though she is a transgender woman. Ms. Griffith also reported to the jail medical official that she felt as

    though people in the El Paso County Jail do not accept her for the person that she is and that she was

    being ostracized in the male ward for being a transgender woman. Ms. Griffith expressed to the jail

    medical official the difficulty on her mental health of being housed in a male ward and expressed her

    desire to be housed with women because she is a transgender woman.

           61.     On January 22, 2021, Ms. Griffith also wrote a grievance that again asked that she be

    moved to a women’s unit. Ms. Griffith wrote that every day she was suffering mentally and physically

    due to the trauma of being housed in an all-male unit with male guards. On January 23, 2021, Ms.

    Griffith wrote another grievance asking to be moved to a women’s unit within the El Paso County Jail,

    stating that she was suffering on a daily basis due to El Paso County’s failure to move her to a unit that

    corresponds with her gender identity. On January 23, 2021, Ms. Griffith wrote another kite complaining

    about the lack of accommodations for her Gender Dysphoria, including housing in a men’s ward.

           62.     On February 26, 2021, Ms. Griffith asked the mental health provider why she continued

    to be housed in a men’s ward and that this was creating anxiety and depression for her. Ms. Griffith also

    stated that she continued to be called “sir” by deputies.

           63.     On March 9, 2021, Ms. Griffith wrote a grievance requesting that Christine Mohr provide

    information about Ms. Griffith’s diagnosed Gender Dysphoria to El Paso County Jail officials so that




                                                         13
                                                                                                  A.39
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 15 of 57
        Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023     Page: 40



    they would move Ms. Griffith to housing that corresponded with her gender identity which, upon

    information and belief, was communicated to El Paso County.

           64.     On March 10, 2021, Ms. Griffith again wrote a kite complaining about being housed in a

    male ward and being considered a male within the Jail.

           65.     On March 11, 2021, Ms. Griffith told Christine Mohr that she wanted to be housed with

    women and that she had previously been housed with women in CDOC, which Ms. Mohr confirmed by

    reviewing Ms. Griffith’s previous incarceration records. Ms. Mohr acknowledged consulting with an El

    Paso County official about Ms. Griffith’s housing and property requests.

           66.     On March 19, 20201, Christine Mohr noted that Ms. Griffith expressed frustration to her

    because Ms. Griffith continued to want to be housed in a female unit but had not been moved. Ms. Mohr

    acknowledged talking to the multiple El Paso County officials about Ms. Griffith’s concerns. On March

    27, 2021, Ms. Mohr told Ms. Griffith that El Paso County had determined that she would not be moved

    to a female ward.

           67.     El Paso County continues to house transgender women in facilities that do not correspond

    with their gender identity. El Paso County is routinely discriminating against these women, including

    Ms. Griffith, based on their sex, transgender status and/or disability and exposing them to harassment,

    rape, sexual assault, and other anti-transgender violence, or a heightened risk thereof by refusing to

    provide them safe housing.

           68.     The decision to house Ms. Griffith in housing that does not conform with her gender

    identity has exacerbated symptoms of her Gender Dysphoria leading her to suffer significant emotional

    distress and have increased ideation of self-harm.




                                                         14
                                                                                                 A.40
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 16 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023      Page: 41



           69.     As a result of El Paso County’s, and its officials’, decision to house Ms. Griffith in a

    housing unit that did not conform with her gender identity, Ms. Griffith engaged in self-harm by

    wrapping a rubber band around her genitalia extremely tightly with the purpose of self-castration.

           70.     El Paso County’s decision to house Ms. Griffith in housing that does not conform with

    her gender identity was a discriminatory action and a failure to reasonably accommodate Ms. Griffith’s

    diagnosed Gender Dysphoria.

           Defendant Andrew Mustapick Sexually Harassed And Assaulted Ms. Griffith During An
           Unconstitutional Cross-Gender Visual Body-Cavity Search Pursuant To El Paso County’s
           Official Policy That Male Guards Conduct Unsupervised Visual Body-Cavity Searches Of
           Transgender Women Inmates

           71.     It is El Paso County’s official policy that transgender women (including those with

    Gender Dysphoria) are searched, including strip searched, by male staff and not by female staff. No

    female guards are required to be present during searches (including visual body-cavity searches).

    Transgender women in El Paso County custody have routinely been subjected to searches, including

    visual body-cavity searches, by male staff.

           72.     Ms. Griffith was subjected to a visual body-cavity search by a male deputy upon arrival

    at the El Paso County Jail in accordance with this policy.

           73.     When Ms. Griffith was booked into the jail, she was taken to a separate room. Before Ms.

    Griffith began stripping off her clothes, both a male and female deputy arrived.

           74.     When Ms. Griffith saw that both a male and female deputy would be conducting her

    visual body-cavity search, Ms. Griffith protested and asked that the male deputy leave. Ms. Griffith told

    both deputies that, because she is transgender, she did not want a male deputy to be present. Defendant

    Dawn Elliss told Ms. Griffith that, per her sergeant’s orders, the male deputy would stay throughout the

    entire visual body-cavity search process. Defendant Elliss told Ms. Griffith that because she was “still a

    male” in El Paso County’s “system” that a male deputy would be conducting her search pursuant to El



                                                        15
                                                                                                  A.41
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 17 of 57
            Appellate Case: 23-1135      Document: 20         Date Filed: 08/21/2023      Page: 42



    Paso County policy and procedure. Ms. Griffith again asked that Defendant Elliss conduct the search

    because Ms. Griffith is a transgender woman. Defendant Elliss refused and cited El Paso County’s

    policy.

              75.   Defendant Elliss then told Ms. Griffith to take off her shirt, which she did. Ms. Griffith

    was compliant throughout the whole visual body-cavity search process.

              76.   After examining Ms. Griffith’s breasts, with Defendant Andrew Mustapick present,

    Defendant Elliss gave Ms. Griffith a sports bra and then left the room. As Defendant Elliss left the room,

    she intentionally and discriminatorily mis-gendered Ms. Griffith, telling Defendant Mustapick, “he is all

    yours now to strip out.” Defendant Elliss left Ms. Griffith alone with Defendant Mustapick and did

    nothing to ensure that Defendant Mustapick did not sexually harass Ms. Griffith and subject her to an

    unconstitutional visual body-cavity search.

              77.   After Defendant Elliss left the room, Defendant Mustapick ordered Ms. Griffith to take

    off her socks, pants, and panties, and then place her hands on the wall. Defendant Mustapick then told

    Ms. Griffith to step back, bend over, and “spread [her] sexy cheeks.” Ms. Griffith protested Defendant

    Mustapick’s use of this derogatory and harassing language, but complied with his directive.

              78.   Defendant Mustapick then told Ms. Griffith that he was “going to go balls deep in that

    ass” while grabbing his own penis in view of Ms. Griffith. Defendant Mustapick was extremely

    aggressive while searching Ms. Griffith’s genitals and making these comments.

              79.   After Defendant Mustapick was finished sexually harassing Ms. Griffith, he warned her

    that she had better not tell anyone about what he did and said to her. He threatened Ms. Griffith that if

    she did tell someone, he would make sure that she was brutalized by the guards at the El Paso County

    Jail.




                                                         16
                                                                                                  A.42
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 18 of 57
        Appellate Case: 23-1135          Document: 20        Date Filed: 08/21/2023      Page: 43



            80.    There was no legitimate penological purpose for allowing a male guard to conduct a

    visual body-cavity search of Ms. Griffith. And, there was certainly no penological purpose for any of the

    actions taken by Defendants Mustapick and Elliss.

            81.    El Paso County officials’ threatening, intimidating and harassing visual body-cavity

    search of Ms. Griffith, which per policy was conducted by an unaccompanied male deputy, was a

    discriminatory action and a failure to reasonably accommodate Ms. Griffith’s diagnosed Gender

    Dysphoria.

            82.    El Paso County officials’ threatening, intimidating and harassing visual body-cavity

    search of Ms. Griffith, which per policy was conducted by an unaccompanied male deputy, has

    exacerbated symptoms of her Gender Dysphoria leading her to suffer significant emotional distress and

    have increased ideation of self-harm.

            83.    As a result of El Paso County’s, and its officials’, decision to sexually harass Ms.

    Griffith, Ms. Griffith engaged in self-harm by wrapping a rubber band around her genitalia extremely

    tightly with the purpose of self-castration.

            Ms. Griffith Was Sexually Assaulted By A Male Inmate After Putting Defendants On
            Notice That She Was Not Safe In An All-Male Unit

            84.    After pleading to be moved to a female unit for over a year, and Defendants’ refusal to

    heed her repeated pleas, Ms. Griffith was sexually assaulted by another male inmate on November 18,

    2021.

            85.    The inmate approached Ms. Griffith while she was laying in her bunk in the all-male unit

    she continued to be assigned to by El Paso County officials, and groped her right breast. Then, the

    inmate jeered Ms. Griffith, “you know you want this dick.”

            86.    After being sexually assaulted, Ms. Griffith was so distressed that she asked to see a

    mental health provider.



                                                        17
                                                                                                 A.43
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 19 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023       Page: 44



           87.     This was not the first time that Ms. Griffith was assaulted by the other inmate. A witness

    to the assault told El Paso County officials that he witnessed at least three to four other similar assaults

    of Ms. Griffith.

           88.     Even after being assaulted by another male inmate, Defendants did not move Ms. Griffith

    to a unit within the El Paso County Jail that corresponded with her Gender Identity.

           Defendants Subjected Ms. Griffith To Continuous Cross-Gender Pat-Down Searches By
           Male Deputies, Which Caused Her Significant Distress, And Were Done Pursuant To El
           Paso County’s Policies, Customs, And Practices

           89.     Throughout her incarceration at the El Paso County Jail, Defendants subjected Ms.

    Griffith to continuous cross-gender pat-down searches by male deputies pursuant to official El Paso

    County policy. Ms. Griffith complained about these cross-gender searches, and the harmful effects they

    were having on her physical and mental health, but El Paso County did nothing to cease subjecting Ms.

    Griffith to cross-gender searches.

           90.     On January 20, 2021, Ms. Griffith wrote a grievance where she stated that her anxiety

    was “through the roof” every time she is patted down by male deputies. Additionally, Ms. Griffith

    complained about male deputies continually touching her breast and groin when patting her down. Ms.

    Griffith pointed out that female inmates are not patted down by male deputies, and that she was being

    singled out as a transgender woman for different treatment. On January 21, 2021, Ms. Griffith

    complained to a jail medical provider about the effect of male pat downs on her mental health, and the

    disparate treatment given to her by male pat downs.

           91.     On January 22, 2021, Ms. Griffith was especially upset that male officers continued to

    pat search her and, particularly, she was upset about a pat-down search performed by a male deputy that

    had just occurred when she returned from the law library. Ms. Griffith wrote a grievance because

    Defendants continued to subject her to cross-gender pat down searches, including the one in which the




                                                         18
                                                                                                   A.44
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 20 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023       Page: 45



    deputy intentionally touched her breast. Ms. Griffith wrote that every day she was suffering mentally

    and physically due to the trauma of being patted down by male guards. Ms. Griffith wrote this

    grievance, which was viewed by El Paso County officials. Later that day, Ms. Griffith told a jail medical

    provider that she felt violated when male officers touch her.

           92.     On January 23, 2021, Ms. Griffith wrote a kite complaining about the lack of

    accommodations for her Gender Dysphoria, including being constantly patted down by male deputies.

           93.     On February 3, 2021, Ms. Griffith wrote yet another grievance because she was being

    subjected to non-routine cross-gender pat down searches on a daily basis, and that these pat-down

    searches were causing her physical and emotional pain.

           94.     El Paso County officials’ continuous searches of Ms. Griffith, which per policy, custom,

    and practice were conducted by unaccompanied male deputies, were discriminatory and harassing

    actions and a failure to reasonably accommodate Ms. Griffith’s diagnosed Gender Dysphoria.

           95.     Defendants’ decision to subject Ms. Griffith to continuous searches by unaccompanied

    male deputies has exacerbated symptoms of her Gender Dysphoria leading her to suffer significant

    emotional distress and have increased ideation of self-harm.

           96.     As a result of El Paso County’s, and its officials’, decision to subject Ms. Griffith to

    continuous cross-gender pat-down searches, Ms. Griffith engaged in self-harm by wrapping a rubber

    band around her genitalia extremely tightly with the purpose of self-castration.

           El Paso County Customarily Mis-Genders Ms. Griffith and other Transgender Individuals
           In Its Custody

           97.     WPATH guidelines dictate that, as part of treatment for Ms. Griffith’s diagnosed Gender

    Dysphoria, she should have been treated as the woman that she is. That includes providing Ms. Griffith

    gender-affirming clothing, addressing her by her proper pronouns and name, and housing her in a unit




                                                        19
                                                                                                  A.45
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 21 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023      Page: 46



    that corresponds with her gender identity. El Paso County, and its officials, failed to provide Ms. Griffith

    with care in accordance with these widely recognized standards.

            98.     El Paso County refuses to recognize transgender women in its custody as the women that

    they are. Instead, El Paso County officials routinely refer to these women, including Ms. Griffith, using

    the male names they were assigned at birth. Documentation maintained by El Paso County, whether in

    case management, mental health or medical files, routinely refer to these women as “men” or using male

    pronouns, despite El Paso County’s own documentation showing that these individuals belong to the

    community of transgender women.

            99.     Throughout her incarceration at the El Paso County Jail, sergeants and deputies mis-

    gendered Ms. Griffith and used language that does not conform with her gender identity.

            100.    On September 16, 2020, Ms. Griffith complained to Deputy Daniel Holder about other

    inmates in her unit not wearing shirts because the male inmate’s failure to wear their shirts made her

    uncomfortable as a transgender woman. In response, Deputy Holder walked over to the other inmates

    and loudly yelled at them, “the blind faggot said you need to put your shirts on” in reference to Ms.

    Griffith. Beyond mis-gendering Ms. Griffith (and highlighting her vision disability), this statement was

    designed to create an antagonistic relationship between her and other inmates, placing her at an even

    greater risk of assault. Based on our information, Deputy Holder was not disciplined for this gross abuse

    of his authority.

            101.    On November 10, 2020, Ms. Griffith wrote in a grievance that an El Paso County deputy

    had consistently mis-gendered her. When Ms. Griffith attempted to correct the deputy, the deputy

    confronted Ms. Griffith. El Paso County did not discipline the deputy for these actions. On December 9,

    2020, Ms. Griffith wrote in a grievance that El Paso County deputies continuously mis-gendered her,

    which was causing her significant emotional distress.




                                                        20
                                                                                                 A.46
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 22 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023     Page: 47



            102.   On February 3, 2021, Ms. Griffith wrote in a grievance that she was being subjected to

    verbal harassment by male deputies in the El Paso County Jail on a daily basis, and that this harassment

    was causing her pain. On February 26, 2021, Ms. Griffith stated to a jail medical provider that she

    continued to be called “sir” by deputies and that this caused her anxiety.

            103.   On June 23, 2021, Ms. Griffith wrote a grievance because she was, again, mis-gendered

    by an El Paso County Jail official, and felt as though El Paso County Jail officials were purposefully

    mis-gendering her to discriminate against her.

            104.   On July 1, 2021, Ms. Griffith told Raymond Carrington that when she identifies herself

    as female, the jail (including the guards) do not respect her wishes or use the appropriate pronouns. Ms.

    Griffith also told Defendant Carrington that she would remove her penis herself once she could figure

    out how to do it, and would do it as soon as possible. Ms. Griffith told Mr. Carrington that the WPATH

    standards of care should be followed. Mr. Carrington informed El Paso County officials about Ms.

    Griffith’s statements about self-harming, and El Paso County officials took no action to rectify the

    consistent mis-gendering that Ms. Griffith endured and did not take any action to ensure that Ms.

    Griffith was moved to an appropriate housing unit so as to prevent her from engaging in self-harming

    activity.

            105.   Mis-gendering is a form of sexual harassment.

            106.   This constant mis-gendering of Ms. Griffith has been caused by El Paso County’s and

    Defendant Elder’s policy of housing Ms. Griffith in a male unit, along with the customs and practices at

    the El Paso County Jail that condone discriminatory and harassing treatment of transgender prisoners.

            107.    El Paso County officials’ actions in constantly mis-gendering Ms. Griffith was a

    discriminatory action and a failure to reasonably accommodate Ms. Griffith’s diagnosed Gender

    Dysphoria.




                                                        21
                                                                                                A.47
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 23 of 57
        Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023     Page: 48



           108.    The constant mis-gendering of Ms. Griffith has exacerbated symptoms of her Gender

    Dysphoria leading her to suffer significant emotional distress, become depressed, and have increased

    ideation of self-harm.

           109.    As a result of El Paso County’s, and its officials’, decision to constantly mis-gender and

    sexually harass Ms. Griffith, Ms. Griffith engaged in self-harm by wrapping a rubber band around her

    genitalia extremely tightly with the purpose of self-castration.

           El Paso County Customarily Denies Ms. Griffith And Other Transgender Inmates The
           Ability To Dress In Accordance With Their Gender Identity

           110.    On September 7, 2020, Ms. Griffith wrote a grievance requesting the ability to dress in

    accordance with her gender identity. Specifically, Ms. Griffith requested that she be provided with a

    sports bra and women’s underwear. Previously, Ms. Griffith had orally requested to be provided with a

    sports bra and women’s underwear. Ms. Griffith had been denied a sports bra since being incarcerated

    two months earlier. Defendants denied Ms. Griffith a reasonable accommodation for her Gender

    Dysphoria and forced to leave her breasts without a bra, to be ogled by male inmates and deputies for

    over a month. This caused Ms. Griffith significant emotional distress and physical discomfort.

           111.    In response to her formal grievance, Ms. Griffith was provided with a sports bra.

    Lieutenant Eric Carnell came to Ms. Griffith’s cell with a sports bra. Lieutenant Carnell told Ms.

    Griffith that she would only receive one sports bra, and not panties, because she did not need to “hold

    female products down there.” When Ms. Griffith protested, and again asked for an accommodation for

    her Gender Dysphoria in the form of being provided the ability to purchase panties, Lieutenant Carnell

    again denied her request. Ms. Griffith did not receive the sports bra until the middle of October.

           112.    On October 14, 2020, Ms. Griffith wrote another grievance requesting that she be given a

    medical permission slip to receive women’s underwear. In response, Ms. Griffith was told that she

    would not receive a medical permission slip to purchase women’s underwear.



                                                         22
                                                                                                 A.48
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 24 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023      Page: 49



           113.    Eventually, El Paso County officials responded to Ms. Griffith’s grievance from

    September 7, 2020. On October 24, 2020, Lieutenant Carnell, wrote an official response to Ms.

    Griffith’s grievance and told her that she had been provided a sports bra, but that she would not be

    issued, or allowed to purchase, panties.

           114.    Ms. Griffith subsequently elevated her concerns to Commander Cy Gillespie and

    requested that she be provided panties. In response, Defendant Gillespie told Ms. Griffith that she would

    never get panties in the El Paso County Jail.

           115.    On January 15, 2021, Ms. Griffith requested panties rather than boxers because she is a

    transgender woman. This request was again denied.

           116.    On March 11, 2021, Ms. Griffith told a jail medical provider that she would like to be

    provided women’s underwear. On March 19, 2021, the provider noted that Ms. Griffith expressed

    frustration on wanting panties. The provider acknowledged talking to the El Paso County officials about

    Ms. Griffith’s concerns. In a follow-up conversation on March 27, 2021, the medical provider told Ms.

    Griffith that El Paso County officials told her that Ms. Griffith would not be issued panties because Ms.

    Griffith does not require the use of feminine napkins. Illustrating the obviously pretextual nature of this

    articulated justification for their discriminatory conduct, Defendants do not require post-menopausal and

    other non-menstruating women in their custody to wear men’s underwear.

           117.    Defendants have also denied Ms. Griffith the ability to purchase lipstick because she is a

    transgender woman. Cisgender women are allowed to purchase lipstick at the commissary. Defendant

    Gillespie specifically told Ms. Griffith that she cannot purchase lipstick per El Paso County Jail policy.

           118.    Defendants’ denial of gender appropriate undergarments and lipstick to Ms. Griffith was

    caused by El Paso County’s and Defendant Elder’s policy of housing Ms. Griffith in a male unit, along




                                                        23
                                                                                                  A.49
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 25 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023       Page: 50



    with the customs and practices at the El Paso County Jail that condone discriminatory treatment of

    transgender prisoners.

            119.    El Paso County officials’ actions in denying Ms. Griffith access to female undergarments

    and lipstick was a discriminatory action and a failure to reasonably accommodate Ms. Griffith’s

    diagnosed Gender Dysphoria.

            120.    El Paso County officials’ customary decisions to deny Ms. Griffith the right to dress in

    accordance with her gender identity was a discriminatory action and a failure to reasonably

    accommodate Ms. Griffith’s diagnosed Gender Dysphoria.

            121.    El Paso County officials’ customary decisions to deny Ms. Griffith the right to dress in

    accordance with her gender identity has exacerbated symptoms of her Gender Dysphoria leading her to

    suffer significant emotional distress and have increased ideation of self-harm.

            122.    As a result of El Paso County’s, and its officials’, decision to not allow Ms. Griffith to

    dress in accordance with her gender identity, Ms. Griffith engaged in self-harm by wrapping a rubber

    band around her genitalia extremely tightly with the purpose of self-castration.

                                             CLAIMS FOR RELIEF

                                         FIRST CLAIM FOR RELIEF
                         42 U.S.C. § 1983 – Fourteenth Amendment – Equal Protection
                                                Discrimination
                                             Against All Defendants

            123.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            124.    Defendants were acting under color of state law at all times relevant to this action.

            125.    Under the Equal Protection Clause of the Fourteenth Amendment, discrimination against

    transgender people is a form of sex discrimination that is presumptively unconstitutional and subject to

    heightened scrutiny.



                                                         24
                                                                                                   A.50
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 26 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 51



           126.      Discrimination based on sex includes, but is not limited to, discrimination based on

    gender, gender nonconformity, transgender status, gender expression, and gender transition.

           127.      Discrimination based on transgender status is also presumptively unconstitutional under

    the Equal Protection Clause and subject to heightened scrutiny.

           128.      Transgender people have suffered a long history of extreme discrimination across the

    country, in prisons and outside of prisons, and continue to suffer such discrimination to this day.

           129.      Many, if not most, transgender and cisgender women who are incarcerated, including

    Plaintiff, have discernable feminine characteristics and secondary female-typical sex characteristics that

    place them at heightened risk of sexual victimization by male deputies without adequate safeguards and

    subject to the humiliation of searches by male deputies if placed in men’s prisons.

           130.      Both transgender and cisgender women face substantially similar risks of sexual

    victimization by male deputies without adequate safeguards and the humiliation through searches by

    male deputies.

           131.      Defendants’ actions and inactions in placing and keeping Plaintiff in the men’s unit at the

    El Paso County Jail and requiring that male deputies search transgender women without any supervision

    discriminated against her on the basis of sex.

           132.      Defendants’ actions and inactions in placing and keeping Plaintiff in the men’s unit at the

    El Paso County Jail also discriminated against her based on sex stereotyping, namely, treating her as

    though she were a cisgender man based on the conclusion that her gender identity and expression should

    align with her sex assigned at birth, and housing her in accordance with that erroneous conclusion. This

    sex stereotyping is based solely on Plaintiff’s sex assigned at birth, disregarding her gender identity even

    though she is a woman and has had medical treatment to bring her body into alignment with her female

    gender identity.




                                                         25
                                                                                                  A.51
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 27 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 52



            133.    Defendants, acting under color of state law, intentionally discriminated against Plaintiff

    by placing her, and continuing to house her, exclusively in men’s wards without adequate safeguards,

    even though she faces similar risks as all other women in such custody.

            134.    Defendants’ actions as described herein were taken without an important or legitimate

    governmental interest or rational reason, and they had no penological basis to deny Plaintiff a safe and

    appropriate placement in a female facility, based on her sex, gender identity, characteristics, risk factors,

    and her history of sexual victimization in male facilities.

            135.    Plaintiff was placed in the male unit and searched by male deputies at the El Paso County

    Jail in accordance with the customs, policies, and practices of the El Paso County Jail, which are set by

    Defendant El Paso County and Elder. Defendants El Paso County and Elder discriminated against

    Plaintiff and other transgender women by adopting and applying these customs policies, and practices

    that deny transgender women safe and appropriate housing placements based on their sex, transgender

    identity, and impermissible sex stereotypes without a compelling, important, or legitimate governmental

    interest.

            136.    Defendants’ actions and inactions were taken in reckless and callous indifference to the

    federally protected rights of Plaintiff.

            137.    Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s

    damages in that she suffered physical intrusion into bodily privacy and integrity, humiliation, and mental

    and emotional pain and anguish, physical manifestations of emotional distress, physical injury, and

    continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her life.

            138.    As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.




                                                         26
                                                                                                   A.52
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 28 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023     Page: 53



                                        SECOND CLAIM FOR RELIEF
                                    42 U.S.C. § 1983 – Fourteenth Amendment
                                           Conditions Of Confinement
                                               Against All Defendants

            139.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            140.    Defendants were acting under color of state law at all times relevant to this action.

            141.    Plaintiff was a pre-trial detainee.

            142.    As a pre-trial detainee, Plainitff was protected from unconstitutional conditions of

    confinement by the Fourteenth Amendment.

            143.    Under the Fourteenth Amendment, Plaintifff was also protected from conduct that is not

    rationally related to a legitimate nonpunitive governmental purpose or actions that appear objectively

    excessive in relation to that purpose under Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015).

            144.    Each Defendant knew or should have known of these clearly established rights at the time

    of Plainitff’s incarceration.

            145.    Defendants El Paso County’s policy of assigning all detained transgender individuals to

    housing units based on their genitalia as the default or sole criterion, without any individualized

    assessment of the individual’s safety or gender identity, posed an excessive risk to Ms. Griffith’s health

    and safety.

            146.    Defendants knew that Plainitff was a transgender woman and that housing her in an all-

    male unit subjected her to a risk of sexual harrassment, sexual assault, and extreme emotional distress

    from being treated as a man given her Gender Dysphoria. They knew that this posed a substantial risk of

    serious harm to Plaintiff.




                                                          27
                                                                                                  A.53
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 29 of 57
            Appellate Case: 23-1135      Document: 20          Date Filed: 08/21/2023     Page: 54



              147.   Despite this knowledge and Plainitff’s repeated requests for a transfer, Defendants

    refused to house Plaintiff in a unit that conformed with her gender identity in deliberate indifference to a

    serious risk of harm to her.

              148.   Defendants’ failure to recognize Plaintiff as the transgender woman that she is subjected

    her to unconstitutional conditions of confinement.

              149.   Defendants’ sexual harrassment of Plaintiff subjected her to unconstitutional conditions

    of confinement.

              150.   Defendants subjected Plaintiff to unconstitutional conditions of confinement by

    subjecting her to continuous mis-gendering and cross-gender pat-down searches

              151.   Defendants failed to protect Plaintiff from sexual assault at the hands of other inmates.

              152.   All of the deliberately indifferent acts of each individual Defendant were conducted

    within the scope of their official duties and employment.

              153.   Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

              154.   Defendants’ acts or omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical pain and suffering, humiliation, and mental and emotional pain and anguish,

    and continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her

    life.

              155.   As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                        THIRD CLAIM FOR RELIEF
                                     42 U.S.C. § 1983 – Fourth Amendment
                                              Unreasonable Search
                          Against Defendants El Paso County, Elder, Mustapick, and Elliss



                                                          28
                                                                                                   A.54
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 30 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 55




            156.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            157.    Defendants were acting under color of state law at all times relevant to this action.

            158.    Plaintiff has a legitimate expectation of privacy in her body being free from unreasonable

    governmental search.

            159.    Defendants’ actions were objectively unreasonable in light of the circumstances

    confronting them. Namely, there was no basis for Defendant Mustapick to perform a visual body-cavity

    search of Plaintiff. Defendant Mustapick’s sexually charged and offensive comments while strip

    searching Plaintiff and sexual harassment of her were objectively unreasonable.

            160.    Defendants El Paso County and Elder’s custom, policy, and practice of housing, per

    official policy, transgender women, like Plaintiff, in the men’s facility and continuing to require, per

    official policy, male deputies to search transgender women without any supervision caused the violation

    of Plaintiff’s rights and it was obvious and foreseeable to Defendants El Paso County and Elder that

    their custom, policy, and practice of allowing male deputies to search transgender women without any

    supervision would cause a violation of Plaintiff’s constitutional rights in the manner in which that

    violation occurred.

            161.    Defendant Elliss failed to intervene to prevent the unconstitutional search by Defendant

    Mustapick.

            162.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            163.    Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s

    damages in that she suffered physical intrusion into bodily privacy and integrity, humiliation, and mental




                                                         29
                                                                                                  A.55
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 31 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023      Page: 56



    and emotional pain and anguish, physical manifestations of emotional distress, physical injury, and

    continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her life.

            164.    As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                      FOURTH CLAIM FOR RELIEF
                   42 U.S.C. § 1983 – Fourteenth Amendment – Substantive Due Process
                                  Invasion of Bodily Privacy and Integrity
                   Against Defendants El Paso County, Elder, Gillespie, Mustapick, and Elliss

            165.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            166.    Defendants were acting under color of state law at all times relevant to this action.

            167.    By sexually harassing and assaulting Plaintiff without her consent, Defendants violated

    Plaintiff’s right to be secure in her bodily integrity, a liberty interest protected by the Due Process

    Clause of the Fourteenth Amendment.

            168.    Defendants El Paso County and Elder recklessly, with conscious disregard to the serious

    and obvious risk to the safety of transgender inmates like Plaintiff, violated Plaintiff’s right to be secure

    in her bodily integrity by allowing male deputies to search transgender women without any supervision.

            169.    Defendant Elliss failed to intervene to prevent the unconstitutional invasion of privacy by

    Defendant Mustapick.

            170.    Defendants El Paso County and Elder knew that their acts or omissions were

    substantially certain to cause El Paso County officials to violate constitutional rights of transgender

    inmates like Plaintiff to be free from secure in their bodily integrity, and Defendants El Paso County and

    Elder consciously or deliberately chose to disregard this risk of harm in failing to provide and/or in




                                                          30
                                                                                                    A.56
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 32 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 57



    deliberately choosing not to change the policy that housed transgender women inmates with men and

    required, per official policy, male deputies to search transgender women without any supervision.

            171.    Defendants El Paso County and Elder exhibited deliberate indifference to the substantial

    and obvious risk of harm to Plaintiff, and other transgender inmates, by housing, per official policy,

    transgender women, like Plaintiff, in the men’s facility and continuing to require, per official policy,

    male deputies to search transgender women without any supervision.

            172.    Defendants El Paso County and Elder proximately caused an unconstitutional invasion of

    Plaintiff’s bodily integrity by housing, per official policy, transgender women, like Plaintiff, in the

    men’s facility and continuing to require, per official policy, male deputies to search transgender women

    without any supervision.

            173.    Defendants El Paso County and Elder set in motion a series of events that they knew

    would cause an inmate in Plaintiff’s situation to be deprived of her constitutional right to be secure in

    her bodily integrity; but for the above acts or omissions of Defendants, Plaintiff would not have been

    subjected to a violation of her constitutional rights; and such a deprivation was a natural and foreseeable

    consequence of these acts and omissions.

            174.    Defendant Gillespie’s decision to house Plaintiff in an all-male unit subjected her to have

    her privacy constantly invaded.

            175.    The policies implemented by Defendants El Paso County and Elder, as well as

    Defendants’ actions and inactions, violated Plaintiff’s substantive due process right to bodily integrity

    under the Fourteenth Amendment to the United States Constitution.

            176.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            177.    When viewed in total, this conduct is outrageous and shocks the conscience.




                                                         31
                                                                                                   A.57
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 33 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023       Page: 58



            178.    Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s

    damages in that she suffered physical intrusion into bodily privacy and integrity, humiliation, and mental

    and emotional pain and anguish, physical manifestations of emotional distress, physical injury, and

    continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her life.

            179.    As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, and/or practices described above, Plaintiff suffered and continues to suffer injuries,

    damages and losses as set forth herein.

                                          FIFTH CLAIM FOR RELIEF
                               C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 25
                                              Unreasonable Search
                              Against Defendants Elder, Gillespie, Mustapick, and Elliss

            180.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            181.    Defendants acted under color of state law, and within the course and scope of their

    employment, in their capacities as law enforcement officers at all times relevant to the allegations in this

    Third Amended Complaint.

            182.    Defendants are “peace officers” under C.R.S. § 24-31-901(3) employed by a local

    government and therefore subject to C.R.S. § 13-21-131.

            183.    Plaintiff had a protected Colo. Const. Art. II, Section 25 interest against being

    unreasonably searched.

            184.    Plaintiff has a legitimate expectation of privacy in her body being free from unreasonable

    governmental search.

            185.    Defendants’ actions were objectively unreasonable in light of the circumstances

    confronting them. Namely, there was no basis for Defendant Mustapick to visually body-cavity search




                                                         32
                                                                                                   A.58
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 34 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 59



    Plaintiff. Defendant Mustapick’s offensive sexually charged comments while strip searching Plaintiff

    and sexual harassment of her were objectively unreasonable.

            186.     Defendant Elliss failed to intervene to prevent the unconstitutional search by Defendant

    Mustapick.

            187.     Defendant Elder’s custom, policy, and practice of housing, per official policy,

    transgender women, like Plaintiff, in the men’s facility and continuing to require, per official policy,

    male deputies to search transgender women without any supervision caused the violation of Plaintiff’s

    rights and it would have been obvious and foreseeable to Defendant Elder that his custom, policy, and

    practice of allowing male deputies to search transgender women without any supervision would cause a

    violation of Plaintiff’s constitutional rights in the manner in which that violation occurred.

            188.     Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            189.     Defendants acts and omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical intrusion into bodily privacy and integrity, humiliation, and mental and

    emotional pain and anguish, physical manifestations of emotional distress, physical injury, and

    continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her life.

            190.     As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                         SIXTH CLAIM FOR RELIEF
                   C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 29 – Equality of the Sexes
                                                  Discrimination
                   Against Defendants Elder, Gillespie, O’Neal, Mustapick, Elliss, Noe, and Ford

            191.     Plaintiffs hereby incorporate all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.



                                                         33
                                                                                                     A.59
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 35 of 57
        Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023       Page: 60



           192.    The Individual Defendants acted under color of state law, and within the course and

    scope of their employment, in their capacities as law enforcement officers at all times relevant to the

    allegations in this Third Amended Complaint.

           193.    The Individual Defendants are “peace officers” under C.R.S. § 24-31-901(3) employed

    by a local government and therefore subject to C.R.S. § 13-21-131.

           194.    Plaintiffs had a protected Colo. Const. Art. II, Section 25 right against discrimination

    based on sex. The Colorado Constitution, Article II, Section 29 provides: “Equality of the sexes.

    Equality of rights under the law shall not be denied or abridged by the state of Colorado or any of its

    political subdivisions on account of sex.”

           195.    Under Colo. Const. Art. II, Section 25, discrimination against transgender people is a

    form of sex discrimination that is presumptively unconstitutional and subject to strict scrutiny.

           196.    Discrimination based on sex includes, but is not limited to, discrimination based on

    gender, gender nonconformity, transgender status, gender expression, and gender transition.

           197.    Discrimination based on transgender status is also presumptively unconstitutional under

    the Equal Protection Clause and subject to strict, or at least heightened, scrutiny.

           198.    Transgender people have suffered a long history of extreme discrimination across the

    country, in prisons and outside of prisons, and continue to suffer such discrimination to this day.

           199.    Many, if not most, transgender and cisgender women who are incarcerated, including

    Plaintiff, have discernable feminine characteristics and secondary female-typical sex characteristics that

    place them at heightened risk of sexual victimization by male deputies without adequate safeguards and

    subject to the humiliation of searches by male deputies if placed in men’s prisons.




                                                         34
                                                                                                 A.60
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 36 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023     Page: 61



           200.      Both transgender and cisgender women face substantially similar risks of sexual

    victimization by male deputies without adequate safeguards and the humiliation through searches by

    male deputies.

           201.      Defendants’ actions and inactions in placing and keeping Plaintiff in the men’s unit at the

    El Paso County Jail and requiring that male deputies search transgender women without any supervision

    discriminated against her on the basis of sex.

           202.      Defendants’ actions and inactions in placing and keeping Plaintiff in the men’s unit at the

    El Paso County Jail also discriminated against her based on sex stereotyping, namely, treating her as

    though she were a cisgender man based on the conclusions that her gender identity and expression

    should align with her sex assigned at birth, and housing her in accordance with that conclusion. This sex

    stereotyping is based solely on Plaintiff’s sex assigned at birth, disregarding her gender identity even

    though she is a woman and has had medical treatment to bring her body into alignment with her female

    gender identity.

           203.      Defendants, acting under color of state law, intentionally discriminated against Plaintiff

    by placing her, and continuing to house her, exclusively in men’s units without adequate safeguards,

    even though she faces similar risks as all other women in custody.

           204.      Defendant’s actions as described herein were taken without an important or legitimate

    governmental interest or rational reason, and they had no penological basis to deny Plaintiff a safe and

    appropriate placement in a female facility, based on her sex, gender identity, characteristics, risk factors,

    and her history of sexual victimization in male facilities.

           205.      Plaintiff was placed in the male unit, and searched by male deputies, at the El Paso

    County Jail in accordance with the customs, policies, and practices of the El Paso County Jail, which are

    set by Defendant Elder. Defendant Elder discriminated against Plaintiff and other transgender women by




                                                          35
                                                                                                   A.61
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 37 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 62



    adopting and applying these customs policies, and practices that deny transgender women safe and

    appropriate housing placements based on their sex, transgender identity, and impermissible sex

    stereotypes without a compelling, important, or legitimate governmental interest.

            206.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            207.    Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s

    damages in that she suffered physical intrusion into bodily privacy and integrity, humiliation, and mental

    and emotional pain and anguish, physical manifestations of emotional distress, physical injury, and

    continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her life.

            208.    As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                      SEVENTH CLAIM FOR RELIEF
               C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 25 – Substantive Due Process
                                   Invasion of Bodily Privacy and Integrity
                           Against Defendants Elder, Gillespie, Mustapick, and Elliss

            209.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            210.    Defendants acted under color of state law, and within the course and scope of their

    employment, in their capacities as law enforcement officers at all times relevant to the allegations in this

    Third Amended Complaint.

            211.    Defendants are “peace officers” under C.R.S. § 24-31-901(3) employed by a local

    government and therefore subject to C.R.S. § 13-21-131.

            212.    Plaintiff had a protected Colo. Const. Art. II, Section 25 interest against deprivation of

    life, liberty, or property without due process of law.



                                                         36
                                                                                                   A.62
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 38 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023      Page: 63



           213.    By sexually harassing and assaulting Plaintiff without her consent, Defendants violated

    Plaintiff’s right to be secure in her bodily integrity, a liberty interest protected by the Due Process

    Clause of the Fourteenth Amendment.

           214.    Defendant Elder recklessly, with conscious disregard to the serious and obvious risk to

    the safety of transgender inmates like Plaintiff, violated Plaintiff’s right to be secure in her bodily

    integrity by allowing male deputies to search transgender women without any supervision.

           215.    Defendant Elliss failed to intervene to prevent the unconstitutional invasion of bodily

    integrity by Defendant Mustapick.

           216.    Defendant Elder knew that his acts or omissions were substantially certain to cause El

    Paso County officials to violate constitutional rights of transgender inmates like Plaintiff to be free from

    secure in their bodily integrity, and Defendant Elder consciously or deliberately chose to disregard this

    risk of harm in failing to provide and/or in deliberately choosing not to change the policy that housed

    transgender women inmates with men and required, per official policy, male deputies to search

    transgender women without any supervision.

           217.    Defendant Elder exhibited deliberate indifference to the substantial and obvious risk of

    harm to Plaintiff, and other transgender inmates, by housing, per official policy, transgender women,

    like Plaintiff, in the men’s facility and continuing to require, per official policy, male deputies to search

    transgender women without any supervision.

           218.    Defendant Elder proximately caused an unconstitutional invasion of Plaintiff’s bodily

    integrity by housing, per official policy, transgender women, like Plaintiff, in the men’s facility and

    continuing to require, per official policy, male deputies to search transgender women without any

    supervision.




                                                          37
                                                                                                    A.63
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 39 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023       Page: 64



            219.    Defendant Elder set in motion a series of events that he knew would cause an inmate in

    Plaintiff’s situation to be deprived of her constitutional right to be secure in her bodily integrity; but for

    the above acts or omissions of Defendants, Plaintiff would not have been subjected to a violation of her

    constitutional rights; and such a deprivation was a natural and foreseeable consequence of these acts and

    omissions.

            220.    Defendant Gillespie’s decision to house Plaintiff in an all-male unit subjected her to have

    her privacy constantly invaded.

            221.    The policies implemented by Defendant Elder, as well as Defendants’ actions and

    inactions, violated Plaintiff’s substantive due process right to bodily integrity.

            222.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            223.    When viewed in total, this conduct is outrageous and shocks the conscience.

            224.    Defendants’ acts or omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical intrusion into bodily privacy and integrity, humiliation, and mental and

    emotional pain and anguish, physical manifestations of emotional distress, physical injury, and

    continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her life.

            225.    As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, and/or practices described above, Plaintiff suffered and continues to suffer injuries,

    damages and losses as set forth herein.

                                      EIGHTH CLAIM FOR RELIEF
           C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 20 – Cruel And Unusual Punishment
                                        Conditions Of Confinement
                Against Defendants Elder, Gillespie, O’Neal, Mustapick, Elliss, Noe, and Ford

            226.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.



                                                          38
                                                                                                    A.64
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 40 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023      Page: 65



            227.    Defendants were acting under color of state law at all times relevant to this action.

            228.    Plaintiff was a pre-trial detainee.

            229.    As a pre-trial detainee, Plainitff was protected from unconstitutional conditions of

    confinement.

            230.    Plaintifff was also protected from conduct that is not rationally related to a legitimate

    nonpunitive governmental purpose or actions that appear objectively excessive in relation to that

    purpose.

            231.    Each Defendant knew or should have known of these clearly established rights at the time

    of Plainitff’s incarceration.

            232.    Defendant Elder’ policy of assigning all detained transgender individuals to housing units

    based on their genitalia as the default or sole criterion, without any individualized assessment of the

    individual’s safety or gender identity, posed an excessive risk to Ms. Griffith’s health and safety.

            233.    Defendants knew that Plainitff was a transgender woman and that housing her in an all-

    male unit subjected her to a risk of sexual harrassment, sexual assault, and extreme emotional distress

    from being treated as a man given her Gender Dysphoria. They knew that this posed a substantial risk of

    serious harm to Plaintiff.

            234.    Despite this knowledge, and Plainitff’s repeated requests for a transfer, Defendants

    refused to house Plaintiff in a unit that conformed with her gender identity in deliberate indifference to a

    serious risk of harm to her.

            235.    Defendants subjected Plaintiff to unconstitutional conditions of confinement by sexually

    harrassing her and failing to protect her from sexual assault.

            236.    Defendants subjected Plaintiff to unconstitutional conditions of confinement by

    subjecting her to continuous mis-gendering and cross-gender pat-down searches.




                                                          39
                                                                                                   A.65
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 41 of 57
         Appellate Case: 23-1135             Document: 20          Date Filed: 08/21/2023      Page: 66



            237.        All of the deliberately indifferent acts of each individual Defendant were conducted

    within the scope of their official duties and employment.

            238.        Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            239.        Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s

    damages in that she suffered physical pain and suffering, humiliation, and mental and emotional pain

    and anguish, and continues to suffer mental and emotional pain and anguish to this day and likely for the

    rest of her life.

            240.        As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                        NINTH CLAIM FOR RELIEF
                      C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 25 – Due Process
                                          Conditions Of Confinement
                   Against Defendants Elder, Gillespie, O’Neal, Mustapick, Elliss, Noe, and Ford

            241.        Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            242.        Defendants were acting under color of state law at all times relevant to this action.

            243.        Plaintiff was a pre-trial detainee.

            244.        As a pre-trial detainee, Plainitff was protected from unconstitutional conditions of

    confinement.

            245.        Plaintifff was also protected from conduct that is not rationally related to a legitimate

    nonpunitive governmental purpose or actions that appear objectively excessive in relation to that

    purpose.




                                                              40
                                                                                                       A.66
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 42 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 67



            246.    Each Defendant knew or should have known of these clearly established rights at the time

    of Plainitff’s incarceration.

            247.    Defendants Elder’s policy of assigning all detained transgender individuals to housing

    units based on their anatomy as the default or sole criterion, without any individualized assessment of

    the individual’s safety or gender identity, posed an excessive risk to Ms. Griffith’s health and safety.

            248.    Defendants knew that Plainitff was a transgender woman and that housing her in an all-

    male unit subjected her to a risk of sexual harrassment, sexual assault, and extreme emotional distress

    from being treated as a man given her Gender Dysphoria. They knew that this posed a substantial risk of

    serious harm to Plaintiff.

            249.    Despite this knowledge, and Plainitff’s repeated requests for a transfer, Defendants

    refused to house Plaintiff in a unit that conformed with her gender identity in deliberate indifference to a

    serious risk of harm to her.

            250.    Defendants subjected Plaintiff to unconstitutional conditions of confinement by sexually

    harrassing her and failing to protect her from sexual assault.

            251.    Defendants subjected Plaintiff to unconstitutional conditions of confinement by

    subjecting her to continuous mis-gendering and cross-gender pat-down searches

            252.    All of the deliberately indifferent acts of each individual Defendant were conducted

    within the scope of their official duties and employment.

            253.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            254.    Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s

    damages in that she suffered physical pain and suffering, humiliation, and mental and emotional pain




                                                         41
                                                                                                  A.67
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 43 of 57
         Appellate Case: 23-1135             Document: 20         Date Filed: 08/21/2023      Page: 68



    and anguish, and continues to suffer mental and emotional pain and anguish to this day and likely for the

    rest of her life.

            255.        As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein

                                           TENTH CLAIM FOR RELIEF
                               U.S.C. § 12101, et. seq. – Americans with Disabilities Act
                                               Disability Discrimination
                                           Against Defendant El Paso County

            256.        Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            257.        Title II of the ADA provides that “[s]ubject to the provisions of this subchapter, no

    qualified individual with a disability shall, by reason of such disability, be excluded from participation in

    or be denied the benefits of the services, programs, or activities of a public entity, or be subjected to

    discrimination by any such entity.” 42 U.S.C. § 12132.

            258.        In particular, in providing any aid, benefit, or service, under Title II of the ADA, a public

    entity “may not ... [d]eny a qualified individual with a disability the opportunity to participate in or benefit

    from the aid, benefit or service,” “[a]fford a qualified individual with a disability an opportunity to

    participate in or benefit from the aid, benefit, or service that is not equal to that afforded others,” “[p]rovide

    a qualified individual with a disability with an aid, benefit, or service that is not as effective in affording

    equal opportunity . . . as that provided to others,” or “[o]therwise limit a qualified individual with a

    disability in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by others[.]” 28

    C.F.R. § 35.130(b)(1)(i), (ii), (iii), and (vii).

            259.        A public entity “shall make reasonable modifications in policies, practices, or procedures

    when the modifications are necessary to avoid discrimination on the basis of disability.” 28 C.F.R. §



                                                             42
                                                                                                      A.68
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 44 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023      Page: 69



    35.130(b)(7).

           260.     A public entity may not (1) “impose or apply eligibility criteria that screen out or tend to

    screen out an individual with a disability or any class of individuals with disabilities from fully and equally

    enjoying any service, program, or activity, unless such criteria can be shown to be necessary,” 28 C.F.R.§

    35.130(b)(8); or (2) “utilize criteria or methods of administration … that have the effect of subjecting

    qualified individuals with disabilities to discrimination on the basis of disability … or the purpose or effect

    of defeating or substantially impairing accomplishment of the objectives of the public entity’s program

    with respect to individuals with disabilities.” 28 C.F.R. § 35.130(b)(3)(i)(ii).

           261.     A public entity is also prohibited from aiding and perpetuating discrimination against

    persons with disabilities in the programs, services, or activities it provides. 28 C.F.R. § 35.130(b)(1)(v).

           262.     The ADA’s “integration mandate” requires public entities to “administer services,

    programs, and activities in the most integrated setting appropriate to the needs of qualified individuals

    with disabilities.” 28 C.F.R. § 35.130(d); 28 C.F.R. § 35.152(b)(2) (requiring that prisoners with

    disabilities be housed in the most integrated setting appropriate to their needs under the program access

    obligation); see also Guidance on ADA Regulation on Nondiscrimination on the Basis of Disability in

    State and Local Government Services, originally published July 26, 1991, 28 C.F.R. pt. 35, App. B

    (“Integration is fundamental to the purposes of the Americans with Disabilities Act. Provision of

    segregated accommodations and services relegates persons with disabilities to second-class status.”).

           263.     Defendant El Paso County violated the rights of Plaintiff secured by Title II of the ADA

    and its implementing regulations.

           264.     El Paso County is currently, and at all times relevant to this action has been a “public

    entity” as defined by the ADA, 42 U.S.C. § 12131(1)(B), and provides a “program, service, or activity”

    within the meaning of the ADA, including educational and rehabilitative programs and services.




                                                          43
                                                                                                    A.69
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 45 of 57
        Appellate Case: 23-1135         Document: 20         Date Filed: 08/21/2023     Page: 70



           265.    Plaintiff suffers from Gender Dysphoria, Developmental Trauma Disorder.

           266.    Gender Dysphoria is not excluded under the ADA, 42 U.S.C. § 12211(b)(1), because it is

    a gender identity disorder that results from a physical impairment. In 2015, the U.S. Department of Justice

    concluded that, “[i]n light of the evolving scientific evidence suggesting that Gender Dysphoria may have

    a physical basis, along with the remedial nature of the ADA and the relevant statutory and regulatory

    provisions directing that the terms ‘disability’ and ‘physical impairment’ be read broadly, the [ADA’s

    exclusion of gender identity disorders not resulting from a physical impairment] should be construed

    narrowly such that Gender Dysphoria falls outside its scope.”2

           267.    Alternatively, Gender Dysphoria is not excluded under the ADA because it is not a “gender

    identity disorder” under 42 U.S.C. § 12211(b)(1)—it is a dysphoria.

           268.    Because of the date of the actions complained of, the expanded definition of “disability”

    under the Americans with Disabilities Act Amendments Act of 2008 (“ADAAA”) applies.

           269.    Under the ADAAA and DOJ regulations, the definition of disability is to be construed

    broadly in favor of expansive coverage. 42 U.S.C. § 12102(4)(A); 28 C.F.R. §§ 35.108(a)(2)(i),

    35.108(d)(1)(i). Accordingly, the terms “substantially” and “major” in the definition of disability are to

    be interpreted consistently with the ADAAA’s findings and purposes, which reinstate “the broad scope of

    protection intended to be afforded by the ADA” and convey Congress’s intent “that the question of

    whether an individual’s impairment is a disability under the ADA should not demand extensive analysis.”

    42 U.S.C. §§ 12102(4)(B), ADA Amendments Act of 2008, Pub. L. No. 110-325, §§ (2)(a)(5), (b)(5).

           270.    In determining disability, the ADAAA requires that impairments must be assessed

    “without regard to the ameliorative effects of mitigating measures,” such as medication, therapy, and



    2
     Second Statement of Interest of the United States at 5, Blatt v. Cabela’s Retail, Inc., No. 5:14-cv-4822-
    JFL, 2015 WL 9872493 (E.D. Pa. Nov. 16, 2015).



                                                        44
                                                                                                A.70
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 46 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023       Page: 71



    reasonable accommodations. 42 U.S.C. § 12102(4)(E)(i).

           271.    In determining disability, the ADAAA requires that impairments that are “episodic or in

    remission” must be assessed in their active state. 42 U.S.C. § 12102(4)(D).

           272.    In determining disability, a “major life activity” includes “the operation of a major bodily

    function,” including neurological, brain, and reproductive functions. 42 U.S.C. § 12102(2)(B).

           273.    Under the ADAAA and DOJ regulations, “an individual meets the requirement of ‘being

    regarded as having’ an impairment that substantially limits one or more major life activities if the

    individual establishes that he or she has been subjected to an action prohibited under th[e ADA] because

    of an actual or perceived physical or mental impairment whether or not the impairment limits or is

    perceived to limit a major life activity.” 42 U.S.C. §§ 12102(3)(A); see also 28 C.F.R. § 35.108(f)(1);

    ADA Amendments Act of 2008, Pub. L. No. 110-325, § (2)(b)(3) (reinstating “broad view of the third

    prong” of the definition of disability). Accordingly, no showing of substantial limitation of a major life

    activity is required under the regarded-as prong. 28 C.F.R. § 35.108(a)(2)(iii) (“[T]he ‘regarded as’ prong

    of the definition of “disability” . . . does not require a showing of an impairment that substantially limits

    a major life activity or a record of such an impairment.”).

           274.    Plainitff’s Gender Dysphoria substantially limits one or more major life activities,

    including her ability to care for herself, eating, sleeping, learning, concentrating, thinking, communicating,

    interacting with others, and reproducing, and also substantially limits the operation of major bodily

    functions, including neurological function, brain function, endocrine function, and reproductive function.

           275.    Plaintiff has a record of Gender Dysphoria, which substantially limits one or more major

    life activities, including her ability to care for herself, eating, sleeping, learning, concentrating, thinking,

    communicating, interacting with others, and reproducing, and also substantially limits the operation of

    major bodily functions, including neurological function, brain function, endocrine function, and




                                                          45
                                                                                                     A.71
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 47 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023       Page: 72



    reproductive function.

            276.    Plaintiff “meets the requirement of ‘being regarded as having’ an impairment that

    substantially limits one or more major life activities” because El Paso County excluded her from

    participation in and denied her the benefits of El Paso County’s programs, services, and activities based

    on Gender Dysphoria, and also subjected her to discrimination based on Gender Dysphoria.

            277.    Plaintiff is currently and at all times relevant to this action has been a “qualified individual

    with a disability” within the meaning of Title II of the ADA.

            278.    As an inmate in the custody of El Paso County, Plaintiff was qualified to participate in El

    Paso County’s programs, services, and activities. El Paso County provides these services to other inmates

    committed to its custody.

            279.    El Paso County failed to provide reasonable modification to its policies, procedures, and

    practices regarding Ms. Griffith, as it was legally required to do. 28 C.F.R. § 35.130(b)(7). El Paso County

    did not attempt accommodations such as approrpiate housing, dress, and access to female grooming

    products, and gender-appropriate searches. By virtue of the fact that El Paso County did not put these or

    other reasonable modifications in place, Plaintiff was discriminated against because of her disabilities.

            280.    By confining Plainitff in the men’s unit at the El Paso County Jail, a facility where staff

    members referred to Plaintiff using a male pronoun and her male given name and staff refused to permit

    Plainitff to wear her own gender’s clothes and underwear, El Paso County subjected Plainitff to

    discrimination based on Gender Dysphoria.

            281.    Defendants’ actions and inactions were taken in reckless and callous indifference to the

    protected rights of Plaintiff.

            282.    Defendants’ acts or omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical pain and suffering, humiliation, and mental and emotional pain and anguish,




                                                          46
                                                                                                     A.72
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 48 of 57
            Appellate Case: 23-1135      Document: 20          Date Filed: 08/21/2023       Page: 73



    and continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her

    life.

              283.   As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues to

    suffer injuries, damages and losses as set forth herein.

                                     ELEVENTH CLAIM FOR RELIEF
                                U.S.C. § 701, et. seq. – Rehabilitation Act of 1973
                                            Disability Discrimination
                                        Against Defendant El Paso County

              284.   Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

              285.   Section 504 of the Rehabilitation Act provides that “[n]o otherwise qualified individual

    with a disability . . . shall, solely by reason of her or his disability, be excluded from the participation in,

    be denied the benefits of, or be subjected to discrimination under any program or activity receiving Federal

    financial assistance. . . .” 29 U.S.C. § 794(a).

              286.   El Paso County accepts federal financial assistance and has done so at all times relevant to

    this Third Amended Complaint. El Paso County is therefore a “program . . . receiving Federal financial

    assistance” for purposes of the Rehabilitation Act. 214. The definition of disability is identical under the

    ADA and Rehabilitation Act, and the expanded definition of “disability” under the ADAAA applies with

    equal force to the definition of “disability” under Section 504 of the Rehabilitation Act. See ADA

    Amendments Act of 2008, Pub. L. No. 110-325, §7 (conforming Section 504 of Rehabilitation Act’s

    definition of “disability,” 29 U.S.C. § 705, to definition of disability “in section 3 of the Americans with

    Disabilities Act of 1990 (42 U.S.C. 12102)).”

              287.   Plaintiff suffers from Gender Dysphoria, which substantially limits one or more major life

    activities and also the operation of major bodily functions. Plaintiff “meets the requirement of ‘being



                                                          47
                                                                                                     A.73
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 49 of 57
            Appellate Case: 23-1135       Document: 20          Date Filed: 08/21/2023       Page: 74



    regarded as having’ an impairment that substantially limits one or more major life activities” because El

    Paso County excluded her from participation in and denied her the benefits of El Paso County’s programs,

    services, and activities based on Gender Dysphoria, and also subjected her to discrimination based on

    these impairments.

              288.   Gender Dysphoria is not excluded under the Rehabilitation Act because it is a gender

    identity disorder that results from a physical impairment or, alternatively, it is not a gender identity

    disorder—it is a dysphoria.

              289.   Plaintiff is currently and at all times relevant to this action has been a “qualified individual

    with a disability” for purposes of the Rehabilitation Act.

              290.   By confining Plaintiff in the men’s unit at the El Paso County Jail, a facility where staff

    members referred to Plaintiff using a male pronoun and her male given name and staff refused to permit

    Plainitff to wear her own gender’s clothes and underwear, El Paso County subjected Plainitff to

    discrimination based on Gender Dysphoria in violation of Section 504 of the Rehabilitation Act.

              291.   Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s protected rights.

              292.   Defendants’ acts and omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical pain and suffering, humiliation, and mental and emotional pain and anguish,

    and continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her

    life.

              293.   As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues to

    suffer injuries, damages and losses as set forth herein.

                                       TWELFTH CLAIM FOR RELIEF
                         C.R.S. § 24-34-601, et. seq. – Colorado Anti-Discrimination Act



                                                           48
                                                                                                      A.74
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 50 of 57
        Appellate Case: 23-1135         Document: 20          Date Filed: 08/21/2023    Page: 75



                                     Sex and Transgender Discrimination
                                            Against All Defendants

            294.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            295.    The Colorado Anti-Discrimination Act, C.R.S. § 24-34-601(2)(a) provides that it is a

    violation of Colorado law for any place of public accommodation to discriminate against any person based

    on sex or sexual orientation, including transgender status.

            296.    The El Paso County Jail is a place of “public accommodation” as defined under C.R.S. §

    24-34-601(1). Defendants operate the facilities that housed Plaintiff and are responsible for providing the

    full and equal enjoyment of its services, programs and benefits to the public regardless of the status of

    Plaintiff as a transgender woman.

            297.    Defendants refused to provide these services, programs and benefits of these public

    accommodations to Plaintiff because of her transgender status.

            298.     Defendants provide these public accommodations to cisgender men and cisgender women

    but deny these services to transgender women because of their sex and transgender status.

            299.    Defendants discriminated against Plaintiff on the basis of her sex and transgender status,

    in violation of Colorado law, and in so doing, caused Plaintiff serious physical and psychological harm,

    and subjected her to an unreasonable risk of harm.

                                    THIRTEENTH CLAIM FOR RELIEF
                        C.R.S. § 24-34-601, et. seq. – Colorado Anti-Discrimination Act
                                           Disability Discrimination
                                             Against All Defendants

            300.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            301.    The Colorado Anti-Discrimination Act, C.R.S. § 24-34-601(2)(a) provides that it is a




                                                         49
                                                                                                A.75
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 51 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023     Page: 76



    violation of Colorado law for any place of public accommodation to discriminate against any person based

    the disability of that person.

            302.    The El Paso County Jail is a place of “public accommodation” as defined under C.R.S. §

    24-34-601(1). Defendants operate the facilities that housed Plaintiff and are responsible for providing the

    full and equal enjoyment of its services, programs and benefits to the public regardless of the status of

    Plaintiff as a transgender woman.

            303.    Defendants refused to provide these services, programs and benefits of these public

    accommodations to Plaintiff because of her transgender status.

            304.     Defendants provide these public accommodations to cisgender men and cisgender women

    but deny these services to transgender women because of their sex and transgender status.

            305.    Defendants discriminated against Plaintiff on the basis of her sex and transgender status,

    in violation of Colorado law, and in so doing, caused Plaintiff serious physical and psychological harm,

    and subjected her to an unreasonable risk of harm.

                                   FOURTEENTH CLAIM FOR RELIEF
                                 42 U.S.C. § 1983 – Fourteenth Amendment
                                              Failure To Protect
                   Against Defendants El Paso County, Elder, Gillespie, O’Neal, Noe, and Ford

            306.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

            307.    Defendants were acting under color of state law at all times relevant to this action.

            308.    Plaintiff was a pre-trial detainee.

            309.    As a pre-trial detainee, Plainitff was protected from unconstitutional conditions of

    confinement by the Fourteenth Amendment.




                                                          50
                                                                                                  A.76
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 52 of 57
        Appellate Case: 23-1135          Document: 20         Date Filed: 08/21/2023      Page: 77



            310.    Under the Fourteenth Amendment, Plaintifff was also protected from conduct that is not

    rationally related to a legitimate nonpunitive governmental purpose or actions that appear objectively

    excessive in relation to that purpose under Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015).

            311.    Each Defendant knew or should have known of these clearly established rights at the time

    of Plainitff’s incarceration.

            312.    Defendants El Paso County’s, Elder’s, and Gillespie’s policy of assigning all detained

    transgender individuals to housing units based on their genitalia as the default or sole criterion, without

    any individualized assessment of the individual’s safety or gender identity, posed an excessive risk to

    Ms. Griffith’s health and safety.

            313.    Defendants knew that Plainitff was a transgender woman and that housing her in an all-

    male unit subjected her to a risk of sexual harrassment, sexual assault, and extreme emotional distress

    from being treated as a man given her Gender Dysphoria. They knew that this posed a substantial risk of

    serious harm to Plaintiff.

            314.    Despite this knowledge and Plainitff’s repeated requests for a transfer, Defendants

    refused to house Plaintiff in a unit that conformed with her gender identity in deliberate indifference to a

    serious risk of harm to her.

            315.    Defendants failed to protect Plaintiff from sexual assault at the hands of other inmates.

            316.    All of the deliberately indifferent acts of each individual Defendant were conducted

    within the scope of their official duties and employment.

            317.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

            318.    Defendants’ acts or omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical pain and suffering, humiliation, and mental and emotional pain and anguish,




                                                         51
                                                                                                  A.77
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 53 of 57
            Appellate Case: 23-1135       Document: 20          Date Filed: 08/21/2023     Page: 78



    and continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her

    life.

              319.   As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                      FIFTEENTH CLAIM FOR RELIEF
             C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 20 – Cruel And Unusual Punishment
                                               Failure To Protect
                   Against Defendants El Paso County, Elder, Gillespie, O’Neal, Noe, and Ford

              320.   Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.

              321.   Defendants were acting under color of state law at all times relevant to this action.

              322.   Plaintiff was a pre-trial detainee.

              323.   As a pre-trial detainee, Plainitff was protected from unconstitutional conditions of

    confinement by the Fourteenth Amendment.

              324.   Under the Fourteenth Amendment, Plaintifff was also protected from conduct that is not

    rationally related to a legitimate nonpunitive governmental purpose or actions that appear objectively

    excessive in relation to that purpose under Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015).

              325.   Each Defendant knew or should have known of these clearly established rights at the time

    of Plainitff’s incarceration.

              326.   Defendants El Paso County’s, Elder’s, and Gillespie’s policy of assigning all detained

    transgender individuals to housing units based on their genitalia as the default or sole criterion, without

    any individualized assessment of the individual’s safety or gender identity, posed an excessive risk to

    Ms. Griffith’s health and safety.




                                                           52
                                                                                                   A.78
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 54 of 57
            Appellate Case: 23-1135       Document: 20          Date Filed: 08/21/2023     Page: 79



              327.    Defendants knew that Plainitff was a transgender woman and that housing her in an all-

    male unit subjected her to a risk of sexual harrassment, sexual assault, and extreme emotional distress

    from being treated as a man given her Gender Dysphoria. They knew that this posed a substantial risk of

    serious harm to Plaintiff.

              328.    Despite this knowledge and Plainitff’s repeated requests for a transfer, Defendants

    refused to house Plaintiff in a unit that conformed with her gender identity in deliberate indifference to a

    serious risk of harm to her.

              329.    Defendants failed to protect Plaintiff from sexual assault at the hands of other inmates.

              330.    All of the deliberately indifferent acts of each individual Defendant were conducted

    within the scope of their official duties and employment.

              331.    Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

              332.    Defendants’ acts or omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical pain and suffering, humiliation, and mental and emotional pain and anguish,

    and continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her

    life.

              333.    As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein.

                                        SIXTEENTH CLAIM FOR RELIEF
                        C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 25 – Due Process
                                                Failure To Protect
                     Against Defendants El Paso County, Elder, Gillespie, O’Neal, Noe, and Ford

              334.    Plaintiff hereby incorporates all other paragraphs of this Third Amended Complaint as if

    fully set forth herein.



                                                           53
                                                                                                    A.79
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 55 of 57
        Appellate Case: 23-1135          Document: 20          Date Filed: 08/21/2023     Page: 80



            335.    Defendants were acting under color of state law at all times relevant to this action.

            336.    Plaintiff was a pre-trial detainee.

            337.    As a pre-trial detainee, Plainitff was protected from unconstitutional conditions of

    confinement by the Fourteenth Amendment.

            338.    Under the Fourteenth Amendment, Plaintifff was also protected from conduct that is not

    rationally related to a legitimate nonpunitive governmental purpose or actions that appear objectively

    excessive in relation to that purpose under Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015).

            339.    Each Defendant knew or should have known of these clearly established rights at the time

    of Plainitff’s incarceration.

            340.    Defendants El Paso County’s, Elder’s, and Gillespie’s policy of assigning all detained

    transgender individuals to housing units based on their genitalia as the default or sole criterion, without

    any individualized assessment of the individual’s safety or gender identity, posed an excessive risk to

    Ms. Griffith’s health and safety.

            341.    Defendants knew that Plainitff was a transgender woman and that housing her in an all-

    male unit subjected her to a risk of sexual harrassment, sexual assault, and extreme emotional distress

    from being treated as a man given her Gender Dysphoria. They knew that this posed a substantial risk of

    serious harm to Plaintiff.

            342.    Despite this knowledge and Plainitff’s repeated requests for a transfer, Defendants

    refused to house Plaintiff in a unit that conformed with her gender identity in deliberate indifference to a

    serious risk of harm to her.

            343.    Defendants failed to protect Plaintiff from sexual assault at the hands of other inmates.

            344.    All of the deliberately indifferent acts of each individual Defendant were conducted

    within the scope of their official duties and employment.




                                                          54
                                                                                                  A.80
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 56 of 57
            Appellate Case: 23-1135       Document: 20          Date Filed: 08/21/2023       Page: 81



              345.   Defendants’ actions and inactions were taken in reckless and callous indifference to

    Plaintiff’s federally protected rights.

              346.   Defendants’ acts or omissions were the legal and proximate cause of Plaintiff’s damages

    in that she suffered physical pain and suffering, humiliation, and mental and emotional pain and anguish,

    and continues to suffer mental and emotional pain and anguish to this day and likely for the rest of her

    life.

              347.   As a direct and proximate cause and consequence of the unconstitutional policies,

    procedures, customs, acts, inactions, and/or practices described above, Plaintiff suffered and continues

    to suffer injuries, damages and losses as set forth herein

                                               PRAYER FOR RELIEF

              WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor and

    against Defendants, and grant:

              (a)    Appropriate declaratory and other injunctive and/or equitable relief;

              (b)    Compensatory and consequential damages, including damages for emotional

              distress, humiliation, loss of enjoyment of life, and other pain and suffering on all

              claims allowed by law in an amount to be determined at trial;

              (c)    All economic losses on all claims allowed by law;

              (d)    Punitive damages on all claims allowed by law and in an amount to be

              determined at trial;

              (e)    Attorney fees and the costs associated with this action on all claims allowed by

              law;

              (f)    Pre- and post-judgment interest at the lawful rate; and

              (g)    Any further relief that this court deems just and proper, and any other relief as




                                                           55
                                                                                                      A.81
Case 1:21-cv-00387-CMA-NRN Document 124 Filed 06/07/22 USDC Colorado Page 57 of 57
       Appellate Case: 23-1135        Document: 20        Date Filed: 08/21/2023   Page: 82



         allowed by law and equity.

          PLAINTIFF REQUESTS A TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.

         Dated this 2nd day of June 2022.

                                                      KILLMER, LANE & NEWMAN, LLP

                                                     s/ Andy McNulty
                                                     ________________________
                                                     Andy McNulty
                                                     Mari Newman
                                                     1543 Champa St., Ste. 400
                                                     Denver, CO 80202
                                                     Phone: (303) 571-1000
                                                     Fax: (303) 571-1001
                                                     amcnulty@kln-law.com
                                                     mnewman@kln-law.com

                                                      ATTORNEYS FOR PLAINTIFF




                                                     56
                                                                                         A.82
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 1 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 83



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-00387-CMA-NRN

  DARLENE GRIFFITH,

  Plaintiff,

  v.

  EL PASO COUNTY, COLORADO,
  BILL ELDER, in his individual and official capacities,
  CY GILLESPIE, in his individual capacity,
  ELIZABETH O’NEAL, in her individual capacity,
  ANDREW MUSTAPICK, in his individual capacity,
  DAWNE ELLISS, in her individual capacity,
  TIFFANY NOE, in her individual capacity,
  BRANDE FORD, in her individual capacity,

  Defendants.


                     REPORT AND RECOMMENDATION ON
           DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED COMPLAINT
                   PURSUANT TO Fed. R. Civ. P. 12(b)(1) and (6)
                                 (Dkt. #132)


  N. REID NEUREITER
  United States Magistrate Judge

          This prisoner civil rights case is before the Court pursuant to an Order (Dkt.

  #135) issued by Judge Christine M. Arguello referring Defendants El Paso County, Bill

  Elder, Cy Gillespie, Andrew Mustapick, Dawne Elliss, Tiffany Noe, and Brande Ford’s

  (collectively “Defendants”)1 Motion to Dismiss Third Amended Complaint Pursuant to




          1 Defendant Elder is the El Paso County Sheriff and is sued in his individual and

  official capacities. (Dkt. #124 ¶ 14.) The other Defendants are sued in their individual
  capacities and are employed in various positions by the El Paso County Sheriff’s Office:
  Defendant Gillepsie is a Commander (id. ¶ 15), Defendant O’Neal is an “official” who



                                                                                           A.83
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 2 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 84



  Fed. R. Civ. P. 12(b)(1) and (6) (the “Motion to Dismiss”). (Dkt. #132.) Plaintiff Darlene

  Griffith (“Plaintiff” or “Ms. Griffith”) filed a response (Dkt. #147) and Defendants filed a

  reply. (Dkt. #155.) The Court heard argument on the subject motion on October 11,

  2022. (See Dkt. #161.) The Court has carefully considered the motion. The Court has

  taken judicial notice of the Court’s file and has considered the applicable Federal Rules

  of Civil Procedure and case law. The Court now being fully informed makes the

  following recommendation.

                                   PROCEDURAL HISTORY

         Plaintiff is a transgender woman who was housed in an all-male unit in the El

  Paso County Criminal Justice Center (“CJC”). Initially proceeding pro se, Plaintiff filed a

  Prisoner Complaint relating to her conditions of confinement on February 8, 2021. (Dkt.

  #1.) Complying with an order (Dkt. #5) issued the next day by Magistrate Judge Gordon

  P. Gallagher, Plaintiff filed an Amended Prisoner Complaint on March 4, 2021. (Dkt. #9.)

  On April 19, 2021, Judge Lewis T. Babcock entered an Order to Dismiss in Part and to

  Draw Case and the case was randomly reassigned to the undersigned. (Dkt. #16.) The

  matter was eventually assigned to Judge Arguello as the presiding judge. (See Dkt.

  ##25 & 58.)

         On June 8, 2021, the Court entered an Appointment Order (Dkt. #28) and

  Andrew McNulty of the law firm of Killmer Lane & Newman LLP subsequently entered a

  notice of appearance on Plaintiff’s behalf on September 15, 2021. (Dkt. #41.)




  apparently processes inmate grievances (id. ¶¶ 16, 57), and Defendants Mustapick,
  Elliss, Noe, and Ford are deputies (id. ¶¶ 17–20).


                                                 2
                                                                                           A.84
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 3 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 85



          The Court granted Plaintiff leave to file a Second Amended Complaint on

  October 4, 2021. (See Dkt. ##46 & 47.) Plaintiff then moved for a preliminary injunction

  that would require, among other things, El Paso County to house her in a women’s unit.

  (Dkt. #48.) The day before the December 9, 2021 hearing on the injunction, the parties

  reached an agreement that resulted in Plaintiff being transferred to a female ward and

  having access to the same items from the commissary as all female inmates. (See Dkt.

  #91.) The preliminary injunction motion was denied as moot and the hearing vacated.

  (Dkt. #92.)

          On April 8, 2022, the Court conducted a Settlement Conference. (See Dkt. #110.)

  While no settlement was reached at that time, Plaintiff eventually settled her claims with

  jail’s private medical services provider and its employees. (See Dkt. ##117, 119, 121, &

  122.)

          On June 7, 2022, with Defendants’ consent, Plaintiff filed a Third Amended

  Complaint and Jury Demand (“TAC”), the operative pleading. (Dkt. #124.) The subject

  Motion to Dismiss followed and further discovery was stayed. (See Dkt. #162.)

                                        BACKGROUND2

          This lawsuit arises from El Paso County’s policy of housing transgender women

  in male units within the CJC. Plaintiff alleges that, as a result of this policy, she suffered

  repeated sexual harassment, sexual assault, and discrimination at the hands of jail staff

  and other inmates.




          2 Allegations in this section are taken from the TAC, and all non-conclusory

  allegations are presumed true for the purposes of the Motion to Dismiss. All citations to
  docketed materials are to the page number in the CM/ECF header, which sometimes
  differs from a document’s internal pagination.


                                                3
                                                                                          A.85
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 4 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 86



         Plaintiff has been diagnosed with gender dysphoria and has been openly living

  as a transgender woman for over twenty years. (Dkt. #124 ¶ 25.) Gender dysphoria is

  “the significant distress that may accompany the incongruence between a transgender

  person’s gender identity and assigned sex.” (Id. ¶ 22.) The symptoms of gender

  dysphoria can be alleviated by allowing the transgender person “to live, and be treated

  by others, consistently with the person’s gender identity.” (Id.) To that end, and as part

  of her medically supervised treatment, Plaintiff has “changed her name and altered her

  physical appearance to conform to her female gender identity, including dressing in

  feminine attire and taking feminizing hormones, which caused her to develop female

  secondary sex characteristics such as breasts, soft skin, a lack of facial hair, and other

  characteristics typically associated with women.” (Id. ¶ 25.)

         Plaintiff entered the CJC on July 20, 2020. (Id. ¶ 47.) On intake, Defendant Noe,

  in accordance with official El Paso County policy, classified and housed Plaintiff in an

  all-male unit, despite (1) Plaintiff’s explicit request that she be placed in a women’s

  facility “because she feared being sexually abused and assaulted in male facilities by

  both guards and inmates, along with fearing the humiliation of being constantly

  searched by male guards in a male unit and the general degradation of being

  considered a man when she is a transgender woman,” and (2) her medical records

  noting that she has been diagnosed with gender dysphoria.3 (Id. ¶¶ 48–54.) Plaintiff

  alleges that making facility assignments to people in custody solely on the basis of the

  individual’s genitalia violates accepted World Professional Association for Transgender




         3 Plaintiff is also legally blind. (Dkt. #124 ¶ 50.)




                                                  4
                                                                                        A.86
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 5 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 87



  Health (“WPATH”) and Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601 et seq.,

  (“PREA”) standards. (Id. ¶¶ 40–46.)

         Also pursuant to the county’s policies, when booked into the CJC, Plaintiff was

  subjected to a visual body-cavity search by a male deputy. (Id. ¶ 72.) Plaintiff told

  Defendant Elliss, a female deputy, that she did not want Defendant Mustapick, a male

  deputy, present during the search. (Id. ¶ 74.) Nevertheless, after examining Plaintiff’s

  breasts, Defendant Elliss left the room (intentionally misgendering Plaintiff on her way

  out by referring to Plaintiff using male pronouns) and left Plaintiff alone with Defendant

  Mustapick. (Id. ¶ 76.) Defendant Mustapick made lewd and derogatory comments to

  Plaintiff (telling Plaintiff to “spread [her] sexy cheeks” and that he was “going to go balls

  deep in that ass” while grabbing his groin) and “aggressively” searched Plaintiff’s

  genitals. (Id. ¶ 78.) He then threatened Plaintiff and warned her not to tell anyone what

  happened. (Id. ¶ 79.)

         On July 29, 2020, Plaintiff had an ADA interview with Defendant Ford, to whom

  she repeated her request to be placed into housing that corresponded with her gender

  identity. (Id. ¶ 55.) That request was again denied, and Defendant Ford wrote in

  Plaintiff’s records that that there were no disability concerns related to Ms. Griffith’s

  housing, despite gender dysphoria being a disability under the ADA. (Id.)

         Over the next year, Plaintiff submitted numerous grievances and kites about her

  housing assignment and the ongoing harassment. (See id. ¶¶ 56–66.) On at least one

  occasion, it was Defendant O’Neal who conveyed to Plaintiff that one of the grievances

  was denied, although it is unclear if Defendant O’Neal was responsible for denying the

  grievance. (Id. ¶ 57.) In any event, Plaintiff remained housed in the all-male unit.




                                                5
                                                                                          A.87
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 6 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 88



         Throughout her incarceration, Plaintiff was subjected to cross-gender searches

  by male deputies, who would intentionally touch her breasts. (Id. ¶¶ 89–91.) These

  searches caused Plaintiff anxiety and exacerbated her gender dysphoria, and she

  complained about them several times. (Id. ¶¶ 91–95.)

         Plaintiff was also continuously misgendered. For example, on September 16,

  2020, Plaintiff informed Deputy Daniel Holder that, as a transgender woman, she was

  uncomfortable that other inmates in her unit were not wearing shirts. Deputy Holder

  walked over to the other inmates and loudly yelled at them, “the blind faggot said you

  need to put your shirts on.” (Id. ¶ 100.) She was also frequently referred to as “Sir.” (Id.

  ¶ 102.) She consistently complained through the grievance process about being

  misgendered. (Id. ¶¶ 101–04.)

         Defendants denied Plaintiff the ability to dress in accordance with her gender

  identity as well. She had to go without a bra for over a month and, over her repeated

  protests, Plaintiff was denied any women’s underwear. (Id. ¶¶ 110–16.) Plaintiff was not

  allowed to purchase lipstick at the commissary. (Id. ¶¶ 117–19.)

         On July 1, 2021, Plaintiff told Raymond Carrington, a mental health provider,

  that, due to the constant mistreatment, she would remove her penis herself as soon she

  could figure out how to do. (Id. ¶ 31.) Although these concerns were communicated to

  El Paso County officials, Plaintiff attempted self-castratration by wrapping a rubber band

  around her genitals. (Id. ¶ 32.) Plaintiff has a long history of self-harm, including self-

  castration behavior, which worsens when she is not permitted to live in accordance with

  her gender identity and when she is subjected to sexual harassment and misgendering.

  (Id. ¶ 38.)




                                                6
                                                                                          A.88
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 7 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 89



         Finally, on November 18, 2021, Plaintiff was groped and taunted by another

  inmate while laying on her bunk. (Id. ¶ 85.) This was not the first time she had been

  sexually assaulted by this individual; “[a] witness to the assault told El Paso County

  officials that he witnessed at least three to four other similar assaults[.]” (Id. ¶ 87.)

  Plaintiff was not moved to a female unit after the incident.

         Plaintiff asserts sixteen claims for relief under state and federal law:

     •   The First Claim for Relief is a Fourteenth Amendment equal protection claim for

         discrimination against all Defendants.

     •   The Second Claim for Relief is a Fourteenth Amendment conditions of

         confinement claim against all Defendants.

     •   The Third Claim for Relief is a Fourth Amendment unreasonable search claim

         against Defendants El Paso County, Elder, Mustapick, and Elliss.

     •   The Fourth Claim for Relief is a Fourteenth Amendment substantive due

         process claim for invasion of bodily privacy and integrity against Defendants El

         Paso County, Elder, Gillespie, Mustapick, and Elliss.

     •   The Fifth Claim for Relief is brought under Colo. Rev. Stat. § 13-21-131 and

         Colo. Const. Art. II, Section 25 for unreasonable search against Defendants

         Elder, Gillespie, Mustapick, and Elliss.

     •   The Sixth Claim for Relief is brought under Colo. Rev. Stat. § 13-21-131 and

         Colo. Const. Art. II, Section 29 for sex discrimination against Defendants Elder,

         Gillespie, O’Neal, Mustapick, Elliss, Noe, and Ford.

     •   The Seventh Claim for Relief is a substantive due process claim brought under

         Colo. Rev. Stat. § 13-21-131 and Colo. Const. Art. II, Section 25 for invasion of



                                                 7
                                                                                              A.89
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 8 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 90



         bodily privacy and integrity against Defendants Elder, Gillespie, Mustapick, and

         Elliss.

     •   The Eighth Claim for Relief is a cruel and unusual punishment conditions of

         confinement claim brought under Colo. Rev. Stat. § 13-21-131 and Colo. Const.

         Art. II, Section 20 against Defendants Elder, Gillespie, O’Neal, Mustapick, Elliss,

         Noe, and Ford.

     •   The Ninth Claim for Relief is a due process conditions of confinement claim

         brought under Colo. Rev. Stat. § 13-21-131 and Colo. Const. Art. II, Section 25

         against Defendants Elder, Gillespie, O’Neal, Mustapick, Elliss, Noe, and Ford.

     •   The Tenth Claim for Relief is a disability discrimination claim brought pursuant

         to the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101, et. seq.,

         against Defendant El Paso County.

     •   The Eleventh Claim for Relief is a disability discrimination claim brought

         pursuant to the Rehabilitation Act of 1973 (“RA”), 29 U.S.C. § 701, et. seq.,

         against Defendant El Paso County.

     •   The Twelfth Claim for Relief is a sex and transgender discrimination claim

         brought pursuant to the Colorado Anti-Discrimination Act (“CADA”), Colo. Rev.

         Stat. § 24-34-601, et. seq., against all Defendants.

     •   The Thirteenth Claim for Relief is a disability discrimination claim brought

         pursuant to the CADA against all Defendants.

     •   The Fourteenth Claim for Relief is a Fourteenth Amendment failure to protect

         claim against Defendants El Paso County, Elder, Gillespie, O’Neal, Noe, and

         Ford.



                                               8
                                                                                         A.90
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 9 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 91



     •   The Fifteenth Claim for Relief is a cruel and unusual punishment/failure to

         protect claim brought pursuant to Colo. Rev. Stat. § 13-21-131 and Colo. Const.

         Art. II, Section 20 against Defendants El Paso County, Elder, Gillespie, O’Neal,

         Noe, and Ford.

     •   The Sixteenth Claim for Relief is a due process failure to protect claim brought

         pursuant to Colo. Rev. Stat. § 13-21-131 and Colo. Const. Art. II, Section 25

         against Defendants El Paso County, Elder, Gillespie, O’Neal, Noe, and Ford.

  Id. ¶¶ 123–347.

         Defendants now move to dismiss all claims under Rules 12(b)(1) and 12(b)(6) of

  the Federal Rules of Civil Procedure.

                                     LEGAL STANDARDS

  I. Rule 12(b)(1)

         “Federal courts are courts of limited jurisdiction; they are empowered to hear only

  those cases authorized and defined in the Constitution which have been entrusted to

  them under a jurisdictional grant by Congress.” Henry v. Off. of Thrift Supervision, 43

  F.3d 507, 511 (10th Cir. 1994). Statutes conferring subject matter jurisdiction on federal

  courts are to be strictly construed. F & S Constr. Co. v. Jensen, 337 F.2d 160, 161 (10th

  Cir. 1964). “[T]he party invoking federal jurisdiction,” generally the plaintiff, “bears the

  burden of establishing its existence.” Steel Co. v. Citizens for a Better Env’t, 523 U.S.

  83, 104 (1998). Rule 12(b)(1) allows Defendants to raise the defense of the Court’s

  “lack of subject-matter jurisdiction” by motion. Fed. R. Civ. P. 12(b)(1).

         Rule 12(b)(1) motions to dismiss for lack of subject matter jurisdiction “generally

  take one of two forms: (1) a facial attack on the sufficiency of the complaint’s allegations




                                                 9
                                                                                           A.91
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 10 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 92



   as to subject matter jurisdiction; or (2) a challenge to the actual facts upon which subject

   matter jurisdiction is based.” Ruiz v. McDonnell, 299 F.3d 1173, 1180 (10th Cir. 2002).

   A facial attack “questions the sufficiency of the complaint,” and when “reviewing a facial

   attack . . . a district court must accept the allegations in the complaint as true.” Holt v.

   United States, 46 F.3d 1000, 1002 (10th Cir. 1995) abrogated on other grounds by

   Cent. Green Co. v. United States, 531 U.S. 425, 437 (2001). When reviewing a factual

   attack, courts cannot “presume the truthfulness of the complaint’s factual allegations,”

   and may consider documents outside the complaint without converting the motion to

   dismiss into a motion for summary judgment. Ratheal v. United States, No. 20-4099,

   2021 WL 3619902, at *3 (10th Cir. Aug. 16, 2021) (unpublished).

   II. Rule 12(b)(6)

          Rule 12(b)(6) “tests the sufficiency of the allegations within the four corners of the

   complaint after taking those allegations as true.” Mobley v. McCormick, 40 F.3d 337,

   340 (10th Cir. 1994). To survive a Rule 12(b)(6) motion, “[t]he complaint must plead

   sufficient facts, taken as true, to provide ‘plausible grounds’ that discovery will reveal

   evidence to support plaintiff’s allegations.” Shero v. City of Grove, Okla., 510 F.3d 1196,

   1200 (10th Cir. 2007) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

   “[P]lausibility refers to the scope of the allegations in a complaint: if they are so general

   that they encompass a wide swath of conduct, much of it innocent, then the plaintiff[ ]

   [has] not nudged [her] claims across the line from conceivable to plausible.” Khalik v.

   United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012) (internal quotations and citations

   omitted).




                                                 10
                                                                                            A.92
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 11 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 93



          “A claim has facial plausibility when the plaintiff pleads factual content that allows

   the court to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550

   U.S. at 556). In making a plausibility assessment, the Court first discards those

   averments in the TAC that are merely legal conclusions or “threadbare recitals of the

   elements of a cause of action, supported by mere conclusory statements.” Id. at 678–

   79. The Court takes the remaining, well-pled factual contentions, treats them as true,

   and ascertains whether those facts (coupled, of course, with the law establishing the

   requisite elements of the claim) support a claim that is “plausible” or whether the claim

   being asserted is merely “conceivable” or “possible” under the facts alleged. Id. “A

   pleading that offers labels and conclusions or a formulaic recitation of the elements of a

   cause of action will not do. Nor does a complaint suffice if it tenders naked assertion[s]

   devoid of further factual enhancement.” Id. at 678 (brackets in original; internal

   quotation marks omitted).

          “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for

   more than a sheer possibility that [a] defendant has acted unlawfully.” Id. (citation

   omitted). To survive a motion to dismiss pursuant to Rule 12(b)(6), the factual

   allegations in the complaint “must be enough to raise a right to relief above the

   speculative level.” Christy Sports, LLC v. Deer Valley Resort Co., 555 F.3d 1188, 1191

   (10th Cir. 2009). What is required to reach the level of “plausibility” varies from context

   to context, but generally, allegations that are “so general that they encompass a wide

   swath of conduct, much of it innocent,” will not be sufficient. Khalik, 671 F.3d at 1191.

   And “the mere metaphysical possibility that some plaintiff could prove some set of facts




                                                 11
                                                                                           A.93
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 12 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 94



   in support of the pleaded claims is insufficient; the complaint must give the court reason

   to believe that this plaintiff has a reasonable likelihood of mustering factual support for

   these claims.” Ridge at Red Hawk, LLC v. Schneider, 493 F.3d 1174, 1177 (10th Cir.

   2007).

   III. Qualified Immunity

            Qualified immunity, in certain circumstances, protects government officials from

   litigation when they are sued in their individual capacities. See, e.g., Harlow v.

   Fitzgerald, 457 U.S. 800, 814-18 (1982). A government official is entitled to qualified

   immunity from liability for civil damages when the allegedly unlawful conduct did not

   violate any of the plaintiff’s statutory or constitutional rights that (1) were “clearly

   established” at the time of the conduct, and (2) would have been known to a reasonable

   person in the official’s position. Id. at 818. A government official is entitled to qualified

   immunity “[i]n all but the most exceptional cases.” Harris v. Bd. of Educ. of Atlanta, 105

   F.3d 591, 595 (11th Cir. 1997).

            “Qualified immunity gives government officials breathing room to make

   reasonable but mistaken judgments . . . [and] protects ‘all but the plainly incompetent or

   those who knowingly violate the law.’” Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011)

   (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)). “The key to the qualified immunity

   inquiry is the objective reasonableness of the official’s conduct in light of the legal rules

   that were clearly established at the time the action was taken.” Tonkovich v. Kan. Bd. of

   Regents, 159 F.3d 504, 516 (10th Cir. 1998) (internal quotation marks omitted).

            The threshold inquiry is whether the facts taken in the light most favorable to the

   plaintiff sufficiently allege a constitutional violation. Saucier v. Katz, 533 U.S. 194, 201




                                                  12
                                                                                              A.94
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 13 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 95



   (2001). “If no constitutional right would have been violated were the allegations

   established, there is no necessity for further inquiries concerning qualified immunity.” Id.

   However, “if a violation could be made out on a favorable view of the parties’

   submissions,” a court must “ask whether the right was clearly established.” Id.; see also

   Pearson v. Callahan, 555 U.S. 223, 236 (2009) (holding that although qualified immunity

   determination involves a two-part inquiry, if the plaintiff fails either inquiry reviewed in

   any order, no further analysis need be undertaken and qualified immunity is

   appropriate).

          Raising a qualified immunity defense in a motion to dismiss “subjects the

   defendant to a more challenging standard of review than would apply on summary

   judgment.” Sayed v. Virginia, 744 F. App’x 542, 545–46 (10th Cir. 2018) (quoting

   Peterson v. Jensen, 371 F.3d 1199, 1201 (10th Cir. 2004)). “At the motion to dismiss

   stage, it is the defendant’s conduct as alleged in the complaint that is scrutinized for

   objective legal reasonableness.” Id. at 546 (quoting Thomas v. Kaven, 765 F.3d 1183,

   1194 (10th Cir. 2014)). Accordingly, to survive a motion to dismiss, a plaintiff “need ‘only

   allege enough factual matter’ to state a claim that is ‘plausible on its face and provide

   fair notice to a defendant.’” Id. (quoting Keith v. Koerner, 707 F.3d 1185, 1188 (10th Cir.

   2013)).

                                            ANALYSIS

          Defendants move to dismiss all sixteen claims asserted against them. The Court

   will address Defendants’ arguments in turn.




                                                 13
                                                                                            A.95
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 14 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 96



   I. Plaintiff’s Claim Against El Paso County

          Defendant contends that the Court cannot exercise jurisdiction over El Paso

   County because it has not been properly named under Colo. Rev. Stat. § 30-11-105,

   which states, “In all suits or proceedings by or against a county, the name in which the

   county shall sue or be sued shall be, ‘The board of county commissioners of the county

   of ................’” As this is the “exclusive method by which jurisdiction over a county can

   be obtained,” Calahan v. Jefferson Cnty., 429 P.2d 301, 302 (Colo. 1967), Plaintiff’s

   naming of the El Paso County as a defendant is defective, and the County can be

   dismissed due to this jurisdictional defect alone.

          Moreover, Defendants point out that El Paso County is not responsible for the

   CJC’s operations, the El Paso Sheriff’s Office is, and under Colorado law, the county

   sheriff is a separate and distinct position from the board of county commissioners. See

   Terry v. Sullivan, 58 P.3d 1098, 1102 (Colo. App. 2002) (“[T]he Board [of County

   Commissioners] does not exercise managerial control over either the sheriff or the

   detention center and its staff.”); Colo. Rev. Stat. § 30-10-511 (“[T]he sheriff shall have

   charge and custody of the jails of the county, and of the prisoners in the jails, and shall

   supervise them himself or herself through a deputy or jailer.”).

          The Court agrees that El Paso County is not a proper party because Plaintiff only

   alleges misconduct on the party of employees of the El Paso County Sheriff’s Office

   (“EPSO”) working at the CJC. Without more, such misconduct cannot be attributed to El

   Paso County. While the Court will address Plaintiff’s municipal liability claims as

   asserted against the El Paso Sheriff’s Office, her claims against El Paso County should

   be dismissed.




                                                  14
                                                                                             A.96
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 15 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 97



   II. The § 1983 Claims Asserted Against Defendants Elder and Gillespie

          Next, Defendants argue that Plaintiff fails to adequately allege that Defendants

   Elder and Gillespie personally participated in violating Plaintiff’s constitutional rights.

          42 U.S.C. § 1983 provides that “[e]very person who, under color of any statute . .

   . subjects, or causes to be subjected, any citizen of the United States . . . to the

   deprivation of any rights, privileges, or immunities secured by the Constitution and laws,

   shall be liable to the party injured.” Section 1983 creates a “species of tort liability” that

   provides relief to persons deprived of rights secured to them by the Constitution. Carey

   v. Piphus, 435 U.S. 247, 253 (1978) (quotations omitted).

          “Individual liability under § 1983 must be based on personal involvement in the

   alleged constitutional violation.” Gallagher v. Shelton, 587 F.3d 1063, 1069 (10th Cir.

   2009) (quoting Foote v. Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997)). “Personal

   participation in the specific constitutional violation complained of is essential” in a §

   1983 action. Henry v. Storey, 658 F.3d 1235, 1241 (10th Cir. 2011); see also Foote, 118

   F.3d at 1423 (“Individual liability . . . must be based on personal involvement in the

   alleged constitutional violation.”). To establish personal participation, a plaintiff must

   show that each individual defendant caused the deprivation of a federal right. See

   Kentucky v. Graham, 473 U.S. 159, 166 (1985).

          Defendants Elder and Gillespie are being sued in their roles of Sheriff and

   Commander, respectively. But the mere fact that a government official has supervisory

   or managerial authority does not create § 1983 liability. Id. (citing Duffield v. Jackson,

   545 F.3d 1234, 1239 (10th Cir. 2008)). Rather, there must be “an affirmative link . . .

   between the constitutional deprivation and either the supervisor’s personal participation,




                                                 15
                                                                                            A.97
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 16 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 98



   his exercise of control or direction, or his failure to supervise.” Id. (quoting Green v.

   Branson, 108 F.3d 1296, 1302 (10th Cir. 1997)); accord Butler v. City of Norman, 992

   F.2d 1053, 1055 (10th Cir. 1993) (citing Meade v. Grubbs, 841 F.2d 1512, 1527 (10th

   Cir. 1988)). “When an official is sued on the basis of his supervisory status and policy-

   making authority, a plaintiff may establish the affirmative link by demonstrating that the

   defendant: ‘(1) promulgated, created, implemented or possessed responsibility for the

   continued operation of a policy, (2) caused the complained of constitutional harm, and

   (3) acted with the state of mind required to establish the alleged constitutional

   deprivation.’” Est. of Yoemans by & through Ishmael v. Campbell, 501 F. Supp. 3d

   1034, 1053 (D. Colo. 2020) (quoting Dodds v. Richardson, 614 F.3d 1185, 1199 (10th

   Cir. 2010)).

          With respect to Defendant Gillespie, Plaintiff makes several accusations that he

   was personally responsible for denying Plaintiff female clothing and grooming products.

   (See Dkt. #124 ¶¶ 114, 117.) Thus, Plaintiff has alleged that he personally participated

   in that alleged violation of Plaintiff’s equal protection rights (although, as discussed

   below, Gillespie is protected by qualified immunity on this claim). However, Plaintiff’s

   allegations regarding Gillespie’s role in her housing assignments (see id. ¶ 220) and as

   a policymaker (see id. ¶¶ 42, 57, 312, 326, 340) are conclusory. Thus, Plaintiff’s claims

   against Defendant Gillespie should be dismissed

          The Court will address Plaintiff’s claims against Defendant Elder as a final

   policymaker in its municipal liability section below.




                                                 16
                                                                                           A.98
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 17 of
                                       43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 99



   III. Plaintiff’s Fourteenth Amendment Claims (One, Two, Four, and Fourteen)

          Plaintiff asserts four claims under the Fourteenth Amendment for: (1) violating

   her equal protection rights; (2) subjecting her to unconstitutional conditions of

   confinement; (3) violating her substantive due process rights, and (4) failure to protect.

          a.     Equal Protection Claim (Claim One)

          The Equal Protection Clause of the Fourteenth Amendment provides that “[n]o

   State shall make or enforce any law which shall . . . deny to any person within its

   jurisdiction the equal protection of the laws.” U.S. Const. Amend XIV, § 1. The

   Fourteenth Amendment’s equal protection guarantee “is essentially a directive that all

   persons similarly situated should be treated alike.” City of Cleburne v. Cleburne Living

   Ctr., 473 U.S. 432, 439 (1985). But the Equal Protection Clause “doesn’t guarantee

   equal results for all, or suggest that the law may never draw distinctions between

   persons in meaningful dissimilar situations.” SECSYS, LLC v. Vigil, 666 F.3d 678, 684

   (10th Cir. 2012). Rather, “[i]t seeks to ensure that any classifications the law makes are

   made ‘without respect to persons,’ that like cases are treated alike, [and] that those who

   ‘appear similarly situated’ are not treated differently without, at the very least, a rational

   reason for the difference.’” Id. at 684–85 (quoting Engquist v. Or. Dep’t of Agric., 553

   U.S. 591, 602 (2008)). A plaintiff can assert an equal protection claim either under the

   “traditional” theory of a class-based claim or under a “class-of-one theory.” See id. at

   685–690 (discussing both theories).

          To state an equal protection claim, a plaintiff must allege:

          (1) that similarly-situated individuals were treated differently; and (2) either
          that the differential treatment was based on a suspect classification or
          fundamental right and not supported by a compelling government interest,
          or if the differential treatment was not based on a suspect classification or



                                                 17
                                                                                             A.99
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 18 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 100



          fundamental right, the differential treatment was not justified by a rational
          connection to a legitimate state interest.

   Buggs v. Trujillo, No. 13-cv-00300-CMA-MJW, 2014 WL 420005, at *7 (D. Colo. Feb. 4,

   2014) (citations omitted).

          The Tenth Circuit has explained,

          If the challenged government action implicates a fundamental right, or
          classifies individuals using a suspect classification, such as race or national
          origin, a court will review that challenged action applying strict
          scrutiny. See Johnson v. California, 543 U.S. 499, 505, 125 S. Ct. 1141,
          160 L. Ed. 2d 949 (2005) (addressing racial classification); Save Palisade
          FruitLands v. Todd, 279 F.3d 1204, 1210 (10th Cir. 2002) (addressing
          classifications that “target a suspect class or involve a fundamental right”).
          In such a case, “the government has the burden of proving that [its]
          classifications are narrowly tailored measures that further compelling
          governmental interests.” Johnson, 543 U.S. at 505, 125 S. Ct. 1141
          (quotation omitted).

          If, instead, the challenged government action classifies people according to
          a quasi-suspect characteristic, such as gender or illegitimacy, then this
          court will apply intermediate scrutiny. See Todd, 279 F.3d at 1210. In those
          cases, the test would be whether the government can demonstrate that its
          classification serves “important governmental objectives” and is
          “substantially related to achievement of those objectives.” Concrete Works
          of Colo., Inc. v. City and County of Denver, 321 F.3d 950, 959 (10th Cir.
          2003).

          Finally, where the challenged government action does not implicate either
          a fundamental right or a protected class, this court will apply a rational basis
          test. See Todd, 279 F.3d at 1210. In those cases, this court inquires
          whether the government’s classification bears “a rational relation to some
          legitimate end.” Id. at 1213 (quotation omitted).

   Price-Cornelison v. Brooks, 524 F.3d 1103, 1109–10 (10th Cir. 2008).

          Plaintiff alleges that “discrimination against transgender people is a form of sex

   discrimination that is presumptively unconstitutional and subject to heightened scrutiny.”

   (Dkt. #124 ¶ 125.) Defendants disagree, arguing that “[t]ransgender is not a suspect or

   quasi-suspect class; therefore, the Defendants’ classifications are subject to only




                                                18
                                                                                         A.100
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 19 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 101



   rational basis analysis.” (Dkt. #132 at 11.) Regretfully, based on binding Tenth Circuit

   precedent that this Court is obligated to follow, the Court must agree with Defendants.

          Over twenty years ago, the Tenth Circuit issued its opinion in Brown v. Zavaras,

   63 F.3d 967 (10th Cir. 1995). In that case, the court rejected a transgender4 inmate’s

   claim that by denying her estrogen treatment, the defendants violated her equal

   protection rights. The court relied on Holloway v. Arthur Andersen & Co., 566 F.2d

   659 (9th Cir. 1977), where the Ninth Circuit “held that transexuals are not a

   protected class . . . because transsexuals are not a discrete and insular minority,

   and because the plaintiff did not establish that ‘transsexuality is an immutable

   characteristic determined solely by the accident of birth’ like race, or national origin.’”

   Brown, 63 F.3d at 971 (quoting Holloway, 566 F.2d at 663). Despite recognizing that

   “[r]ecent research concluding that sexual identity may be biological suggests

   reevaluating Holloway,” the court determined that the plaintiff’s “allegations are too

   conclusory to allow proper analysis of this legal question.” Id. Thus, the court

   decided to “follow Holloway and hold that [the plaintiff] is not a member of a protected

   class in this case.” Id. Subsequent unpublished Tenth Circuit opinions have confirmed

   that, “[t]o date, this court has not held that a transsexual plaintiff is a member of a

   protected suspect class for purposes of Equal Protection claims.” Druley v. Patton, 601

   F. App’x 632, 635 (10th Cir. 2015); see also Qz’etax v. Ortiz, 170 F. App’x 551, 553

   (10th Cir. 2006).



          4 The court in Brown used the older term “transexual” and, although the plaintiff

   identified as female, the court used he/him pronouns because the plaintiff “is biologically
   male and refers to himself with masculine pronouns throughout his pleadings.” Brown,
   63 F.3d at 968 n.1.


                                                 19
                                                                                         A.101
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 20 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 102



          This Court has little trouble stating that the Tenth Circuit needs to revisit its

   holding in Brown v. Zavaras. First, the Ninth Circuit authority it followed has since been

   overruled. See Schwenk v. Hartford, 204 F.3d 1187, 1201 (9th Cir. 2000); see also

   Norsworthy v. Beard, 87 F. Supp. 3d 1104, 1119 (N.D. Cal. 2015) (recognizing that

   Holloway “is no longer good law” and, applying Schwenk, concluding that

   “discrimination based on transgender status independently qualifies as a suspect

   classification under the Equal Protection Clause because transgender persons meet the

   indicia of a ‘suspect’ or ‘quasi-suspect classification’ identified by the Supreme Court”);

   Karnoski v. Trump, 926 F.3d 1180, 1200 (9th Cir. 2019) (affirming the district court’s

   reasoning as to why transgender people are a quasi-suspect class). Second, it appears

   that the Tenth Circuit is out-of-step with the “many district courts” that “have analyzed

   the relevant factors for determining suspect class status and held that transgender

   people are at least a quasi-suspect class.” Grimm v. Gloucester Cnty. Sch. Bd., 972

   F.3d 586, 610 (4th Cir. 2020) (citing cases). Indeed, in Grimm, the Fourth Circuit,

   pointing to Brown, stated “[o]nly one court of appeals decision holding otherwise

   remains good law.” Id. The Grimm decision also noted that Brown “reluctantly followed a

   since-overruled Ninth Circuit opinion. Id. at 611. Thus, it is likely that heightened

   scrutiny should apply to transgender people.

          But Brown does remain, if not good in the normative sense, at least binding law

   on district courts in this district. The Court acknowledges the undeniable truth of

   Plaintiff’s statement that a “growing consensus of courts have held that transgender

   individuals constitute a suspect or quasi-suspect class.” (See Dkt. #147 at 9 n.1 (citing

   cases).) As articulated by one district court, “one would be hard-pressed to identify a




                                                 20
                                                                                           A.102
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 21 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 103



   class of people more discriminated against historically or otherwise more deserving of

   the application of heightened scrutiny when singled out for adverse treatment, than

   transgender people.” Flack v. Wis. Dep’t of Health Servs., 328 F. Supp. 3d 931, 953

   (W.D. Wis. 2018); see also Karnoski v. Trump, No. C17-1297-MJP, 2018 WL 1784464,

   at *1 (W.D. Wash. Apr. 13, 2018) (“The Court also rules that, because transgender

   people have long been subjected to systemic oppression and forced to live in silence,

   they are a protected class.”).

          Indeed, if this Court were to apply the four-factor test used to determine whether

   a group constitutes a suspect or quasi-suspect class, in this Court’s view, transgender

   people easily check all the boxes. The group has historically been subject to

   discrimination. The group has a defining characteristic that bears a relation to its ability

   to perform or contribute to society. The group may be defined as a discrete group by

   obvious, immutable, or distinguishing characteristics.5 And the group is a minority that

   lacks political power. See Grimm, 972 F.3d at 611–13.

          But, conspicuously, despite the “growing consensus” seen in district court cases

   around the country that apply heightened scrutiny to transgender people, none of the

   cases cited come from this circuit. Even if the Court were to agree with the

   straightforward holding in Grimm that it is “apparent that transgender persons constitute



          5 The Grimm decision relied on an amicus brief from medical experts to come to

   a very different conclusion as to the immutability of transgender characteristics from the
   Tenth Circuit in Brown: “As to the third factor, transgender people constitute a discrete
   group with immutable characteristics: Recall that gender identity is formulated for most
   people at a very early age, and, as our medical amici explain, being transgender is not a
   choice. Rather, it is as natural and immutable as being cisgender.” Grimm, 972 F.3d at
   612–13. By contrast, the Brown court was presented with a pro se plaintiff whose
   “conclusory” allegations were inadequate to allow the Tenth Circuit to make a “proper
   analysis” of the immutability question. Brown, 63 F.3d at 971


                                                21
                                                                                         A.103
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 22 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 104



   a quasi-suspect class,” 972 F.3d at 611, it cannot ignore or overrule binding Tenth

   Circuit precedent that says otherwise. As Plaintiff herself says in opposing the motion to

   dismiss, “this case ‘is part of a larger movement that is redefining and broadening the

   scope of civil and human rights so that they extend to a vulnerable group that has

   traditionally been unrecognized, unrepresented, and unprotected.’” (Dkt. #147 at 1

   (quoting G.G. v. Gloucester Cnty. Sch. Bd., 853 F.3d 729, 730 (4th Cir. 2017) (Davis, J.,

   concurring)). But to the extent that Plaintiff, via this case, wants to “broaden the scope

   of civil and human rights” by changing Tenth Circuit law, it must be for the Tenth Circuit

   (or the Supreme Court) to take that step. This Court is bound to follow Tenth Circuit

   precedent unless it is overturned by the Tenth Circuit or a superseding contrary decision

   by the Supreme Court. See Burlington N. & Santa Fe Ry. Co. v. Burton, 270 F.3d 942,

   947 (10th Cir. 2001).

          Of course, if a transgender person does not qualify as a member of a suspect

   or quasi-suspect class, unequal treatment that does not involve a fundamental right

   or suspect classification must still bear a rational relation to legitimate penal interest.

   In this circumstance, a state action survives judicial review “if there is ‘any

   reasonably conceivable state of facts that could provide a rational basis for the

   classification.’” Davoll v. Webb, 194 F.3d 1116, 1145 (10th Cir. 1999) (citing

   Spragens v. Shalala, 36 F.3d 947, 951 n.3 (10th Cir. 1994)). A court “will only strike

   the [action] down if the state’s classification ‘rests on grounds wholly irrelevant to the

   achievement of the State’s objective.’” City of Herriman v. Bell, 590 F.3d 1176, 1194

   (10th Cir. 2010) (emphasis in original).




                                                22
                                                                                       A.104
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 23 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 105



          As the Tenth Circuit explained in Brown, it is a “perplexing situation . . . when

   the rational basis standard meets the standard applied to a dismissal.” 63 F.3d at

   971 (quoting Wroblewski v. City of Washburn, 965 F.2d 452, 459-60 (7th Cir. 1992)).

   In adopting the framework applied by the Seventh Circuit, the Tenth Circuit

   instructed that lower courts should “take as true all of the complaint’s allegations and

   reasonable inferences that follow” and “apply the resulting ‘facts’ in light of the

   deferential rational basis standard.” Id. (citing Wroblewski, 965 F.2d at 460). Thus,

   the Tenth Circuit opined, “[t]o survive a motion to dismiss for failure to state a claim,

   a plaintiff must allege facts sufficient to overcome the presumption of rationality that

   applies to government classifications.” Id.

          Here, Plaintiff alleges that that the El Paso County Sheriff’s Office (via

   Defendant Elder) has a policy in place to “make facility assignments to people in

   custody solely on the basis of the individual’s genitalia,” despite knowing that this

   “places transgender people at risk for victimization.” (Dkt. #124 ¶ 42.) She alleges that

   the discriminatory placement decisions “were taken without an important or legitimate

   governmental interest or rational reason, and they had no penological basis to deny

   Plaintiff a safe and appropriate placement in a female facility, based on her sex, gender

   identity, characteristics, risk factors, and her history of sexual victimization in male

   facilities.” (Id. ¶ 134.) She also alleges that she and other transgender inmates were

   denied access to items like clothing and grooming products that were available to

   cisgender female inmates. (Id. ¶¶ 110–22.) For their part, Defendants claim only that the

   “classification of Plaintiff as male, housing Plaintiff in the male ward, and employing




                                                 23
                                                                                           A.105
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 24 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 106



   reasonable search procedures were all actions rationally based in the need to provide

   for the safe and secure function of CJC.” (Dkt. #132 at 13.)

          If the Tenth Circuit were to recognize transgender people as a quasi-suspect or

   suspect class whose treatment was subject to intermediate or strict scrutiny, then the

   Court would not hesitate to conclude (at least at the motion to dismiss stage) that

   Plaintiff’s placement as a transgender woman in an all-male unit was not substantially

   related to an important governmental interest. See, e.g. Tay v. Dennison, 457 F. Supp.

   3d 657, 682 (S.D. Ill. 2020) (holding that a transgender prisoner’s placement in a men’s

   prison was not substantially related to an important government interest even though

   the prisoner had a history of violent behavior); Hampton v. Baldwin, No. 3:18-CV-550-

   NJR-RJD, 2018 WL 5830730, at *12 (S.D. Ill. Nov. 7, 2018) (finding that a transgender

   female inmate’s equal protection claim based on her placement in a men’s prison had a

   “greater than negligible chance of success on the merits”). But, this Court is compelled

   by the Tenth Circuit to apply the rational basis test.

          The Court finds that Plaintiff has not adequately alleged that there is no rational

   reason for Defendants to house transgender women in all-male units and not provide

   them with feminine products. Plaintiff’s claims to the contrary cannot overcome the

   presumption of rationality that attach to government decision involving a person who is

   not a member of a suspect class. See Druley, 601 F. App'x at 635 (“Ms. Druley did not

   allege any facts suggesting the ODOC defendants' decisions concerning her clothing or

   housing do not bear a rational relation to a legitimate state purpose.”). Thus, the Court

   cannot find that there was no rational basis for assigning all prisoners with male




                                                24
                                                                                        A.106
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 25 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 107



   genitalia, including transgender women, to the same housing facility, and Plaintiff’s

   equal protection claim should be dismissed.

          b.     Conditions of Confinement/Substantive Due Process Claims (Claims
                 Two and Four)

          “Pre-trial detainees have a Fourteenth Amendment due process right to humane

   conditions of confinement that is co-extensive with the Eighth Amendment right of

   convicted prisoners.” Waring v. Storey, No. 12-cv-01338-BNB, 2012 WL 3245951, at *2

   (D. Colo. Aug. 7, 2012). To state a due process claim based on unconstitutional

   conditions of confinement, a plaintiff must allege facts plausibly establishing both an

   objective and a subjective component. Farmer v. Brennan, 511 U.S. 825, 834 (1994). A

   plaintiff satisfies the objective component by alleging facts demonstrating that the

   “conditions [of confinement] were more than uncomfortable, and instead rose to the

   level of ‘conditions posing a substantial risk of serious harm’ to inmate health or safety.”

   DeSpain v. Uphoff, 264 F.3d 965, 973 (10th Cir. 2001). And with respect to the

   subjective prong, a claimant makes a sufficient showing by alleging that the defendant

   “[knew] of and disregard[ed] an excessive risk to inmate health or safety.” Id. at 975.

          Moreover, “a pretrial detainee can establish a due-process violation by ‘providing

   only objective evidence that the challenged governmental action is not rationally related

   to a legitimate governmental objective or that it is excessive in relation to that purpose.’”

   Colbruno v. Kessler, 928 F.3d 1155, 1163 (10th Cir. 2019) (quoting Kingsley v.

   Hendrickson, 576 U.S. 389, 389 (2015)).

          Defendants argue in their motion that Plaintiff’s claim fails for a variety of

   reasons. Unhelpfully, Plaintiff ignores these arguments and proceeds to her substantive

   due process claim. The Court will therefore address the two claims together.



                                                25
                                                                                           A.107
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 26 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 108



          Defendants first contend, and the Court agrees, that Plaintiff does not allege

   personal participation as to Defendant O’Neal, who is only alleged to have informed

   Plaintiff that one of her grievances was denied. (Dkt. #124 ¶ 57.) Plaintiff does not

   allege that Defendant O’Neal was even the one to deny the grievance and, in any event,

   a denial of a grievance, by itself and without any connection to the violation of

   constitutional rights alleged by plaintiff, does not establish personal participation under

   § 1983.” Gallagher v. Shelton, 587 F.3d 1063, 1069 (10th Cir. 2009).

          Defendants next argue that Plaintiff cannot maintain a claim against Defendant

   Noe (who made the initial housing assignment) or Ford (who later refused to “re-

   classify” Plaintiff) because she does not allege either subjective or objective elements of

   deliberate indifference. Plaintiff does not counter this argument, and the Court must

   agree with Defendants. Plaintiff does not plausibly allege that Defendants Noe or Ford

   were aware that Plaintiff would be at risk of substantial harm if placed in the all-male

   facility or that they disregarded that risk. Moreover, Plaintiff has not demonstrated that

   her right to be placed in a female unit was clearly established, given the binding Tenth

   Circuit precedent described above.

          Defendants further maintain that Plaintiff’s conditions of confinement claim

   should be dismissed as to Defendants Elliss and Mustapick. Again, Plaintiff chose not to

   respond to these arguments. As to Defendant Elliss, the Court agrees with Defendants

   that one instance of misgendering, although no light matter, is not sufficient to state a

   claim for unconstitutional conditions of confinement. As to Defendant Mustapick,

   however, Plaintiff does argue that he violated her substantive due process rights by




                                                26
                                                                                        A.108
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 27 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 109



   “subject[ing] her to unconstitutional conditions of confinement through the cross-gender

   visual body-cavity search he performed on her.” (Dkt. #147 at 17.)

          The Tenth Circuit has recognized that inmates retain a limited right to bodily

   privacy under the Fourteenth Amendment. See Cumbey v. Meachum, 684 F.2d 712,

   714 (10th Cir. 1982) (“Although the inmates’ right to privacy must yield to the penal

   institution’s need to maintain security, it does not vanish altogether.”); Michenfelder v.

   Sumner, 860 F.2d 328, 332 (9th Cir. 1988) (“Shielding one’s unclothed figure from the

   view of strangers, particularly strangers of the opposite sex is impelled by elementary

   self-respect and personal dignity.”). An inmate’s interest in bodily privacy may be

   restricted “only to the extent necessary to further the correction system’s legitimate

   goals and policies.” Cumbey, 684 F.2d at 714.

          As an initial matter, the Court disagrees with Defendants that this claim is more

   properly brought under the Eighth Amendment’s cruel and unusual punishment clause

   rather than the Fourteenth Amendment’s substantive due process guarantee. In

   Graham v. Connor, the Supreme Court held that when government conduct is

   constrained by “an explicit textual source of constitutional protection . . . that

   Amendment, not the more generalized notion of ‘substantive due process,’ must be the

   guide for analyzing these claims” because “[a]ny protection that ‘substantive due

   process’ affords convicted prisoners against excessive force is . . . at best redundant of

   that provided by the Eighth Amendment.” 490 U.S. 386, 395 n.10 (1989). But the Eighth

   Amendment applies to those prisoners already convicted of a crime. Plaintiff is (or was

   at the time of filing) a pretrial detainee, and therefore “finds h[er]self in the criminal

   justice system somewhere between the two stools of an initial seizure and post-




                                                  27
                                                                                           A.109
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 28 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 110



   conviction punishment. Porro v. Barnes, 624 F.3d 1322, 1326 (10th Cir. 2010). In these

   circumstances, the due process clause of the Fourteenth Amendment and its protection

   against arbitrary governmental action by federal or state authorities applies. Id.

          Turning to the visual body-cavity search itself, Plaintiff alleges that she was made

   to strip naked and told to spread her “sexy” butt cheeks to “go balls deep” while

   Defendant Mustapick grabbed his own penis. (Dkt. #124 ¶¶ 71-83.) Though this is

   sickening behavior, Plaintiff does not meet her burden in showing that it is clearly

   established that cross-gender searches of transgender women, even ones

   accompanied by odious verbal harassment, violate a clearly established constitutional

   right, nor is the conduct so egregious and the right so obvious that it could be deemed

   clearly established even without materially similar cases. C.f. Lowe v. Raemisch, 864

   F.3d 1205, 1210 (10th Cir. 2017) (“When the public official’s conduct is egregious, even

   a general precedent would apply with obvious clarity. After all, some things are so

   obviously unlawful that they don’t require detailed explanation and sometimes the most

   obviously unlawful things happen so rarely that a case on point is itself an unusual

   thing” (citations and quotations omitted)). Despite the alleged abhorrent statements that

   accompanied the search, Plaintiff has failed to persuade the Court that such a comment

   in connection with a cross-gender search rises to the point of violating an established

   constitutional right. Defendant Mustapick is entitled to qualified immunity on Plaintiff’s

   substantive due process claim and, by extension, so is Defendant Elliss on any claim

   that she failed to intervene.

          Finally, the Court agrees with Defendants that Plaintiff’s argument that

   Defendants should be liable for the “near-constant” harassment she was subjected to




                                                28
                                                                                          A.110
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 29 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 111



   and the “repeated” cross-gender pat down search is too generalized and imprecise to

   adequately allege personal participation as to the specified individual Defendants.

          c.     Failure to Protect (Claim Fourteen)

          A failure to protect claim is comprised of two elements. “First, an inmate must

   show that [s]he is incarcerated under conditions posing a substantial risk of serious

   harm.” Riddle v. Mondragon, 83 F.3d 1197, 1204 (10th Cir.1996) (citation omitted).

   “Second, the inmate must establish that the prison official has a sufficiently culpable

   state of mind, i.e., that he or she is deliberately indifferent to the inmate’s health or

   safety.” Id. (internal quotation marks and citation omitted). “The prison official’s state of

   mind is measured by a subjective, rather than an objective, standard.” Id. (citation

   omitted). “In other words, the official must both be aware of facts from which the

   inference could be drawn that a substantial risk of serious harm exists, and he must

   also draw the inference.” Id. see also Benefield v. McDowell, 241 F.3d 1267, 1270–71

   (10th Cir. 2001) (“[I]n order to establish a cognizable Eighth Amendment claim for failure

   to protect, a plaintiff must show that he is incarcerated under conditions posing a

   substantial risk of serious harm, the objective component, and that the prison official

   was deliberately indifferent to his safety, the subjective component.”) (internal quotation

   marks and citations omitted).

          Plaintiff claims that Defendants were aware that Ms. Griffith is a transgender

   woman, knew she is blind, and knew, because of these two things, that placing her into

   an all-male unit would make her particularly vulnerable to sexual assault. The Court is

   not persuaded.




                                                 29
                                                                                          A.111
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 30 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 112



          First, as Defendants’ note, Plaintiff does not allege that any Defendants other

   than Noe and Ford were involved in Plaintiff’s housing assignment. Therefore, this

   failure to protect claim could only be maintained against these two Defendants due to

   the personal participation requirement.

          Second, their mere knowledge of Plaintiff’s disabilities (gender dysphoria and

   blindness) alone is not enough for hold Defendants Noe and Ford liable for failing to

   prevent Plaintiff’s sexual assault. Significantly, both Defendants made their decisions

   regarding Plaintiff’s housing assignment in July 2020, but Plaintiff alleges she was

   sexually assaulted by a fellow inmate on November 18, 2021. This 16-month span

   raises evident questions of causation. It strongly suggests that Defendants Noe and

   Ford had no reason to suspect that Plaintiff was in substantial and immediate danger.

          Accordingly, Plaintiff does not state a claim for failure to protect, and Defendants

   Ford, O’Neal, Noe, Gillespie, and Elder are entitled to qualified immunity.

   III. Fourth Amendment

          Plaintiff asserts that the visual strip search conducted by Defendants Mustapick

   and Elliss violated her Fourth Amendment right to be free from unreasonable searches

   and seizures as well as her Fourteenth Amendment substantive due process rights. As

   both claims require the careful balancing of penological concerns with inmates’ right to

   privacy, the Court’s analysis of the two will necessarily overlap.

          It has long been recognized that “[l]awful incarceration brings about the

   necessary withdrawal or limitation of many privileges and rights, a retraction justified by

   the considerations underlying our penal system.” Price v. Johnston, 334 U.S. 266, 285

   (1948). Thus, a prisoner’s limited constitutional right to bodily privacy under the




                                                30
                                                                                         A.112
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 31 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 113



   Fourteenth Amendment, as addressed above, and to be free of unreasonable searches

   and seizures under the Fourth Amendment, must be weighed against the requirements

   of prison administration. Turner v. Safley, 482 U.S. 78, 84–85 (1987). The Court affords

   deference to the expertise of correctional officials, who “must be permitted to devise

   reasonable search policies to detect and deter the possession of contraband in their

   facilities.” Florence v. Bd. of Chosen Freeholders of Cnty. of Burlington, 566 U.S. 318,

   328, (2012) (citing Bell v. Wolfish, 441 U.S. 520, 546 (1979). However, as previously,

   “[a]lthough the inmates’ right to privacy must yield to the penal institution’s need to

   maintain security, it does not vanish altogether.” Cumbey, 684 F.2d at 714.

          “[A] strip search is an invasion of personal rights of the first magnitude.”

   Chapman v. Nichols, 989 F.2d 393, 395 (10th Cir.1993); “[T]he greater the intrusion, the

   greater must be the reason for conducting a search.” Levoy v. Mills, 788 F.2d 1437,

   1439 (10th Cir. 1986) (citing Blackburn v. Snow, 771 F.2d 556, 565 (1st Cir.1985)).

   Determining the reasonableness or “constitutionality of a strip search ‘requires a

   balancing of the need for the particular search against the invasion of personal rights

   that the search entails.’” Farmer v. Perrill, 288 F.3d 1254, 1259 (10th Cir. 2002) (quoting

   Bell, 441 U.S. at 559). Although the “test of reasonableness under the Fourth

   Amendment is not capable of precise definition or mechanical application,” in making

   this determination, “[c]ourts must consider the scope of the particular intrusion, the

   manner in which it is conducted, the justification for initiating it, and the place in which it

   is conducted.” Bell, 441 U.S. at 559. These factors aim to “[b]alanc[e] the significant and

   legitimate security interests of the institution against the privacy interests of the

   inmates.” Id. at 560. “[A] regulation impinging on an inmate’s constitutional rights must




                                                 31
                                                                                           A.113
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 32 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 114



   be upheld if it is reasonably related to legitimate penological interests.” Florence, 566

   U.S. at 326 (internal quotation marks omitted).

          Here, the scope of the search was invasive. See Hyberg v. Enslow, 801 F. App’x

   647, 650 (10th Cir. 2020) (unpublished) (labelling strip searches “undeniably invasive”).

   However, “there are obvious security concerns inherent when an inmate will be placed

   in the general prison population.” Id. (citing Archuleta v. Wagner, 523 F.3d 1278, 1284

   (10th Cir. 2008)). Plaintiff was being processed for placement in the CJC’s general

   population; “[t]here were therefore legitimate security interests served by the search[ ].”

   Id. According to the TAC, the search was performed in a “separate room,” away from

   other inmates and CJC staff. See Farmer, 288 F.3d at 1260 (recognizing a strip search

   may be unreasonable if conducted in the open, “visible to a number of other inmates

   and staff,” and without regard for the inmate’s privacy interests); see also id. at 1261

   (“[I]nfringements on prisoners’ constitutional rights must not be arbitrary or irrational, nor

   an exaggerated response to security needs.” (internal quotation marks omitted)). And In

   the Tenth Circuit, it is established that “the Constitution does not require ‘complete

   privacy’ for a strip search.” Smith v. Trapp, No. 14-3220-JAR-JPO, 2018 WL 587230, *4

   (D. Kan. Jan. 29, 2018) (quoting Daughtery v. Harris, 476 F.2d 292, 294 (10th Cir.

   1973)).

          As to the manner in which the search was conducted, a female deputy,

   Defendant Elliss, examined Plaintiff’s bare breasts, and a male deputy, Defendant

   Mustapick, performed the search of Plaintiff’s genitals. “Courts throughout the country

   have universally frowned upon cross-gender strip searches in the absence of an

   emergency or exigent circumstances.” Byrd v. Maricopa Cnty. Sheriff’s Dep’t, 629 F.3d




                                                32
                                                                                         A.114
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 33 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 115



   1135, 1143 (9th Cir. 2011); see also Hayes v. Marriott, 70 F.3d 1147 (10th Cir.1995)

   (recognizing that an inmate’s privacy rights may be violated by a single cross-gender

   strip search); (Harris v. Miller, 818 F.3d 49, 59 (2d Cir. 2016) (“Indeed, best-practice

   standards in prison management typically discourage cross-gender strip searches.”).

   Plaintiff also alleges that Defendant Mustapick made frightening and humiliating

   comments to her and performed the search “aggressively.” A search conducted in an

   abusive manner can be considered unreasonable and violative of the Fourth

   Amendment. See Bell, 441 U.S. at 560. However, “not . . . every malevolent touch by a

   prison guard gives rise to a federal cause of action.” Hudson v. McMillian, 503 U.S. 1, 9

   (1992). In Hyberg, the Tenth Circuit cited some examples type of conduct courts have

   found to be needlessly intrusive or abusive. See 801 F. App’x at 650–51 (citing Hayes,

   70 F.3d at 1147 (reversing grant of summary judgment on Fourth Amendment claim

   where inmate alleged he was subjected to a video recorded “body cavity search

   [conducted] in the presence of over 100 people, including female secretaries and case

   managers from other buildings”); Calhoun v. DeTella, 319 F.3d 936, 940 (7th Cir. 2003)

   (holding inmate stated an Eighth Amendment claim by alleging that during search,

   guards made “ribald comments and sexually explicit gestures,” “forced him to perform

   sexually provocative acts,” and female guards “were neither mere passersby nor

   performing [a] legitimate penological function,” but “were instead invited spectators”)).

   The alleged conduct here, reprehensible as it is, does not rise to that level. On balance,

   then, despite the intrusiveness of the search and offensive manner it was performed,

   the Court finds that Plaintiff does not state a plausible violation of the Fourth

   Amendment.




                                                33
                                                                                        A.115
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 34 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 116



          Even if the Court determined that Plaintiff could plausibly state a Fourth

   Amendment claim, like her Fourteenth Amendment claim, it would necessarily fail based

   on the “clearly established” prong of qualified immunity. Plaintiff offers no Supreme

   Court or Tenth Circuit precedent clearly establishing that a visual strip search by a male

   and female deputy of a transgender inmate who identifies as female, has female

   breasts, and has male genitals violates the Fourth Amendment’s prohibition of

   unreasonable searches and seizures. Accordingly, this claim should be dismissed.

   IV. Municipal Liability

          Plaintiff asserts claims against Defendant Elder in his personal capacity and his

   official capacity as El Paso County Sheriff. “An action against a person in his official

   capacity is, in reality, an action against the government entity for whom the person

   works.” Pietrowski v. Town of Dibble, 134 F.3d 1006, 1009 (10th Cir. 1998).

   Government entities can be sued directly only where “the action that is alleged to be

   unconstitutional implements or executes a policy statement, ordinance, regulation, or

   decision officially adopted and promulgated by that body’s officers.” Monell v. Dep’t of

   Soc. Servs. of City of New York, 436 U.S. 658, 690 (1978). “[I]t is when execution of a

   government’s policy or custom, whether made by its lawmakers or by those whose

   edicts or acts may fairly be said to represent official policy, inflicts the injury that the

   government as an entity is responsible under § 1983.” Id. at 694.

          “[A] claim under § 1983 against . . . a municipality cannot survive a determination

   that there has been no constitutional violation.” Crowson v. Wash. Cnty. Utah, 983 F.3d

   1166 (10th Cir. 2020). “[T]here must be a constitutional violation, not just an

   unconstitutional policy, for a municipality to be held liable.” Id. at 1191. As discussed




                                                  34
                                                                                            A.116
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 35 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 117



   above, Plaintiff has not alleged facts demonstrating that she suffered a constitutional

   injury. Therefore, the Court finds that he cannot state a claim against Defendant Elder in

   his official capacity. Accordingly, the Court respectfully recommends that Plaintiff’s

   municipal liability claims be dismissed.

   V. Plaintiff’s ADA and RA Claims (Claims Ten and Eleven)

          Title II of the ADA states, in relevant part, that “no qualified individual with a

   disability shall, by reason of such disability, be excluded from participation in or be

   denied the benefits of the services, programs, or activities of a public entity, or be

   subjected to discrimination by any such entity.” 42 U.S.C. § 12132. ADA regulations

   require public entities to “make reasonable modifications in policies, practices, or

   procedures when the modifications are necessary to avoid discrimination on the basis of

   disability.” 28 C.F.R. § 35.130(b)(7). To state a claim under Title II, a plaintiff must

   allege that “(1) [s]he is a qualified individual with a disability, (2) who was excluded from

   participation in or denied the benefits of a public entity’s services, programs, or

   activities, and (3) such exclusion, denial of benefits, or discrimination was by reason of

   a disability.” Id. at 1193.

          Section 504 of the RA provides that “[n]o otherwise qualified individual with a

   disability in the United States, as defined in section 705(20) of this title, shall, solely by

   reason of her or his disability, be excluded from the participation in, be denied the

   benefits of, or be subjected to discrimination under any program or activity receiving

   Federal financial assistance.” 29 U.S.C. § 794(a). To state a claim under Section 504,

   “a plaintiff must allege (1) that [s]he is a ‘handicapped individual’ under the [ADA], (2)

   that [s]he is ‘otherwise qualified for the [benefit] sought, (3) that [s]he was [discriminated




                                                 35
                                                                                           A.117
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 36 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 118



   against] solely by reason of his handicap, and (4) that the program or activity in question

   receives federal financial assistance.” Cohon ex rel. Bass v. N.M. Dep’t of Health, 646

   F.3d 717, 725 (10th Cir. 2011) (quoting Johnson by Johnson v. Thompson, 971 F.2d

   1487, 1492 (10th Cir.1992)).

          It has been commonly observed that “[t]he Rehabilitation Act is materially

   identical to and the model for the ADA,” Crawford v. Ind. Dep’t of Corr., 115 F.3d 481,

   483 (7th Cir. 1997) (citing Bryant v. Madigan, 84 F.3d 246, 248 (7th Cir. 1996)); see

   also McDonald v. Penn. Dep’t of Pub. Welfare, 62 F.3d 92, 94 (3d Cir. 1995); Duffy v.

   Riveland, 98 F.3d 447, 455 (9th Cir. 1996)), “except that it is limited to programs that

   receive federal financial assistance.” Crawford, 115 F.3d at 483. However, the Tenth

   Circuit recently clarified that the causation standards of the statutes are different: “the

   ADA merely requires the plaintiff’s disability be a but-for cause (i.e., “by reason of”) of

   the discrimination, rather than—as the Rehabilitation Act requires—its sole cause (i.e.,

   “solely by reason of”).” Crane v. Utah Dep’t of Corr., 15 F.4th 1296, 1313 (10th Cir.

   2021). With this in mind, the Court will evaluate Plaintiff’s ADA claim and RA claim

   together. See Jarvis v. Potter, 500 F.3d 1113, 1121 (10th Cir. 2007) (citing 29 U.S.C. §

   794(d)).

          a.     Whether Plaintiff Alleges a Disability

          Defendants argue that Plaintiff fails to allege a disability. While the ADA defines

   the term “disability” broadly to include “a physical or mental impairment that

   substantially limits one or more major life activities of such individual,” 42 U.S.C. §

   12102(1)(A), it excludes “transvestism, transsexualism, pedophilia, exhibitionism,

   voyeurism, gender identity disorders not resulting from physical impairments, [and]




                                                36
                                                                                         A.118
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 37 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 119



   other sexual behavior disorders,” Id. § 12211(b) (emphasis added). It is Defendants’

   position that gender dysphoria falls squarely within this exclusion.

          Defendants acknowledge that there is significant disagreement amongst district

   courts across the country regarding whether gender dysphoria is a “gender identity

   disorder” and categorically excluded from the ADA’s definition of “disability.” They cite a

   case from this district where the court found that “gender dysphoria, as a gender identity

   disorder, is specifically exempted as a disability by the Rehabilitation Act.” Michaels v.

   Akal Sec., Inc., No. 09-cv-01300-ZLW-CBS, 2010 WL 2573988, at *6 (D. Colo. June 24,

   2010). The Court is not bound by this ruling. It was decided over a decade ago and

   dealt with the issue summarily.

          Instead, the Court finds persuasive a recent thorough and closely-reasoned

   decision issued by the Fourth Circuit in Williams v. Kincaid, 45 F.4th 759 (4th Cir. 2022).

   There, after careful analysis, the court held that “as a matter of statutory construction,

   gender dysphoria is not a gender identity disorder.” Id. at 769. The court also held that a

   plaintiff need not plead by specific words that her gender dysphoria “result[ed] from a

   physical impairments”) in order to state a claim. Id. at 771. Absent any Tenth Circuit

   authority to the contrary, the Court is likewise convinced that gender dysphoria is a

   disability included in the ADA’s protections. See Gibson v. Cmty. Dev. Partners, No.

   3:22-CV-454-SI, 2022 WL 10481324, at *7 (D. Or. Oct. 18, 2022) (citing Williams for the

   proposition that “nothing in the ADA compels the conclusion that gender dysphoria is

   excluded from ADA protection”).




                                                37
                                                                                        A.119
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 38 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 120



          b.     Causation

          Nevertheless, Defendants argue that Plaintiff’s ADA and RA claims fail because

   she fails to allege that her gender dysphoria was the “but for” (much less “sole”) cause

   of the alleged discrimination. Specifically, Defendants contend that Plaintiff complains

   that the discrimination was a result of her gender identity and transgender status—not

   gender dysphoria—and transgenderism (“transexualism”) is specifically excluded from

   the definition of a disability. Defendants cite several allegations from the TAC that refer

   to EPSO’s treatment of transgender women.

          This argument misses the mark. First, Plaintiff alleges that the symptoms of

   gender dysphoria can be alleviated by, among other things, “outwardly presenting in a

   manner consistent with one’s gender identity” (Dkt. #123 ¶ 24), and that placing her “in

   housing that does not conform with her gender identity has exacerbated symptoms of

   her Gender Dysphoria leading her to suffer significant emotional distress and have

   increased ideation of self-harm.” (Id. ¶ 68.) Plaintiff also alleges that, pursuant to

   WPATH guidelines, part of the treatment of gender dysphoria is to “be treated as the

   woman she is.” (Id. ¶ 97.) She also states she requested accommodations for her

   gender dysphoria. (Id. ¶¶ 48, 55, 61, 63, 92, 110, 111.)

          A public entity must provide a reasonable accommodation under the ADA when it

   knows that the individual is disabled and “requires an accommodation of some kind to

   participate in or receive the benefits of its services.” Robertson v. Las Animas Cnty.

   Sheriff’s Dep’t, 500 F.3d 1185, 1197 (10th Cir. 2007). “[A] public entity is on notice that

   an individual needs an accommodation when it knows that an individual requires one,

   either because that need is obvious or because the individual requests an




                                                 38
                                                                                            A.120
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 39 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 121



   accommodation.” Id. at 1197–98. Thus, Plaintiff’s gender identity is relevant to the

   reasonable accommodation of her disability.

          Moreover, the cherry-picked excerpts Defendants cite from the pleading ignore

   the numerous references Plaintiff makes to the EPSO’s consistent failure to

   accommodate her gender dysphoria. (See, e.g., Dkt. #124 ¶¶ 70 (“El Paso County’s

   decision to house Ms. Griffith in housing that does not conform with her gender identity

   was a discriminatory action and a failure to reasonably accommodate Ms. Griffith’s

   diagnosed Gender Dysphoria.”); 81 (“El Paso County officials’ threatening, intimidating

   and harassing visual body-cavity search of Ms. Griffith, . . . conducted by an

   unaccompanied male deputy, was a discriminatory action and a failure to reasonably

   accommodate Ms. Griffith’s diagnosed Gender Dysphoria.”); 107 (“El Paso County

   officials’ actions in constantly mis-gendering Ms. Griffith was a discriminatory action and

   a failure to reasonably accommodate Ms. Griffith’s diagnosed Gender Dysphoria.”); 119

   (“El Paso County officials’ actions in denying Ms. Griffith access to female

   undergarments and lipstick was a discriminatory action and a failure to reasonably

   accommodate Ms. Griffith’s diagnosed Gender Dysphoria.”); 280 (“By confining Plaintiff

   in the men’s unit at the El Paso County Jail, a facility where staff members referred to

   Plaintiff using a male pronoun and her male given name and staff refused to permit

   Plaintiff to wear her own gender’s clothes and underwear, El Paso County subjected

   Plaintiff to discrimination based on Gender Dysphoria.”).

          For these reasons, the Court rejects Defendant’s contention that Plaintiff asserts

   that her transgender status—not gender dysphoria—was the reason for her exclusion

   from certain programs and services within CJC.




                                               39
                                                                                      A.121
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 40 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 122



          c.      Damages

          In Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct. 1562, 1565 (2022),

   the Supreme Court held that emotional distress damages are not recoverable in a

   private action to enforce . . . the Rehabilitation Act of 1973.” Instead, “victims of

   discrimination to recover damages only if they can prove that they have suffered

   economic harm.” Id. at 1562 (Breyer, J., dissenting). Defendants therefore posit that

   other types of damages that are generally unavailable in breach of contract claims, like

   those for pain and suffering, should also be unavailable as a remedy under the RA.

   Defendants also claim that Cummings’ damage limitation should also apply with equal

   force to claims asserted under Title II of the ADA.

          Plaintiff argues that Cummings does not apply to other damages or ADA claims,

   and contends that the Supreme Court’s holding should not apply retroactively. These

   are interesting arguments, but in the end, they need not be decided now because even

   pre-Cummings, the Tenth Circuit required a showing of intentional discrimination before

   a plaintiff may recover compensatory damages for mental or emotional injury. Tyler v.

   City of Manhattan, 118 F.3d 1400, 1403–4 (10th Cir. 1997); Powers v. MJB Acquisition

   Corp., 184 F.3d 1147, 1152 (10th Cir. 1999). “Intentional discrimination does not require

   a showing of personal ill will or animosity toward the disabled person; rather, ‘intentional

   discrimination can be inferred from a defendant’s deliberate indifference to the strong

   likelihood that pursuit of its questioned policies will likely result in a violation of federally

   protected rights.’” Barber ex rel. Barber v. Colo. Dep’t of Revenue, 562 F.3d 1222, 1229

   (10th Cir. 2009) (quoting Powers., 184 F.3d at 1153). “The test for deliberate

   indifference in the context of intentional discrimination comprises two prongs: (1)




                                                  40
                                                                                             A.122
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 41 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 123



   ‘knowledge that a harm to a federally protected right is substantially likely,’ and (2) ‘a

   failure to act upon that likelihood.’” Id. (quoting Duvall v. Cnty. of Kitsap, 260 F.3d 1124,

   1139 (9th Cir. 2001) (alteration omitted).

          While the Court believes that discrimination based on gender dysphoria violates

   the ADA and RA, this is not remotely settled law. Indeed, it appears that the “majority

   approach[ ] views the [ADA]’s language as expressing Congress’s intent to exclude

   from the ADA’s protection both disabling and non-disabling gender identity disorders

   that do not result from a physical impairment.” Doe v. Pa. Dep’t of Corr., No.

   120CV00023SPBRAL, 2021 WL 1583556, at *8 (W.D. Pa. Feb. 19, 2021), report and

   recommendation adopted, No. CV 20-23, 2021 WL 1115373 (W.D. Pa. Mar. 24, 2021).

   A court from this district took this tack. See Michaels, 2010 WL 2573988, at *6. Under

   these circumstances, the Court cannot say that the EPSO was deliberately indifferent to

   the “strong likelihood” of harm to a right that may not even be protected by the ADA and

   RA. See Roberts v. City of Omaha, 723 F.3d 966, 975–76 (8th Cir. 2013) (“Roberts can

   only prevail on his ADA and Rehabilitation Act claims by showing the city’s deliberate

   indifference to his alleged right to be free from discrimination in the circumstances of

   this case, but the city, like the individual officers, lacked notice the officers’ actions might

   have violated Roberts’s asserted rights.”).

          Plaintiff cannot obtain compensatory damages for mental or emotional injury, and

   any injunctive relief is moot because she has been moved to a female facility and given

   access to feminine clothing and grooming items. Accordingly, Claims Twelve and

   Thirteen should be dismissed.




                                                 41
                                                                                           A.123
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 42 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 124



   VI. State Law Claims (Claims Five, Six, Seven, Eight, Nine, Twelve, and Thirteen)

          Plaintiff asserts various claims under the Colorado Constitution and state statute.

   “If federal claims are dismissed before trial, leaving only issues of state law, ‘the federal

   court should decline the exercise of jurisdiction by dismissing the case without

   prejudice.’“ Bauchman for Bauchman v. W. High Sch., 132 F.3d 542, 549 (10th Cir.

   1997) (quoting Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988)). “Notions of

   comity and federalism demand that a state court try its own lawsuits, absent compelling

   reasons to the contrary.” Thatcher Enters. v. Cache Cnty. Corp., 902 F.2d 1472, 1478

   (10th Cir. 1990). Because this Court has recommended dismissal of the federal claims,

   the Court further recommends that the presiding judge decline to exercise supplemental

   jurisdiction over Plaintiff’s state-law claims and dismiss those claims without prejudice.

                                         CONCLUSION

          In light of the foregoing, it is hereby RECOMMENDED that Defendants’ Motion to

   Dismiss (Dkt. #132) be GRANTED, and that Plaintiff’s Third Amended Complaint (Dkt.

   #124) be DISMISSED.

          NOTICE: Pursuant to 28 U.S.C. § 636(b)(1)(c) and Fed. R. Civ. P. 72(b)(2),

   the parties have fourteen (14) days after service of this recommendation to serve

   and file specific written objections to the above recommendation with the District

   Judge assigned to the case. A party may respond to another party’s objections

   within fourteen (14) days after being served with a copy. The District Judge need

   not consider frivolous, conclusive, or general objections. A party’s failure to file

   and serve such written, specific objections waives de novo review of the

   recommendation by the District Judge, Thomas v. Arn, 474 U.S. 140, 148–53




                                                42
                                                                                         A.124
Case No. 1:21-cv-00387-CMA-NRN Document 165 filed 02/27/23 USDC Colorado pg 43 of
                                        43
      Appellate Case: 23-1135 Document: 20 Date Filed: 08/21/2023 Page: 125



   (1985), and also waives appellate review of both factual and legal questions.

   Makin v. Colo. Dep’t of Corr., 183 F.3d 1205, 1210 (10th Cir. 1999); Talley v. Hesse,

   91 F.3d 1411, 1412–13 (10th Cir. 1996).



                                                  BY THE COURT



   Date: February 27, 2023
         Denver, Colorado                         N. Reid Neureiter
                                                  United States Magistrate Judge




                                             43
                                                                                   A.125
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 1 of 21
         Appellate Case: 23-1135   Document: 20      Date Filed: 08/21/2023     Page: 126




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Senior Judge Christine M. Arguello


   Civil Action No. 21-cv-00387-CMA-NRN

   DARLENE GRIFFITH,

            Plaintiff,

   v.

   EL PASO COUNTY, COLORADO,
   BILL ELDER, in his individual and official capacities,
   CY GILLESPIE, in his individual capacity,
   ELIZABETH O’NEAL, in her individual capacity,
   ANDREW MUSTAPICK, in his individual capacity,
   DAWNE ELLISS, in her individual capacity,
   TIFFANY NOE, in her individual capacity, and
   BRANDE FORD, in her individual capacity,

            Defendants.


        ORDER AFFIRMING AND ADOPTING RECOMMENDATION OF UNITED STATES
                              MAGISTRATE JUDGE


            This matter is before the Court on the February 27, 2023 Recommendation of

   United States Magistrate Judge (Doc. # 165), wherein Judge N. Reid Neureiter

   recommends this Court grant Defendants’ Motion to Dismiss the Third Amended

   Complaint (Doc. # 132). Plaintiff timely filed an Objection to the Recommendation. (Doc.

   # 169.) For the following reasons, the Court overrules Plaintiff’s Objection and affirms

   and adopts the Recommendation as an order of this Court.




                                                                                      A.126
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 2 of 21
      Appellate Case: 23-1135         Document: 20     Date Filed: 08/21/2023       Page: 127




                                      I.     BACKGROUND

          The factual background of this case is set out at length in Judge Neureiter’s

   Recommendation, which the Court incorporates herein by reference. See 28 U.S.C. §

   636(b)(1)(B); Fed. R. Civ. P. 72(b). Accordingly, the Court will provide only a brief

   summary of the relevant facts of this case.

          Plaintiff Darlene Griffith is a transgender woman who has been diagnosed with

   gender dysphoria. 1 (Doc. # 124 at ¶ 2.) She has been living as a transgender woman for

   more than 20 years. (Id. at ¶ 25.) As part of her treatment, Plaintiff has “changed her

   name and altered her physical appearance to conform to her female gender identity,

   including dressing in feminine attire and taking feminizing hormones, which caused her

   to develop female secondary sex characteristics such as breasts, soft skin, a lack of

   facial hair, and other characteristics typically associated with women.” (Id.)

          Plaintiff arrived at El Paso County Jail as a pretrial detainee on July 20, 2020. (Id.

   at ¶¶ 47, 141.) At that time, Plaintiff was an openly transgender woman with a feminine

   appearance. (Id. at ¶ 47.) During Plaintiff’s intake she notified jail personnel that she is a

   transgender woman with a diagnosis of gender dysphoria and explicitly requested

   placement in a women’s facility. (Id. at ¶ 48.) Plaintiff also informed jail officials that she

   is legally blind. (Id. at ¶ 50.)

          Plaintiff alleges that when she was booked into the jail, Defendant Andrew

   Mustapick sexually harassed her during an unconstitutional cross-gender, visual body-



   1 Gender dysphoria is “the significant distress that may accompany the incongruence between a

   transgender person’s gender identify and assigned sex.” (Doc. # 124 at ¶ 22.)



                                                                                           A.127
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 3 of 21
      Appellate Case: 23-1135       Document: 20       Date Filed: 08/21/2023       Page: 128




   cavity search while Defendant Dawne Elliss stood by and did nothing to intervene. (Id.

   at ¶¶ 71–83.) When Plaintiff saw that both a male and female deputy would be

   conducting her search, Plaintiff protested and asked that only Elliss, a female deputy,

   conduct the search. (Id. at ¶ 74.) However, Elliss left Plaintiff alone in the room with

   Mustapick and intentionally mis-gendered Plaintiff on her way out, telling Mustapick “he

   is all yours now to strip out.” (Id. at ¶ 76.) Mustapick then ordered Plaintiff to take off her

   socks, pants, and panties, place her hands on the wall, bend over, and “spread [her]

   sexy cheeks.” (Id. at ¶ 77.) He told Plaintiff that he was “going to go balls deep in that

   ass” while grabbing his own penis in view of Plaintiff. (Id. at ¶ 78.) Mustapick was

   “extremely aggressive” while conducting the search and threatened Plaintiff that if she

   told anyone, she would be brutalized by the guards at the jail. (Id. at ¶ 79.)

          Despite Plaintiff’s request on intake, Defendant Tiffany Noe placed Plaintiff into

   an all-male unit. (Id. at ¶ 54.) On July 29, 2020, Defendant Brande Ford conducted an

   Americans with Disabilities Act (“ADA”) interview of Plaintiff and wrote in Plaintiff’s

   records that there were no disability concerns related to Plaintiff’s housing. (Id. at ¶ 55.)

   Ford did not reclassify Plaintiff or place her into a unit that corresponded with her

   gender identity. (Id.) Over the next several months, Plaintiff repeatedly requested to be

   moved to a female unit by filing inmate grievances and reporting to jail mental health

   officials. (Id. at ¶¶ 57–66.) In response to one grievance, Defendant Elizabeth O’Neal

   stated that El Paso County had reviewed Plaintiff’s request and denied her the

   accommodation of housing her in a facility that corresponded with her gender identity.

   (Id. at ¶ 57.) Plaintiff alleges that Defendants Ford, O’Neal, Noe, Gillespie, and Elder




                                                                                           A.128
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 4 of 21
      Appellate Case: 23-1135       Document: 20       Date Filed: 08/21/2023      Page: 129




   violated her constitutional and statutory rights by intentionally disregarding her repeated

   requests to be housed in a female unit despite knowing that Plaintiff suffered from

   gender dysphoria and was at risk of sexual harassment and assault. (Id. at ¶¶ 47–70.)

          Plaintiff further alleges that Defendants Elder, Gillespie, Ford, O’Neal, and Noe

   failed to protect Plaintiff by housing her in an all-male unit. (Id. at ¶¶ 84–88.) On

   November 18, 2021, after Plaintiff had been housed in the all-male unit for over a year,

   she was sexually assaulted by another male inmate. (Id. at ¶ 84.) The inmate

   approached Plaintiff while she was laying in her bunk, groped Plaintiff’s right breast, and

   said, “you know you want this dick.” (Id. at ¶ 85.) Defendants did not move Plaintiff to a

   unit that corresponded to her gender identity after this incident. (Id. at ¶ 88.)

          Plaintiff also alleges that she was subject to continuous cross-gender pat-down

   searches. (Id. at ¶¶ 89–96.) Male deputies repeatedly touched Plaintiff’s breasts and

   groin when patting her down. (Id. at ¶ 90.) El Paso County officials also regularly mis-

   gendered Plaintiff throughout her incarceration, including by calling her “Sir.” (Id. at ¶¶

   97–109.) In one instance, on September 16, 2020, Plaintiff complained to a deputy

   about male inmates not wearing shirts, and the deputy responded by loudly yelling at

   the inmates, “the blind faggot said you need to put your shirts on.” (Id. at ¶ 100.) Plaintiff

   wrote grievances and complained to jail officials several times about the pat-down

   searches, mis-gendering, and verbal harassment she was experiencing. In addition,

   despite Plaintiff’s repeated requests for gender affirming clothing, jail officials denied

   Plaintiff the ability to dress in accordance with her gender identity, including prohibiting

   her from purchasing panties or lipstick at the commissary. (Id. at ¶¶ 110–122.)




                                                                                           A.129
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 5 of 21
      Appellate Case: 23-1135        Document: 20      Date Filed: 08/21/2023       Page: 130




          Plaintiff reported to mental health providers that she was suffering severe anxiety

   and depression as a result of being placed in the all-male unit and experiencing

   harassment and mis-gendering. (Id. at ¶¶ 60, 62.) On July 1, 2021, Plaintiff told a

   mental health provider that due to the constant mistreatment, she would remove her

   own penis. (Id. at ¶ 31.) Plaintiff attempted to self-castrate by wrapping a rubber band

   around her genitals. (Id. at ¶ 32.) Plaintiff has a history of self-harm, including self-

   castration behavior, when her gender dysphoria has not been accommodated and

   treated. (Id. at ¶ 38.)

          In her Third Amended Complaint (Doc. # 124), Plaintiff asserts 16 constitutional

   and statutory claims against Defendants. Her claims under federal law are:

      •   First Claim: Fourteenth Amendment equal protection discrimination, against all
          Defendants;

      •   Second Claim: Fourteenth Amendment conditions of confinement, against all
          Defendants;

      •   Third Claim: Fourth Amendment unreasonable search, against El Paso County,
          Elder, Mustapick, and Elliss;

      •   Fourth Claim: Fourteenth Amendment substantive due process claim for
          invasion of bodily privacy and integrity, against El Paso County, Elder, Gillespie,
          Mustapick, and Elliss;

      •   Tenth Claim: Disability discrimination pursuant to the ADA, 42 U.S.C. § 12101,
          et. seq., against El Paso County;

      •   Eleventh Claim: Disability discrimination pursuant to the Rehabilitation Act of
          1973, 29 U.S.C. § 701, et. seq., against El Paso County; and

      •   Fourteenth Claim: Fourteenth Amendment failure to protect, against El Paso
          County, Elder, Gillespie, O’Neal, Noe, and Ford.




                                                                                          A.130
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 6 of 21
        Appellate Case: 23-1135     Document: 20       Date Filed: 08/21/2023      Page: 131




   Plaintiff’s remaining claims for relief constitute parallel or similar claims under the

   Colorado Constitution and Colorado state laws.

           Defendants filed a Motion to Dismiss the Third Amended Complaint pursuant to

   Fed. R. Civ. P. 12(b)(1) and 12(b)(6) (Doc. # 132), which the Court referred to Judge

   Neureiter (Doc. # 135). Judge Neureiter heard argument on the Motion in a hearing on

   October 11, 2022. See (Doc. # 163). On February 27, 2023, Judge Neureiter issued his

   Recommendation. (Doc. # 165.) Plaintiff filed an Objection (Doc. # 169), and

   Defendants submitted a Response (Doc. # 172). The matter is now ripe for review.

                                  II.     LEGAL STANDARDS

   A.      REVIEW OF A RECOMMENDATION

           When a magistrate judge issues a recommendation on a dispositive matter,

   Federal Rule of Civil Procedure 72(b)(3) requires that the district judge “determine de

   novo any part of the magistrate judge’s [recommended] disposition that has been

   properly objected to.” In conducting the review, “[t]he district judge may accept, reject,

   or modify the recommended disposition; receive further evidence; or return the matter to

   the magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3). “In the absence of

   timely objection, the district court may review a magistrate [judge’s] report under any

   standard it deems appropriate.” Summers v. Utah, 927 F.2d 1165, 1167 (10th Cir. 1991)

   (citing Thomas v. Arn, 474 U.S. 140, 150 (1985) (“It does not appear that Congress

   intended to require district court review of a magistrate’s factual or legal conclusions,

   under a de novo or any other standard, when neither party objects to those findings.”)).




                                                                                             A.131
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 7 of 21
        Appellate Case: 23-1135     Document: 20       Date Filed: 08/21/2023      Page: 132




           In order to be properly made and, therefore, to preserve an issue for de novo

   review by the district judge, an objection must be both timely and specific. United States

   v. One Parcel of Real Property Known As 2121 East 30th Street, 73 F.3d 1057, 1059–

   60 (10th Cir. 1996). An objection is proper if it is specific enough to enable the “district

   judge to focus attention on those issues—factual and legal—that are at the heart of the

   parties' dispute.” Id. at 1059 (internal quotation marks omitted).

   B.      FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)

           Federal Rule of Civil Procedure 12(b)(1) permits a party to move to dismiss a

   complaint for “lack of subject matter jurisdiction.” A Rule 12(b)(1) challenge generally

   takes one of two forms: (1) a facial attack, where the moving party may “attack the

   complaint’s allegations as to the existence of subject matter jurisdiction”; or (2) a factual

   attack, where the moving party may “go beyond allegations contained in the complaint

   by presenting evidence to challenge the factual basis upon which subject matter

   jurisdiction rests.” Merrill Lynch Bus. Fin. Servs., Inc. v. Nudell, 363 F.3d 1072, 1074

   (10th Cir. 2004) (quoting Maestas v. Lujan, 351 F.3d 1001, 1013 (10th Cir. 2003)).

   When reviewing a facial attack, the Court must accept the allegations in the complaint

   as true. Holt v. United States, 46 F.3d 1000, 1002 (10th Cir. 1995). By contrast, in

   reviewing a factual attack, the district court has “wide discretion to allow affidavits, other

   documents, and a limited evidentiary hearing to resolve disputed jurisdictional facts

   under Rule (12)(b)(1).” Id.




                                                                                         A.132
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 8 of 21
        Appellate Case: 23-1135      Document: 20      Date Filed: 08/21/2023      Page: 133




   C.      FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

           Federal Rule of Civil Procedure 12(b)(6) provides that a defendant may move to

   dismiss a claim for “failure to state a claim upon which relief can be granted.” “The

   court's function on a Rule 12(b)(6) motion is not to weigh potential evidence that the

   parties might present at trial, but to assess whether the plaintiff's complaint alone is

   legally sufficient to state a claim for which relief may be granted.” Dubbs v. Head Start,

   Inc., 336 F.3d 1194, 1201 (10th Cir. 2003) (internal quotation marks omitted).

           “A court reviewing the sufficiency of a complaint presumes all of [a] plaintiff's

   factual allegations are true and construes them in the light most favorable to the

   plaintiff.” Hall v. Bellmon, 935 F.2d 1106, 1109 (10th Cir. 1991). “To survive a motion to

   dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a

   claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

   (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Plausibility, in the

   context of a motion to dismiss, means that the plaintiff pleaded facts which allow the

   court “to draw the reasonable inference that the defendant is liable for the misconduct

   alleged.” Id. However, the Court need not accept conclusory allegations without

   supporting factual averments. Southern Disposal, Inc. v. Tex. Waste Mgmt., 161 F.3d

   1259, 1262 (10th Cir. 1998). “Threadbare recitals of the elements of a cause of action,

   supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. “Nor

   does the complaint suffice if it tenders naked assertions devoid of further factual

   enhancement.” Id. (internal quotation marks and brackets omitted).




                                                                                         A.133
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 9 of 21
        Appellate Case: 23-1135     Document: 20       Date Filed: 08/21/2023      Page: 134




   D.      QUALIFIED IMMUNITY

           The doctrine of qualified immunity protects government officials from individual

   liability in the course of performing their duties so long as their conduct does not violate

   clearly established constitutional or statutory rights. Washington v. Unified Gov’t of

   Wyandotte Cnty., 847 F.3d 1192, 1197 (10th Cir. 2017). To overcome the defense of

   qualified immunity, a plaintiff must present enough facts in the complaint, taken as true,

   to show (1) a violation of a constitutional or statutory right, and (2) that the right was

   clearly established when the alleged violation occurred. Olsen v. Layton Hills Mall, 312

   F.3d 1304, 1312 (10th Cir. 2002). The bar is higher for Defendants because they assert

   a qualified immunity defense in a Rule 12(b)(6) motion instead of a Rule 56 motion. See

   Peterson v. Jensen, 371 F.3d 1199, 1201 (10th Cir. 2004) (“Asserting a qualified

   immunity defense via a Rule 12(b)(6) motion . . . subjects the defendant to a more

   challenging standard of review than would apply on summary judgment.”). To determine

   whether a right was “clearly established,” courts ask “whether the contours of a right are

   sufficiently clear that every reasonable official would have understood that what he is

   doing violates that right.” Estate of Booker v. Gomez, 745 F.3d 405, 411 (10th Cir.

   2014) (internal quotation marks omitted).

                                       III.   DISCUSSION

           This is a challenging case. It raises sensitive and important constitutional issues

   during a time period of shifting jurisprudence among the circuit courts. As she states in

   her Objection, Plaintiff brought this case to protect the rights of transgender people in

   public spaces. (Doc. # 169 at 1.) She asserts that this is a case that is, at its core,




                                                                                          A.134
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 10 of 21
         Appellate Case: 23-1135     Document: 20      Date Filed: 08/21/2023     Page: 135




    “about governmental validation of the existence and experiences of transgender people,

    as well as the simple recognition of their humanity.” (Id.) (quoting G.G. v. Gloucester

    Cnty. Sch. Bd., 853 F.3d 729, 730 (4th Cir. 2017) (Davis, J., concurring)). The Court is

    sympathetic to Plaintiff and cognizant of the harms that she has suffered during her

    detention at the El Paso County Jail. However, the Court agrees with Judge Neureiter

    that existing Tenth Circuit precedent binds the Court’s hands in this case. Regretfully,

    Plaintiff’s claims must be dismissed.

    A.      THE RECOMMENDATION

            In a thoughtful and well-reasoned Recommendation, which the Court adopts in

    full, Judge Neureiter carefully analyzed each of Plaintiff’s federal claims. First, Judge

    Neureiter determined that Plaintiff’s claims against El Paso County should be dismissed

    because (1) Plaintiff failed to properly name the Board of County Commissioners of El

    Paso County as the defendant pursuant to Colo. Rev. Stat. § 30-11-105; and (2) the

    Complaint alleges misconduct only on the part of employees of the El Paso County

    Sheriff’s Office, a separate and distinct entity from the County. (Doc. # 165 at 14).

    However, because Plaintiff asserted claims against Sheriff Bill Elder and Commander

    Cy Gillespie in their official capacities, Judge Neureiter considered Plaintiff’s municipal

    liability claims as asserted against the El Paso County Sheriff’s Office. (Id.) Next, Judge

    Neureiter evaluated whether the Complaint adequately alleges Gillespie’s personal

    participation. (Id. at 15–16.) Judge Neureiter concluded that the Complaint sufficiently

    alleges that Gillespie was personally responsible for denying Plaintiff female clothing

    and grooming products, with respect to her equal protection claim, but Judge Neureiter




                                                                                         A.135
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 11 of 21
       Appellate Case: 23-1135        Document: 20       Date Filed: 08/21/2023      Page: 136




    found that the allegations were insufficient to establish Gillespie’s role in Plaintiff’s

    housing assignments or as a final policymaker. (Id. at 16.)

             Moving to Plaintiff’s Fourteenth Amendment claims, Judge Neureiter considered

    whether discrimination against transgender people should be subject to heightened

    scrutiny or rational basis analysis. (Id. at 17–24.) Judge Neureiter determined that

    despite the “growing consensus” in courts around the country that transgender people

    constitute at least a quasi-suspect class, district courts in this circuit remain bound by

    the Tenth Circuit’s decision in Brown v. Zavaras, 63 F.3d 967, 971 (10th Cir. 1995), in

    which the court held that a transgender plaintiff “is not a member of a protected class”

    for purposes of an equal protection claim. 2 (Doc. # 165 at 19–20.) Although Judge

    Neureiter expressed strongly that the Tenth Circuit should revisit Brown, he

    acknowledged that Brown remains “if not good in the normative sense, at least binding

    law on district courts in this district.” (Id.) Thus constrained to apply rational basis

    review, Judge Neureiter concluded that Plaintiff has not adequately alleged that there is

    no rational reason for Defendants to house transgender women in all-male units and not

    provide them with feminine clothing and grooming products. (Id. at 24.) Accordingly, he

    found that Plaintiff’s equal protection claim must be dismissed for failure to state a

    claim.

             Judge Neureiter next considered Plaintiff’s conditions of confinement and

    substantive due process claims. (Id. at 25–26.) He first found that the Complaint fails to

    state a claim against Defendant O’Neal, for lack of allegations establishing personal


    2 The Brown court used the older term “transsexual” instead of “transgender.” 63 F.3d at 971.




                                                                                               A.136
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 12 of 21
       Appellate Case: 23-1135       Document: 20      Date Filed: 08/21/2023      Page: 137




    participation, and against Defendants Noe and Ford, for lack of allegations showing

    deliberate indifference. (Id. at 26.) Further, Judge Neureiter found that all of these

    Defendants were entitled to qualified immunity because Plaintiff did not demonstrate

    that her right to be placed in a female unit was clearly established. (Id.) As to Defendant

    Elliss, Judge Neureiter found that “one instance of misgendering, although no light

    matter, is not sufficient to state a claim for unconstitutional conditions of confinement.”

    (Id.) With respect to Defendant Mustapick, Judge Neureiter noted that Mustapick’s

    alleged behavior during the visual body-cavity search was “sickening,” but Judge

    Neureiter concluded that Plaintiff had not met her burden of showing that it is “clearly

    established that cross-gender searches of transgender women, even ones

    accompanied by odious verbal harassment, violate a clearly established constitutional

    right, nor is the conduct so egregious and the right so obvious that it could be deemed

    clearly established even without materially similar cases.” (Id. at 28.)

           Judge Neureiter next determined that the Complaint fails to state a claim for

    failure to protect because (1) the Complaint alleges personal participation only of Noe

    and Ford in Plaintiff’s housing assignment, and (2) the allegations that Noe and Ford

    knew of Plaintiff’s disabilities, alone, are insufficient to show that they had reason to

    suspect that Plaintiff was in substantial and immediate danger, particularly given that

    Defendants made their decisions regarding Plaintiff’s housing in July 2020 and the

    alleged assault by another inmate did not occur until November 18, 2021. (Id. at 30.)

           Regarding Plaintiff’s Fourth Amendment unreasonable search claim and

    Fourteenth Amendment substantive due process claim arising from the visual strip




                                                                                          A.137
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 13 of 21
       Appellate Case: 23-1135       Document: 20      Date Filed: 08/21/2023      Page: 138




    search conducted by Defendants Mustapick and Elliss, Judge Neureiter carefully

    balanced Plaintiff’s right to bodily privacy and right to be free from unreasonable

    searches against the requirements of prison administration. (Id. at 30–34.) Although he

    acknowledged that Mustapick’s alleged comments and behavior during the search were

    “reprehensible,” Judge Neureiter concluded that, on balance, the Complaint did not

    state a plausible violation of the Fourth or Fourteenth Amendment in relation to the

    search. (Id. at 33.) Moreover, Judge Neureiter observed that both claims would

    necessarily fail based on the “clearly established” prong of qualified immunity because

    Plaintiff offers no binding precedent clearly establishing that a visual strip search by a

    male and female deputy of a transgender inmate, even with harassing comments,

    violates the inmate’s constitutional rights. (Id. at 34.) Having determined that the

    Complaint fails to plausibly allege any constitutional violation, Judge Neureiter

    determined that Plaintiff could not establish municipal liability and that her claims

    against Defendant Elder in his official capacity as Sheriff must be dismissed. (Id. at 35.)

           Judge Neureiter next evaluated Plaintiff’s ADA and Rehabilitation Act claims. (Id.

    at 35–41.) He acknowledged that there is significant disagreement amongst district

    courts across the country regarding whether gender dysphoria is a “gender identity

    disorder” and categorically excluded from the ADA’s definition of “disability.” (Id. at 37.)

    In the absence of any controlling Tenth Circuit authority, Judge Neureiter followed the

    approach of the Fourth Circuit in Williams v. Kincaid, 45 F.4th 759 (4th Cir. 2022), and

    determined that, as a matter of statutory construction, gender dysphoria is not excluded

    from the ADA’s protections. (Doc. # 165 at 37.) Judge Neureiter further found that




                                                                                            A.138
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 14 of 21
         Appellate Case: 23-1135    Document: 20      Date Filed: 08/21/2023      Page: 139




    Plaintiff plausibly alleges that her gender dysphoria was the “but for” cause of the

    alleged discrimination. (Id. at 38–39.) Judge Neureiter concluded, however, that

    Plaintiff’s ADA and Rehabilitation Act claims are subject to dismissal because the

    Complaint fails to make a showing of intentional discrimination such that Plaintiff would

    be able to recover compensatory damages for mental or emotional injury. (Id. at 40.)

    Stated differently, Judge Neureiter found that because the law is unsettled as to

    whether discrimination based on gender dysphoria violates the ADA and Rehabilitation

    Act, the Complaint could not plausibly allege that Defendants were “deliberately

    indifferent” in that they knew that a harm to a federally protected right was substantially

    likely. (Id. at 40–41.) Given that Plaintiff could not obtain compensatory damages and

    that any injunctive relief is moot because Plaintiff has been moved to a female facility,

    Judge Neureiter determined that her ADA and Rehabilitation Act claims must be

    dismissed.

            Lastly, Judge Neureiter recommended that because all of Plaintiff’s federal

    claims are subject to dismissal, this Court should decline to exercise supplemental

    jurisdiction over Plaintiff’s state law claims and should dismiss those claims without

    prejudice. (Id. at 42.)

    B.      THE OBJECTION

            Plaintiff timely filed a 30-page Objection to Judge Neureiter’s Recommendation.

    (Doc. # 169.) The Court has carefully reviewed Plaintiff’s Objection and finds that it is

    largely a restatement—often verbatim—of Plaintiff’s arguments presented in her

    Response to the Motion to Dismiss (Doc. # 147) and elsewhere in the record of this




                                                                                        A.139
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 15 of 21
       Appellate Case: 23-1135       Document: 20       Date Filed: 08/21/2023      Page: 140




    case (Docs. ## 124, 156, 163). Rather than identifying specific legal or factual errors in

    the Recommendation, Plaintiff merely reargues her positions and asks the Court to

    interpret the facts and authorities differently in order to arrive at a more favorable result.

    Although the Court understands Plaintiff’s intention to preserve her objection to the

    entirety of the Recommendation, such an objection does not enable the Court “to focus

    attention on those issues—factual and legal—that are at the heart of the parties’

    dispute.” Thomas, 474 U.S. at 147; see also One Parcel of Real Property Known as

    2121 East 30th St., 73 F.3d at 1060 (observing that “the filing of objections” is meant to

    “advance[] the interests that underlie the Magistrate’s Act, including judicial efficiency”).

           Nonetheless, the Court has carefully reviewed de novo the applicable law and

    the relevant materials in this case, including the Objection, the Recommendation (Doc.

    # 165), the Motion to Dismiss (Doc. # 132) and associated briefing (Docs. # 147, 155,

    156, 163), and Plaintiff’s Third Amended Complaint (Doc. # 124). See Fed. R. Civ. P.

    72(b). Having reviewed the issues de novo, the Court is satisfied that it would reach the

    same conclusions as Judge Neureiter and that there is little to add to Judge Neureiter’s

    comprehensive and correct analysis. See, e.g., In re Griego, 64 F.3d 580, 584 (10th Cir.

    1995) (affirming the “common practice among district judges in this circuit” to “adopt the

    magistrate judges’ recommended dispositions when they find that magistrate judges

    have dealt with the issues fully and accurately and that they could add little of value to

    that analysis”); see also Northington v. Marin, 102 F.3d 1564, 1570 (10th Cir. 1996)

    (observing that “a brief order expressly stating the court conducted de novo review is

    sufficient”). The Court therefore will address only a few points raised in the Objection.




                                                                                           A.140
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 16 of 21
       Appellate Case: 23-1135      Document: 20       Date Filed: 08/21/2023       Page: 141




           1.     Fourteenth Amendment Equal Protection

           Plaintiff argues that Judge Neureiter erred by determining that this Court is bound

    to apply rational basis review by the Tenth Circuit’s decision in Brown. (Doc. # 169 at 7–

    13.) In Brown, the Tenth Circuit followed the Ninth Circuit’s decision in Holloway v.

    Arthur Andersen & Co., 566 F.2d 659, 663 (9th Cir. 1977), and held that “transsexuals

    are not a protected class” for purposes of the Fourteenth Amendment. Brown, 63 F.3d

    at 971. The Tenth Circuit therefore applied rational basis review to the plaintiff’s equal

    protection claim. Id. Since Brown, the Tenth Circuit has not disturbed this holding. See,

    e.g., Druley v. Patton, 601 F. App’x 632, 635 (10th Cir. 2015) (unpublished) (“To date,

    this court has not held that a transsexual plaintiff is a member of a protected suspect

    class for purposes of Equal Protection claims.”). Now, nearly 28 years after Brown was

    issued, Plaintiff contends that Brown is not controlling for several reasons.

           First, Plaintiff argues that the Brown court did not address whether discrimination

    against transgender individuals constitutes sex- or gender-based discrimination.

    Accordingly, she avers that Brown has been overruled by the Supreme Court’s decision

    in Bostock v. Clayton County, Ga., 140 S. Ct. 1731, 1741 (2020), in which the Supreme

    Court analyzed the statutory language of Title VII and held that, within the meaning of

    Title VII, “it is impossible to discriminate against a person for being homosexual or

    transgender without discriminating against that individual based on sex.” While the

    Court agrees with Plaintiff that Bostock plainly calls into question whether discrimination

    against transgender individuals is sex-based discrimination in the equal protection

    context, the Court cannot conclude that Bostock clearly overruled Brown. The Bostock




                                                                                         A.141
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 17 of 21
       Appellate Case: 23-1135       Document: 20      Date Filed: 08/21/2023      Page: 142




    opinion was expressly focused on interpreting the text of Title VII—nowhere did the

    Supreme Court address equal protection, rational basis review versus heightened

    scrutiny, or whether transgender individuals constitute a protected class for purposes of

    the Fourteenth Amendment. Given these differences, it would be too great a leap for

    this Court to conclude that Bostock constitutes “an intervening Supreme Court decision”

    justifying this Court’s departure from Brown. See Lincoln v. BNSF Railway Co., 900

    F.3d 1166, 1183 (10th Cir. 2018) (stating that a decision by a panel of the Tenth Circuit

    is binding precedent and cannot be overruled “[a]bsent an intervening Supreme Court or

    en banc decision justifying such an action”).

           Plaintiff next argues that Brown itself failed to apply binding precedent because it

    did not engage in the requisite four-factor analysis for determining whether transgender

    individuals are a suspect or quasi-suspect class. (Doc. # 169 at 12–13); see, e.g.,

    Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 611 (4th Cir. 2020) (describing the

    four-factor analysis). As such, Plaintiff argues that Brown is “inapplicable.” (Doc. # 169

    at 13.) However, Plaintiff cites no authority for her proposition that a district court may

    find error in a binding decision of a federal court of appeals and decline to follow it.

           Finally, Plaintiff contends that Brown is “no longer applicable” because Holloway,

    the Ninth Circuit decision upon which Brown rests, has been overruled. (Id.); see

    Schwenk v. Hartford, 204 F.3d 1187, 1201 (9th Cir. 2000). Similarly, Plaintiff argues that

    Brown is “inapposite to nearly every single case that has been decided since, which

    ‘have analyzed the relevant factors for determining suspect class status and held that

    transgender people are at least a quasi-suspect class.’” (Doc. # 169 at 13) (quoting




                                                                                          A.142
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 18 of 21
       Appellate Case: 23-1135       Document: 20       Date Filed: 08/21/2023      Page: 143




    Grimm, 972 F.3d at 610). As such, Plaintiff asserts that Brown “should be discarded on

    the scrap heap of past decisions, like Plessy, Korematsu, and Bowers, that allowed for

    state-sanctioned discrimination.” (Id.) Although the Court agrees with Plaintiff that

    Brown should be reconsidered based on the overruling of Holloway, the weight of

    authority from other circuits, and the Supreme Court’s decision in Bostock, this Court

    lacks the authority to make that determination. Bound by Brown, the Court must apply

    rational basis review to Plaintiff’s equal protection claim.

           If the Court were to consider the issue untethered by Brown, the Court would not

    hesitate to find that heightened scrutiny is warranted for Plaintiff’s equal protection claim

    because transgender-based discrimination constitutes sex-based discrimination

    triggering intermediate scrutiny. See, e.g., Grimm, 972 F.3d at 608. Moreover, applying

    the four-factor test for determining whether a group constitutes a protected class, the

    Court would find it “apparent that transgender persons constitute a quasi-suspect class.”

    Id. at 611. Transgender people (1) have “historically been subject to discrimination”; (2)

    have “a defining characteristic that bears a relation to [their] ability to perform or

    contribute to society”; (3) are “a discrete group by obvious, immutable, or distinguishing

    characteristics”; and (4) are “a minority lacking political power.” Id.; see also Flack v.

    Wis. Dep’t of Health Servs., 328 F. Supp. 3d 931, 953 (W.D. Wis. 2018) (“[O]ne would

    be hard-pressed to identify a class of people more discriminated against historically or

    otherwise more deserving of the application of heightened scrutiny when singled out for

    adverse treatment, than transgender people.”). Applying heightened scrutiny, the Court

    would find that the Complaint plausibly alleges that Defendants’ actions in placing




                                                                                             A.143
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 19 of 21
       Appellate Case: 23-1135       Document: 20       Date Filed: 08/21/2023      Page: 144




    Plaintiff in an all-male unit constituted discrimination not substantially related to an

    important government interest.

           Regretfully, the Court is unable to engage in that analysis or arrive at those

    conclusions. Directed by binding precedent in Brown, the Court agrees with Judge

    Neureiter that the Complaint fails to plausibly allege that the El Paso County Jail lacked

    a rational basis for housing Plaintiff in an all-male unit and declining to give her feminine

    clothing and grooming products. Plaintiff’s equal protection claim must be dismissed.

           2.     Sexual Harassment as an Equal Protection Claim

           Plaintiff also objects that Judge Neureiter erred by not considering the second

    basis for Plaintiff’s equal protection claim: that she was subjected to significant verbal

    and physical harassment by staff and other inmates. (Doc. # 169 at 16.)

           Sexual harassment can constitute unlawful sex discrimination in violation of the

    Fourteenth Amendment’s Equal Protection Clause. See Shepherd v. Robbins, 55 F.4th

    810, 816–17 (10th Cir. 2022) (observing that the Tenth Circuit has “discussed

    Fourteenth Amendment equal protection claims involving sexual harassment a handful

    of times” in the employment and education contexts). However, as noted by Barney v.

    Pulsipher, 143 F.3d 1299, 1312 n.15 (10th Cir. 1998), the Tenth Circuit opinions

    addressing sexual harassment as an equal protection violation have primarily dealt with

    charges of sexual harassment “in the employment context.” Cf. Shepherd, 55 F.4th at

    818 (observing that the Tenth Circuit has also extended such claims to the educational

    context and to situations where state agents abused their permit or licensing authority to

    attempt to derive sexual favors). In declining to consider two inmates’ sexual




                                                                                           A.144
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 20 of 21
       Appellate Case: 23-1135       Document: 20       Date Filed: 08/21/2023      Page: 145




    harassment claims as violations of the equal protection clause, the Barney court stated

    that claims “of sexual harassment and assault of inmates by prison guards are more

    properly analyzed under the Eighth Amendment.” Similarly, in Women Prisoners v.

    District of Columbia, cited by Barney, the court declined to analyze sexual harassment

    claims brought by pretrial detainees and inmates as equal protection violations because

    the court found that the harassment violates the Eighth Amendment and, “a fortiori . . .

    the Fifth Amendment rights of pretrial detainees.” 877 F. Supp. 634, 664 n.38 (D.D.C.

    1994), vacated in part, modified in part, 899 F. Supp. 659 (D.C. 1995), vacated in part

    and remanded 93 F.3d 910 (D.C. Cir. 1996). 3

           In line with the above logic, Judge Neureiter appropriately analyzed Plaintiff’s

    allegations of sexual harassment she experienced as a pretrial detainee as a violation

    of her due process rights. (Doc. # 165 at 27); see Porro v. Barnes, 624 F.3d 1322, 1326

    (10th Cir. 2000). Plaintiff has provided no authority from within this Circuit, and the Court

    has found none, demonstrating that it is clearly established that a pretrial detainee may

    assert a cognizable equal protection claim on the basis of sexual harassment. The

    Court is satisfied that Judge Neureiter adequately addressed Plaintiff’s sexual

    harassment allegations elsewhere in the Recommendation via her other claims.




    3 On appeal, the Federal Circuit considered the sexual harassment claims as asserting

    violations of the Eighth Amendment and did not address sexual harassment through the lens of
    equal protection. See Women Prisoners v. District of Columbia, 93 F.3d 910, 927, 929 (D.C. Cir.
    1996).



                                                                                            A.145
Case 1:21-cv-00387-CMA-NRN Document 173 Filed 03/27/23 USDC Colorado Page 21 of 21
       Appellate Case: 23-1135      Document: 20      Date Filed: 08/21/2023   Page: 146




                                      IV.    CONCLUSION

           In sum, the Court finds Judge Neureiter’s Recommendation to be thorough, well-

    reasoned, and correct. For the reasons stated above, the Court ORDERS as follows:

       •   The February 27, 2023 Report and Recommendation (Doc. # 165) is AFFIRMED

           and ADOPTED as an Order of this Court;

       •   Defendants’ Motion to Dismiss Third Amended Complaint (Doc. # 132) is

           GRANTED; and

       •   Plaintiff’s Third Amended Complaint (Doc. # 124) is DISMISSED WITHOUT

           PREJUDICE.

           The Clerk of Court is directed to close this case.

           DATED: March 27, 2023

                                                     BY THE COURT:


                                                     _____________________________
                                                     CHRISTINE M. ARGUELLO
                                                     Senior United States District Judge




                                                                                     A.146
Case No. 1:21-cv-00387-CMA-NRN Document 174 filed 03/27/23 USDC Colorado pg 1 of 2
        Appellate Case: 23-1135    Document: 20      Date Filed: 08/21/2023    Page: 147



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                             Senior Judge Christine M. Arguello


   Civil Action No. 21-cv-00387-CMA-NRN


   DARLENE GRIFFITH,

           Plaintiff,

   v.

   EL PASO COUNTY, COLORADO,
   BILL ELDER, in his individual and official capacities,
   CY GILLESPIE, in his individual capacity,
   ELIZABETH O’NEAL, in her individual capacity,
   ANDREW MUSTAPICK, in his individual capacity,
   DAWNE ELLISS, in her individual capacity,
   TIFFANY NOE, in her individual capacity, and
   BRANDE FORD, in her individual capacity,

           Defendants.


                                      FINAL JUDGMENT


           In accordance with the orders filed during the pendency of this case, and pursuant

   to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

           Pursuant to the Order Adopting and Affirming (Doc. 173) Recommendation of

   United States Magistrate Judge of Judge Christine M. Arguello entered on March 27,

   2023, it is

           ORDERED that the Recommendation of United States Magistrate Judge Neureiter

   (Doc.165) is AFFIRMED and ADOPTED as an order of this Court. Pursuant to the

   Recommendation, it is




                                                                                     A.147
Case No. 1:21-cv-00387-CMA-NRN Document 174 filed 03/27/23 USDC Colorado pg 2 of 2
      Appellate Case: 23-1135      Document: 20     Date Filed: 08/21/2023     Page: 148



         FURTHER ORDERED that Defendants’ Motion to Dismiss Third Amended

   Complaint (Doc. # 132) is GRANTED; and Plaintiff’s Third Amended Complaint (Doc. #

   124) is DISMISSED WITHOUT PREJUDICE. It is

         FURTHER ORDERED that Defendants shall have their costs by the filing of a Bill

   of Costs with the Clerk of this Court within fourteen (14) days of entry of judgment, and

   pursuant to the procedures set forth in Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1

    Dated at Denver, Colorado this 27th day of March, 2023.

                                            FOR THE COURT:
                                            JEFFREY P. COLWELL, CLERK

                                              By: s/ M. Smotts
                                                        M. Smotts
                                                        Deputy Clerk




                                                                                      A.148
Case No. 1:21-cv-00387-CMA-NRN Document 175 filed 04/25/23 USDC Colorado pg 1 of 3
        Appellate Case: 23-1135    Document: 20      Date Filed: 08/21/2023   Page: 149



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 21-cv-00387-NRN-CMA

   DARLENE GRIFFITH,

           Plaintiff,

   v.

   EL PASO COUNTY, COLORADO, et al.

        Defendants.
   ______________________________________________________________________

                           NOTICE OF APPEAL
    ________________________________________________________________

           Plaintiff, DARLENE GRIFFITH, pursuant to Fed. R. App. P. 3 and Red. R. App.

    P. 4, hereby appeals to the United States Court of Appeals for the Tenth Circuit:


           The Court’s Order Affirming and Adopting Recommendation of United States

    Magistrate Judge [ECF 173], granting Defendants’ Motion to Dismiss Plaintiff’s Third

    Amended Complaint [ECF 132]. The underlying Report and Recommendation on

    Defendants’ Motion to Dismiss Third Amended Complaint was entered at ECF 165 on

    February 27, 2023, and Final Judgment was entered at ECF 174 on March 27, 2023.


           Respectfully submitted this 25th day of April 2023.

                                             KILLMER, LANE & NEWMAN, LLP

                                             s/ Andy McNulty
                                             Andy McNulty
                                             Mari Newman
                                             1543 Champa Street, Suite 400
                                             Denver, CO 80202
                                             (303) 571-1000




                                                                                        A.149
Case No. 1:21-cv-00387-CMA-NRN Document 175 filed 04/25/23 USDC Colorado pg 2 of 3
      Appellate Case: 23-1135   Document: 20   Date Filed: 08/21/2023      Page: 150



                                       (303) 571-1001 facsimile
                                       amcnulty@kln-law.com
                                       mnewman@kln-law.com


                                       Counsel for Plaintiff Darlene Griffith




                                          2

                                                                                A.150
Case No. 1:21-cv-00387-CMA-NRN Document 175 filed 04/25/23 USDC Colorado pg 3 of 3
      Appellate Case: 23-1135    Document: 20    Date Filed: 08/21/2023      Page: 151




                                CERTIFICATE OF SERVICE


        I certify that on this 25th day of April 2023, I filed this NOTICE OF APPEAL via
   CM/ECF, and CM/ECF will generate a Notice of Electronic Filing to the following:


   Nathan J. Whitney
   Terry Sample
   Chris Strider
   County Attorney’s Office
   El Paso County
   nathanwhitney@elpasoco.com
   terrysample@elpasoco.com
   chrisstrider@elpasoco.com



                                                s/ Charlotte Bocquin Scull
                                                Paralegal




                                            3

                                                                                  A.151
  Appellate Case: 23-1135   Document: 20   Date Filed: 08/21/2023   Page: 152



                     CERTIFICATE OF SERVICE


     I certify that on August 21, 2023, I filed a true, correct, and

complete copy of the foregoing Appellant Appendix with the Clerk of the

Court for the United States Court of Appeals for the Tenth Circuit by

using the appellate CM/ECF system.

     Participants in this case who are registered CM/ECF users will be

served by the appellate CM/ECF system.



Dated: August 21, 2023                                 /s/ Meghan Palmer
                                                       Meghan Palmer




                                                                         A.152
